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  1                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
  2                           WEST PALM BEACH DIVISION
                             CASE NO. 9:18-cv-80176-BB
  3
       IRA KLEIMAN, as the personal representative
  4    of the Estate of David Kleiman, and W&K Info
       Defense Research, LLC,
  5
                   Plaintiffs,                                       November 9, 2021
  6                                                                  10:09 a.m.
                  vs.
  7
       CRAIG WRIGHT,
  8
                 Defendant.                    Pages 1 THROUGH 247
  9    ______________________________________________________________
                          TRANSCRIPT OF TRIAL DAY 7
10                     BEFORE THE HONORABLE BETH BLOOM
                        UNITED STATES DISTRICT JUDGE
11                            And a Jury of 10

12     Appearances:
       FOR THE PLAINTIFF:      ROCHE FREEDMAN, LLP
13                             DEVIN FREEDMAN, ESQ.
                               KYLE ROCHE, ESQ.
14                             200 South Biscayne, Suite 5500
                               Miami, Florida 33131
15
                               BOIES SCHILLER & FLEXNER
16                             ANDREW BRENNER, ESQ.
                               STEPHEN N. ZACK, ESQ.
17                             STEPHEN LAGOS, ESQ.
                               100 Southeast 2nd Street, Suite 2800
18                             Miami, Florida 33131

19     FOR THE DEFENDANT:      RIVERO MESTRE, LLP
                               ANDRES RIVERO, ESQ.
20                             JORGE MESTRE, ESQ.
                               AMANDA M. MCGOVERN, ESQ.
21                             ZALMAN KASS, ESQ.
                               2525 Ponce de Leon Boulevard, Suite 1000
22                             Coral Gables, Florida 33134

23     COURT REPORTER:         Yvette Hernandez
                               U.S. District Court
24                             400 North Miami Avenue, Room 10-2
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25                             yvette_hernandez@flsd.uscourts.gov

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  2    Certificate.....................................                                    247

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       ON BEHALF OF THE PLAINTIFF:                                                        PAGE
  4
       CRAIG WRIGHT
  5    CONTINUED DIRECT EXAMINATION BY MR. FREEDMAN                                             6

  6                                 E X H I B I T S
       EX. NO.:                                                              OFFERED   ADMITTED
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  1         (Call to order of the Court, 10:09 a.m.)

  2               THE COURT:    Good morning.                 I apologize for the delay.

  3    We tried to schedule some hearings and finish on time.                     We were

  4    a few minutes late.

  5               MS. MCGOVERN:      Good morning, Your Honor.

  6               THE COURT:    Let me know when both sides are ready to

  7    proceed.

  8               On behalf of the Plaintiffs.

  9               MR. FREEDMAN:      Plaintiffs are ready, Your Honor.

10                THE COURT:    On behalf of the Defendant.

11                MS. MCGOVERN:      Defendants are ready, Your Honor.

12                THE COURT:    Let's go ahead and call the case and we

13     can get started.

14                COURTROOM DEPUTY:          Calling Civil Case No 18-80176, Ira

15     Kleiman v. Dr. Wright.

16                Counsel, please state your appearances, starting with

17     Plaintiffs' counsel.

18                MR. FREEDMAN:      Good morning, Your Honor.               Vel Freedman

19     for the Plaintiffs.

20                MR. BRENNER:     Good morning, Your Honor.                 Andrew

21     Brenner for the Plaintiffs.

22                MR. ROCHE:    Kyle Roche for Plaintiffs.

23                MR. ZACK:    Steve Zack, Plaintiff.

24                MR. LAGOS:    Stephen Lagos, Plaintiffs.

25                MR. FREEDMAN:      Your Honor, with us at counsel table is

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  1    Ms. Dorian Vela, who helps with tech, and our client Ira

  2    Kleiman.

  3               THE COURT:    All right.             Good morning to everyone.

  4               MS. MCGOVERN:      Good morning, Your Honor.                     Amanda

  5    McGovern for Dr. Craig Wright.

  6               MR. RIVERO:    Good morning, Your Honor.                       Andres Rivero

  7    for Dr. Wright.

  8               MR. MESTRE:    Morning, Your Honor.                        Jorge Mestre on

  9    behalf of Dr. Wright.

10                MR. KASS:    Good morning, Your Honor.                       Zalman Kass on

11     behalf of Dr. Wright.

12                MS. MCGOVERN:      Your Honor, we also have Sarah

13     Gonzalez, paralegal, with our team, Mr. Amit Shah, and of

14     course Dr. Wright, who is on the stand.

15                THE COURT:    Good morning to everyone.

16                Actually, we're going to bring in the jury, I believe.

17                Is there anything we need to address?

18                MR. FREEDMAN:      Just quickly.                 Yesterday you asked for

19     authority on 807.      We have some authority to hand up, just two

20     cases.    Your Honor, as we mentioned, Mr. Sullivan is

21     unavailable and we believe that the declaration, which we're

22     not seeking to get into evidence, just establishes sufficient

23     trustworthiness that it should come in under 807, especially

24     since there was no one else on the call except Dr. Wright and

25     Mr. Sullivan.

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  1               MS. MCGOVERN:      Your Honor, our position is this is

  2    double hearsay.     This is a statement by a reporter with respect

  3    to what Dr. Wright said.          We gave you a case, which is American

  4    Civil Liberties v. city of Las Vegas, which deals with a party

  5    opponent as it interplays with hearsay within a news article.

  6               This was a news article which we would simply like to

  7    highlight for Your Honor.           It's an interview that was taken on

  8    the heels of a very significant hearing and decision in this

  9    case, where Dr. Wright was sort of grabbed by the reporter and

10     he made statements that were emotional.                         With respect to the

11     trustworthiness, Your Honor, there was no opportunity to

12     cross-examine this reporter to determine whether those

13     statements were, in fact, complete or accurate.

14                So with respect to the party opponent aspect of it, we

15     do not believe it satisfies the exception of 807.

16                The residual hearsay rule, Your Honor, is unusual.

17     It's used in very exceptional circumstances.                          There's probably

18     no better circumstance than this one that would show that that

19     should not be --

20                THE COURT:    All right.             I understand the parties'

21     positions and I'm happy to read the case law over the lunch

22     break.

23                Anything further?

24                MR. FREEDMAN:      No, Your Honor.

25                THE COURT:    All right.             Let's bring in the jury.

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  1         (Before the Jury, 10:12 a.m.)

  2               THE COURT:    All right.             Good morning to each you.

  3    Please be seated.

  4               It's good to see everyone this morning.                       Let me

  5    apologize for the delay.          The fault, once again, is all mine.

  6    We have scheduled hearings in other matters from 9 to 10 and

  7    one of the hearings went a little bit later.                          So I apologize

  8    for the delay.

  9               Dr. Wright, let me remind you, you were previously

10     placed under oath, and we'll continue with the direct

11     examination of Dr. Wright.

12                MR. FREEDMAN:      May it please the Court.

13                         DIRECT EXAMINATION [CONTINUED]

14     BY MR. FREEDMAN:

15     Q.   Good morning, Dr. Wright.

16     A.   Good morning.

17     Q.   Dr. Wright, do you remember yesterday we went through the

18     lawsuits in Australia about W&K?

19     A.   I remember we covered that, yes.

20     Q.   And you told the jury that Ms. Lynn Wright authorized you

21     to file the documents you did on behalf of W&K, correct?

22     A.   Correct, and the company.              So there were two members.

23     Q.   Dr. Wright, are you aware that your lawyers have indicated

24     Ms. Wright is going to testify in this case by deposition?

25     A.   I am.

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  1    Q.   And are you aware that it is Ms. Wright's testimony,

  2    Ms. Lynn Wright's testimony, that she wasn't even aware of the

  3    lawsuits you filed against W&K in Australia?

  4    A.   I know she didn't remember a lot of things at that point.

  5    Q.   Dr. Wright, I want to reorient you to where we left off

  6    yesterday because we stopped in the middle of a little train of

  7    thought.

  8         As you recall, we were going through some documents

  9    discussing your and Dave's joint mining of Bitcoin.

10     A.   No.   I agreed that there was no joint mining.                   So that's

11     not correct.

12     Q.   And you were here when opening statements were given, were

13     you not?

14     A.   Yes, I was.

15     Q.   And you heard Ms. McGovern give her opening statement on

16     your behalf, right?

17     A.   I did.

18     Q.   And you recall Ms. McGovern telling this jury there will be

19     no evidence that there was a partnership between you and Dave

20     to mine Bitcoin?

21     A.   Yes, I do.

22     Q.   Then, Dr. Wright, yesterday we went through a series of

23     documents where in fact we did show that you and Dave Kleiman

24     mined Bitcoin, did we not?

25     A.   No.   You demonstrated that I was running a Testnet machine

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  1    because I was trying to examine my invention and find out the

  2    flaws that I thought were there.                  So no, that's not actually

  3    mining.    That's the way you're saying.

  4    Q.   That's the worthless Bitcoin, right?

  5    A.   It's not worthless.

  6    Q.   Sorry.   Please finish your answer.

  7    A.   It is not worthless.         I don't know if you understand the

  8    value of an idea.      Silk Road happened in 2010.                        I'd spent

  9    decades working on this invention, and I thought I failed.                            I

10     fell apart in 2010.      My marriage fell apart because of it.                        My

11     life fell apart.

12          So in 2011, Dave helped me, picked me up, and I tested my

13     invention.    I built computers, large ones, spent nearly all of

14     the money I had from an IPO back in the '90s where I had an

15     Internet company that I listed.                 I nearly wiped myself out

16     proving that my idea is right, that Bitcoin does scale, that it

17     does work, that it can be used without crime that can be

18     traced.    I don't know -- I don't know if you understand how

19     valuable to someone like me knowing that you're right.                            It has

20     no monetary value.      I can't put a dollar value on it.

21          I spent tens of millions of dollars knowing that I wasn't

22     wrong.    I know that sounds stupid to everyone.                          I nearly

23     bankrupted myself proving I wasn't wrong.                             But if you spend 20

24     years -- I did eight degrees, eight master's degrees and a

25     Ph.D. to understand the technology to make Bitcoin.                            I thought

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  1    I'd completely screwed up and made something that will enable

  2    criminals to sell drugs.

  3         I used to be a pastor.           I dropped out of the church.               I

  4    thought I failed.      Dave, in 2011 to 2013, helped me build a

  5    system that helped me recognize that I wasn't a complete

  6    failure, that I hadn't brought something evil into the world.

  7    So it had value.     Yes.

  8    Q.   Can you sell that Bitcoin, Dr. Wright?

  9    A.   No.

10     Q.   Because it disappears, right?

11     A.   Ideas are worth money.           Knowing that you have done

12     something is worth -- that was worth it to me.

13     Q.   Worth $35 billion, Dr. Wright?

14     A.   To me, if I was given $300 billion to prove I was right, I

15     would do it.

16     Q.   Dr. Wright, after Ms. McGovern's opening statement about no

17     evidence between you and Dave mining Bitcoin, we showed you

18     Document 149.

19                MR. FREEDMAN:      Ms. Vela, can you please put that on

20     the screen.     That's already in evidence.

21     BY MR. FREEDMAN

22     Q.   What the bottom of that email is saying:                         "I was not the

23     person doing the mining.          Dave was."

24          Do you see that?     No?

25                MR. FREEDMAN:      Ms. Vela, can you zoom out of that,

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  1     please.     Bottom of the first email.                  Last sentence, first

  2     email.

  3     BY MR. FREEDMAN:

  4     Q.   "I was not the person doing the mining.                           Dave was."

  5          Do you recall looking at that document?

  6     A.   Yes.    I see the reference from December 2012 on, et cetera,

  7     yes.

  8     Q.   Then we looked at 464.

  9                 MR. FREEDMAN:     Ms. Vela, Page 31.

 10     BY MR. FREEDMAN:

 11     Q.   And here in the top email, you said:                         "I had Dave mine the

 12     Bitcoin overseas and all it has cost is sunk."                            That was in

 13     response to Mark Ferrier's question:                      "So, Craig, where did you

 14     get all of this from," right?

 15     A.   Again, this is what the document says and what I just said

 16     stands.

 17     Q.   A man you were paying for software, you were going to pay

 18     him in worthless disappearing Bitcoin?

 19     A.   No.    As I said, the Bitcoin that I purchased, which, of

 20     course, you can check the blockchain has that, that Bitcoin was

 21     paid.

 22     Q.   So you had Dave mine the Bitcoin you purchased overseas?

 23     A.   No.    The Bitcoin that was purchased overseas was not mined

 24     by me or anyone else I'm associated with.                             It can be traced on

 25     the blockchain.

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  1     Q.   Does that email say:         "I had Dave mine the Bitcoin

  2     overseas"?

  3     A.   It's talking about two different things.

  4     Q.   And then we looked at 189.

  5               MR. FREEDMAN:       Ms. Vela, Page 1.                       Also in evidence.

  6     BY MR. FREEDMAN:

  7     Q.   Here you tell the Australian Tax Office, in the second

  8     paragraph:    "The Bitcoin I control was mined in the U.S."

  9     A.   Again, we're talking about the Bitcoin purchased after 2011

 10     in this email.     And this is control.                   This was a different

 11     thing.   You're conflating two issues.

 12     Q.   And then we established that you were not in the U.S. at

 13     the time, right?

 14     A.   Although I had a company at one point that I didn't own

 15     directly but controlled.

 16     Q.   And Dave was in the U.S. at the time, right?

 17     A.   Dave wasn't part of that company, but yes, he was.

 18     Q.   And then we went to 122.

 19               MR. FREEDMAN:       Ms. Vela.

 20     BY MR. FREEDMAN:

 21     Q.   And after seeing that you said he mined the Bitcoin in the

 22     U.S., we then --

 23               MR. FREEDMAN:       Ms. Vela, can you bring us to Page --

 24     here we go.    Thank you -- 3.

 25

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  1     BY MR. FREEDMAN:

  2     Q.   You then email Patrick Paige and Carter Conrad nine and a

  3     half months after Dave dies and you say:                          "Dave and I had a

  4     project in the U.S.," where you mined your Bitcoin, right?

  5     A.   No, that's not what I said.

  6     Q.   "He ran it there.      We did what we kept secret.                    The company

  7     he ran there mined Bitcoin."

  8          Do you see that, Dr. Wright?

  9     A.   I see that and I have explained.

 10     Q.   Then, Dr. Wright, we talked about John Chesher, who at some

 11     point interacted with the Australian Tax Office on behalf of

 12     your companies, correct?

 13     A.   At different times, yes, that's correct.

 14     Q.   That's where we left off, thereabouts.

 15                 MR. FREEDMAN:     Ms. Vela, can you please bring up P127,

 16     please.

 17          Is this in evidence?

 18          Not in evidence.     Thank you.

 19     BY MR. FREEDMAN:

 20     Q.   Dr. Wright, do you see here, this is an email from yourself

 21     to someone at another email address at nCrypt, forwarding an

 22     email from yourself to Ms. Watts, forwarding an email that John

 23     Chesher received from the Australian Tax Office?

 24     A.   Yes.

 25     Q.   And it attaches transcripts and meeting notes from the

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  1     Australian Taxation Office.

  2     A.   No.

  3     Q.   Okay.   It says it does that, right?

  4     A.   No.   The subject is that, but that's not what it attached.

  5     Q.   All right.    We'll get into that in a minute.                      In the

  6     interim, let's just lay the foundation for this document.

  7                MR. FREEDMAN:      Ms. Vela, can you go to Page 3 for me.

  8     BY MR. FREEDMAN:

  9     Q.   Right at the bottom, do you see the mention of Dave Kleiman

 10     and W&K?

 11     A.   I see that, yes.

 12                MR. FREEDMAN:      Your Honor, Plaintiffs offer P127 into

 13     evidence.

 14                MS. MCGOVERN:      Objection, Your Honor.                   The majority of

 15     this document relates to the ATO proceeding.                          We preserve our

 16     objection as to those documents, Your Honor.                          Objection,

 17     relevance.

 18                THE COURT:   The objection is overruled.                      It will be

 19     admitted into evidence.

 20          (Plaintiffs' Exhibit 127 received into evidence.)

 21                MR. FREEDMAN:      All right.               Can we publish this to the

 22     jury, please.

 23                Thank you.

 24     BY MR. FREEDMAN:

 25     Q.   This is the cover email.

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  1               MR. FREEDMAN:       Ms. Vela, can you zoom in to the

  2     bottom.   That's perfect.

  3     BY MR. FREEDMAN:

  4     Q.   So again, now this jury is looking at it.                        You forward this

  5     email to somebody at nCrypt, the company that eventually

  6     controls your intellectual property from W&K, correct?

  7               MS. MCGOVERN:       Objection.               Misstates the evidence in

  8     the record.

  9               THE COURT:    Overruled.

 10               You may answer the question.

 11               THE WITNESS:      No.       This was forwarded to lawyers

 12     because we were considering taking action against the tax

 13     office.

 14     BY MR. FREEDMAN

 15     Q.   But when you forwarded it to a lawyer you left the message

 16     completely blank?

 17     A.   Because we spoke to the lawyers.                     So the nCrypt A at that

 18     point, I believe, was one of the legal team because we were

 19     engaged with an Australian company basically arguing the

 20     validity of the transcripts.              So what I forwarded was the

 21     transcripts and the email and the statement about Des McMaster,

 22     who had fabricated documents.               So I had instigated legal

 23     action, and this is what that email's about.                          It is privileged

 24     communication between lawyers.

 25     Q.   Well, we'll agree to disagree on whether it's privileged,

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  1     Dr. Wright.    In the interim, I want to make sure I understand

  2     your testimony.

  3     A.   Uh-huh.

  4     Q.   You're saying that you received an email from the

  5     Australian Tax Office in March of 2014 and you waited almost

  6     two years before sending a blank email to a lawyer at a company

  7     that owns your intellectual property to take legal action

  8     against the Australian Taxation Office.

  9     A.   No, nCrypt A isn't the company.                    It was a legal box for the

 10     lawyers.    So no, I did not send that to the company.                       I sent it

 11     to the lawyers using an internal address on the company.

 12          Did I spend two years is also wrong.                         We had already sent

 13     it to Andrew, but now we had different lawyers, and I forwarded

 14     it to the new lawyers.

 15     Q.   So it just so happens to be that the company that owns the

 16     intellectual property at issue in this case, nCrypt, also

 17     happens to be the name of the lawyers you were looking to use

 18     to take legal action against the Australian Taxation Office?

 19     A.   No, that's not correct, in multiple ways.

 20          No, the company doesn't own the intellectual property.                        It

 21     was a license and transfer.             The original company owned it.

 22     W&K owns it.    The other does.             Digital assets can be copied.

 23          Number two, that is just an email box that was used for

 24     transmitting documents to the lawyers.

 25     Q.   All right.    Dr. Wright, down at the bottom of this email --

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  1     let's look at the original one.                 This one comes from the

  2     Australian Taxation Office, Andrew Miller, ato.gov.au, and he's

  3     emailing John Chesher, your CFO, and he says:                         "John, for your

  4     reference I have attached the transcript of your meeting with

  5     us on 18th of February, 2014.               It has been transcribed from the

  6     recording by Auscript.        Also, please see attached.                  The minutes

  7     of our meeting on the 26th of February, 2014.                         Could you please

  8     review these and advise of any errors or omissions."

  9          Do you see that?

 10     A.   I see that.

 11               MR. FREEDMAN:       Ms. Vela, can you bring us to the next

 12     page, please.

 13     BY MR. FREEDMAN:

 14     Q.   And this, Dr. Wright, is the record of client contact that

 15     takes place on February 26th, 2014 we just saw referenced.                        You

 16     see that?

 17     A.   I see that.

 18     Q.   And John Chesher attends, along with someone called Ann

 19     Wrightson, for your companies.                And for the Australian Taxation

 20     Office, Andrew Miller and Jennifer Trinh attend.

 21          You see that?

 22     A.   I see that.

 23     Q.   And the items discussed, number one, is Craig Wright.

 24     That's you?

 25     A.   Uh-huh.

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  1     Q.   And a list of your companies below?

  2     A.   Uh-huh.

  3                THE COURT:    You have to answer verbally, sir.

  4                THE WITNESS:     Yes.

  5                MR. FREEDMAN:      Ms. Vela, at the very bottom.

  6     BY MR. FREEDMAN:

  7     Q.   The Australian Taxation Office, the woman writing the notes

  8     down, she says:     "After the introduction, the meeting

  9     commenced.     To the best of my recollection and based on notes I

 10     made during the meeting, the conversation was as follows."

 11          You see that?

 12     A.   I see that.    Someone said best of their recollection, yes.

 13     Q.   And then asked you to comment on them, right?

 14     A.   No one asked me to comment on them, no.

 15                MR. FREEDMAN:      Ms. Vela, can you bring us down to the

 16     bottom of that next page, and can we zoom in to the John

 17     Chesher statement way at the bottom.

 18     BY MR. FREEDMAN:

 19     Q.   So John Chesher seems to say exactly what we've been seeing

 20     in the other documents, doesn't he, Dr. Wright?

 21     A.   No.   He doesn't.

 22     Q.   He says:    "Craig Wright took the Bitcoins that he had mined

 23     offshore."     You've said:       "I had Dave mine the Bitcoin."

 24     Sorry.     Go ahead.

 25     A.   No.   That says Bitcoin that Craig Wright mined offshore.

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  1     Q.   I don't see it says that Craig Wright mined Bitcoin

  2     offshore.

  3     A.   "Craig Wright took the Bitcoin that he had mined offshore."

  4     Q.   Dr. Wright, I'll let you finish.                     Let me finish, please.

  5          It says:   Craig Wright took the Bitcoins that he had mined

  6     offshore, which is consistent with your statement that you had

  7     Dave mine the Bitcoin, isn't it?

  8     A.   No, it's exactly the opposite.                    Craig Wright took the

  9     Bitcoin that Craig Wright had mined offshore.                         "He."   "He"

 10     follows.    That does not say Dave."                   It does not say:       "Craig

 11     Wright took the Bitcoin that Dave mined offshore."                        Sorry.

 12     Q.   Doesn't say:    "That he mined offshore," right?

 13     A.   No.   It does not say:         "That Dave mined offshore."                "He"

 14     references me.

 15     Q.   All right, Dr. Wright.

 16          The next sentence down:            "He then started W&K Info Defense,

 17     LLC with Mr. Dave Kleiman.            W&K was an entity created for the

 18     purpose of mining Bitcoins."              You see that?

 19     A.   Yes, I do.

 20     Q.   Dr. Wright, it doesn't say that you started up W&K with

 21     your wife, Lynn Wright, does it?

 22                MS. MCGOVERN:      Objection.               The documents speaks for

 23     itself.

 24                THE COURT:   Sustained.

 25

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  1     BY MR. FREEDMAN:

  2     Q.   Dr. Wright, does the document say that Lynn Wright created

  3     W&K with you?

  4                MS. MCGOVERN:      Objection.               Same objection.

  5                THE COURT:   Sustained.

  6     BY MR. FREEDMAN:

  7     Q.   Dr. Wright, you emailed Ira Kleiman in 2014?

  8                MR. FREEDMAN:      Ms. Vela, you can take that down.

  9                Thank you.

 10     BY MR. FREEDMAN:

 11     Q.   Didn't you?

 12     A.   Multiple times, yes.

 13                MR. FREEDMAN:      Ms. Vela, can you put up P164, which is

 14     a document we've looked at before.

 15     BY MR. FREEDMAN:

 16     Q.   This is the chronology you sent to Mr. Kleiman.

 17                MR. FREEDMAN:      Ms. Vela, can you go to the next page,

 18     please, and let's zoom in on Dr. Wright's activities in 2011

 19     one more time.

 20     BY MR. FREEDMAN:

 21     Q.   And again:    "Dr. Wright founds a company in USA with Dave

 22     Kleiman.    The established was W&K Info Defense.                     It was set up

 23     to mine Bitcoin."     Correct?

 24                MS. MCGOVERN:      Objection.               Confusing.

 25                THE COURT:   I'm sorry.              The basis?

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  1                MS. MCGOVERN:      Confusing, Your Honor.

  2                THE COURT:   Overruled.

  3                Do you understand the question, sir?

  4                THE WITNESS:     I do.

  5                THE COURT:   All right.              You may answer it.

  6                THE WITNESS:     Yes.        What it was set up to do and what

  7     it did are two different things.

  8     BY MR. FREEDMAN:

  9     Q.   Dr. Wright, this is 2014.

 10                MR. FREEDMAN:      Ms. Vela, can you bring us back to the

 11     first page.

 12     BY MR. FREEDMAN:

 13     Q.   It was sent on April 26th, 2014, a year after Dave dies to

 14     the day, right?

 15     A.   No.   As stated, that's when his body was found.

 16     Q.   Okay.   And, Dr. Wright, a little over a year later you say

 17     the exact same thing to Ms. Uyen Nguyen, do you not?

 18     A.   I don't recall what I said to her.                       Sorry.

 19     Q.   Okay.   Well, let's reorient ourselves for a moment.

 20          Uyen Nguyen is a woman who at some point was a trustee over

 21     a trust that you were the beneficiary of, correct?

 22     A.   No, not technically.         She held key slices in what I called

 23     the trust, the trust being an algorithmic program, which

 24     confuses people.

 25     Q.   Let me ask it simple.          Was she ever the trustee over any

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  1     trust that you were the beneficiary of?

  2     A.   It's not actually technically a trust.                           It is she held

  3     keys.    Some people will call that a trust in common law.                         Some

  4     won't.

  5     Q.   Would you call it a trust?

  6     A.   Depends on how you define it.                  In this country, no.

  7     Q.   Is there a country you would define it as a trust in?

  8     A.   Having someone do something under an arrangement is also a

  9     trust in some places.       So yes.

 10     Q.   Okay.   And in 2015, Dr. Wright, you email Ms. Nguyen.

 11     Well --

 12                MR. FREEDMAN:      Ms. Vela, can you please put up P212,

 13     only for the witness and counsel.

 14     BY MR. FREEDMAN:

 15     Q.   Dr. Wright, do you see this is an email from yourself to

 16     Ms. Uyen Nguyen?

 17     A.   Can you zoom in a bit?           Thanks.

 18          Yes, I see that.

 19     Q.   And it has a cc to Ms. Ramona Watts, your wife?

 20     A.   In this context, she was an executive in the company, but

 21     yes, she's also my wife.

 22     Q.   You trust her, right?

 23     A.   Yes, I do.

 24     Q.   You're honest with her, right?

 25     A.   Yes, I am.

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  1     Q.   And do you see right after the 2011 we talk about Bitcoin

  2     and Mr. Kleiman?

  3     A.   Yes, I do.

  4                 MR. FREEDMAN:      Your Honor, Plaintiffs offer P212 into

  5     evidence.

  6                 MS. MCGOVERN:      No objection.

  7                 THE COURT:   Admitted into evidence.

  8          (Plaintiffs' Exhibit 212 received into evidence.)

  9                 MR. FREEDMAN:      Can we publish this, please?

 10                 Thank you.

 11     BY MR. FREEDMAN:

 12     Q.   So, Dr. Wright, just --

 13                 MR. FREEDMAN:      Ms. Vela, you could zoom in.                   Just

 14     bring us right above 212.            There we go.                Thank you.

 15     BY MR. FREEDMAN:

 16     Q.   So, Dr. Wright, the jury is looking at an email from you,

 17     Ms. Nguyen, your wife, and it's titled "Chronology of Craig

 18     Wright CSW Activities and Transactions."

 19     A.   Yes.

 20     Q.   Now a year after the email you sent to Ira and we are a

 21     little over two years after Dave dies.

 22                 MS. MCGOVERN:      Objection.               Vague.

 23                 THE COURT:   Overruled.

 24                 THE WITNESS:     Yes.

 25

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  1     BY MR. FREEDMAN:

  2     Q.   Okay.   And you again in this email say:                         "Founds a company

  3     in USA with Dave Kleiman.           The established" -- two paragraphs

  4     down -- "the established was W&K Info Defense.                          It was set up

  5     to," and you list the other things.

  6     A.   Uh-huh.

  7     Q.   "And to mine Bitcoin."

  8          Do you see that?

  9     A.   I do.

 10     Q.   And then at the end you say:                 "In all, 1.1 million Bitcoin

 11     reverted to SQ in Seychelles accounts," correct?

 12     A.   Yes.

 13                 MR. FREEDMAN:     Ms. Vela, you can take that down.

 14     BY MR. FREEDMAN:

 15     Q.   Dr. Wright, you say that Dave Kleiman was helping you mine

 16     this fake Testnet Bitcoin.            When did that start?

 17     A.   I did not say that.

 18     Q.   When did Dave Kleiman start mining the fake Testnet

 19     Bitcoin?

 20     A.   There's no such thing as fake Testnet Bitcoin.

 21     Q.   Okay.   Sorry.   When did Dave Kleiman mine the Testnet

 22     Bitcoin?

 23     A.   He was only the nominal head of the corporation so that I

 24     could have it overseas.         He didn't actually run the things.                   He

 25     helped design the computer.             He didn't actually do any mining.

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  1     Q.   When did the computer he designed start mining Bitcoin?

  2     A.   The computer he helped design start -- I can't remember the

  3     exact date.    It was in October, November, 2012.

  4     Q.   Dave Kleiman started mining -- designed the computer that

  5     mined the Testnet Bitcoin in November of 2012, right?

  6     A.   He helped design the computer.                    The design was before 2012.

  7     Q.   Okay.   2012?

  8     A.   No.   Before.

  9     Q.   When did the Bitcoin start getting mined?

 10     A.   The Testnet basically started running, as I said, October,

 11     November.    I can't remember the exact date.                         System called

 12     CO1N.   That was in 2012.         The design was before that.

 13     Q.   When did it turn on and start mining the Testnet Bitcoin?

 14     A.   The system was turned on in October or November 2012.

 15     Q.   Thank you.

 16                MS. MCGOVERN:      Ms. Vela, can you put up P112.

 17                Thank you.   Only for witness and counsel.

 18     BY MR. FREEDMAN:

 19     Q.   Dr. Wright, do you see this was a LinkedIn message between

 20     you and somebody called Benjamin Wright?

 21     A.   I do.

 22     Q.   And do you see in the middle of the page you mention Dave

 23     Kleiman and mining?

 24     A.   No, I don't.    I don't run my LinkedIn account.

 25     Q.   Do you see in the middle it mentions Dave Kleiman and

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  1     mining?

  2     A.   I do.

  3                MR. FREEDMAN:      Your Honor, Plaintiffs offer P112 into

  4     evidence.

  5                MS. MCGOVERN:      Objection, Your Honor.                      Authentication

  6     and hearsay.

  7                THE COURT:   The objection is overruled on both

  8     grounds.     Admitted into evidence.

  9          (Plaintiffs' Exhibit 112 received in evidence.)

 10                MR. FREEDMAN:      Ms. Vela, can you publish this to the

 11     jury, please.

 12     BY MR. FREEDMAN:

 13     Q.   2012, Dr. Wright.

 14                MR. FREEDMAN:      Zoom into the message, please,

 15     Ms. Vela.    No, the whole -- okay.                 That works.

 16     BY MR. FREEDMAN:

 17     Q.   Let's read the whole message.                  All the way down to the

 18     bottom.

 19          Dr. Wright, in 2014 you were attempting to seek an

 20     introduction to Mr. Tyler Winklevoss.                       Do you recall that?

 21     A.   No.   As I said, I don't run LinkedIn.                           I don't now either.

 22     Q.   You said:   "Hello, Ben.           I'm trying to get a contact

 23     forwarded to Tyler.     Can you forward the LinkedIn request?"

 24          Do you see that?

 25     A.   I see it.

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  1     Q.   He responds:    "Craig, I did forward your request for an

  2     introduction, but I do not know my direct contact well.

  3     Furthermore, Tyler Winklevoss is a very famous person, so I do

  4     not know whether my effort will work."

  5          Do you see that?

  6     A.   I see it.

  7     Q.   And then, Dr. Wright, you respond to that email.                   You say:

  8     "Worth a try.     The Winklevoss twins are right into Bitcoin."

  9          Do you see that?

 10     A.   I see it.

 11     Q.   And then you say -- why don't you read the highlighted for

 12     the jury, Dr. Wright.

 13     A.   Well, I don't say, but it says:                    "Dave Kleiman and I

 14     started mining in 2009."

 15     Q.   2009.

 16     A.   Is that a question?

 17     Q.   Yes.    I could have sworn a moment ago you said you didn't

 18     start mining until 2012.          So I'm just making sure we're on the

 19     same page.

 20          It says 2009 in this document?

 21     A.   Yes, a document from LinkedIn that I don't run even now.

 22                 MR. FREEDMAN:     Ms. Vela, zoom out for a minute.

 23                 Can you zoom in to the bottom of that document, the

 24     very bottom.     The Bates label on the bottom.

 25

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  1     BY MR. FREEDMAN:

  2     Q.   Dr. Wright, you know that that Bates label, Defense

  3     Australia, means you produced it to us?

  4     A.   I was required to give over all computer systems, which

  5     included computers from 30 staff, from a variety of companies

  6     and others.     So none of this was from my computer.                   And

  7     before -- I handed over everything as required.                       The fact that

  8     it says our label doesn't mean that it's my account.

  9                 MR. FREEDMAN:     Ms. Vela, you can minimize that,

 10     please, and let's zoom back in to the email where Dr. Wright

 11     says him and Dave Kleiman started mining in 2009.

 12     BY MR. FREEDMAN:

 13     Q.   Let's finish the email, Dr. Wright.

 14          "So we have a few things that will interest them.                     It's a

 15     shame.     Dave died last year before fruition, but all is moving

 16     ahead."

 17          Do you see that?

 18     A.   I see that.

 19     Q.   And you were moving ahead even though Dave died?

 20     A.   No.    That wasn't written by me, as I said.

 21     Q.   Dr. Wright, you were here for Mr. O'Hagan's testimony, were

 22     you not?

 23     A.   I was.

 24     Q.   And you heard him testify that you told him that your and

 25     Dave Kleiman's mining activity led to a complicated trust?

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  1     A.    I heard him say a number of things, yes.

  2     Q.    Well, I'd like to talk -- just so you know where I'm going

  3     with this, I'd like to talk with you about this trust because I

  4     think it will also show the Plaintiffs' story that Dave mined

  5     Bitcoin with you.      Okay?

  6     A.    Huh?

  7                  MS. MCGOVERN:     Objection.               Is that a question?

  8                  THE COURT:   It's an appropriate transition.                   Let's

  9     continue.

 10                  Overruled.

 11     BY MR. FREEDMAN:

 12     Q.    Dr. Wright, you told the Australian Taxation Office that

 13     you had Dave mine Bitcoin into a trust to fund the

 14     partnership's activities, didn't you?

 15     A.    No, I did not.

 16     Q.    Let's take a look at what you told the Australian Taxation

 17     Office before you got sued in this case.                           Okay.

 18           I'm going to take you back to P172, which I believe is in

 19     evidence.

 20                  MR. FREEDMAN:     Your Honor, can you confirm that for

 21     me?    I'm sorry.

 22                  MS. MCGOVERN:     It is.

 23                  THE COURT:   It's in evidence.                    You want to publish it?

 24                  MR. FREEDMAN:     Please.

 25                  THE COURT:   172.

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  1     BY MR. FREEDMAN:

  2     Q.   Dr. Wright, we're looking again at the transcript of your

  3     August 11th, 2014 meeting with the Australian Taxation Office,

  4     right?

  5     A.   No.

  6     Q.   Again, it's a 45-page transcript.

  7                MR. FREEDMAN:      Ms. Vela, can you just click us through

  8     to Page 7.

  9     BY MR. FREEDMAN:

 10     Q.   And let's go to right above line 30.                         So let's go to

 11     Mr. O'Mahoney of the ATO.

 12                MR. FREEDMAN:      All the way down to the bottom.

 13                Thank you.

 14     BY MR. FREEDMAN:

 15     Q.   Dr. Wright, Mr. O'Mahoney of the Australian Taxation Office

 16     says:    "Okay.   I guess, just by way of background, tell us

 17     about -- won't hold you to every detail of that trust, but just

 18     tell us a little bit about the trust in Panama that was

 19     established."

 20          You respond -- that's Wright; that's your name -- "There

 21     was a trust set up to put a number of Bitcoin that Dave was

 22     mining and everything like that into and maintain.                         The idea

 23     being that we would use that to further the goals we were doing

 24     which were all to do with promotion of Bitcoin and

 25     cryptocurrencies we have there."

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  1          Do you see that?

  2     A.   I see it.

  3     Q.   And then Mr. O'Mahoney says:                 "So was it the case that the

  4     trust in Panama was set up as a funding mechanism?"                   And you

  5     say:   For research, yes."

  6          And Mr. O'Mahoney says:            "And for research you were doing

  7     with Mr. Kleiman?"     And you say:               "That Mr. Kleiman was doing,

  8     and myself as well, yes."

  9          Do you see that, Dr. Wright?

 10     A.   I see it.

 11     Q.   So you've told the ATO that a trust was set up?

 12     A.   No, I did not.

 13     Q.   And you told the ATO that Dave mined Bitcoin into that

 14     trust?

 15     A.   No, I did not.

 16     Q.   And that the Bitcoin in the trust was used to further the

 17     goals you were both doing?

 18     A.   No, I did not.

 19     Q.   In fact, Dr. Wright, you told the Australian Taxation

 20     Office that the trust assets --

 21                MR. FREEDMAN:      Ms. Vela, you can take that down.

 22     BY MR. FREEDMAN:

 23     Q.   In fact, Dr. Wright, you told the ATO that the trust assets

 24     were originally sourced from both you and Dave; isn't that

 25     correct?

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  1     A.   No.   That is not correct.

  2                MR. FREEDMAN:       Ms. Vela, can you please bring up P173.

  3     BY MR. FREEDMAN:

  4     Q.   And, Dr. Wright, you'll see this is another transcript

  5     between you and the Australian Taxation Office.

  6     A.   I see that's what it says.

  7                MR. FREEDMAN:       Ms. Vela, could you bring us to Page 7.

  8     BY MR. FREEDMAN:

  9     Q.   And do you see right around 30, Dave Kleiman's name is

 10     mentioned?

 11     A.   I see:   "Dave."

 12                MR. FREEDMAN:       Your Honor, at this point Plaintiffs

 13     offer P173 into evidence.

 14                MS. MCGOVERN:       Objection, Your Honor.                  Relevance.

 15     Same objection with respect to the ATO documents that have been

 16     introduced in this case.

 17                THE COURT:   Overruled.               It will be admitted into

 18     evidence.     173.

 19          (Plaintiffs' Exhibit 173 received into evidence.)

 20     BY MR. FREEDMAN:

 21     Q.   So, Dr. Wright, we have another transcript of proceeding

 22     from the ATO.

 23     A.   No, we do not.

 24     Q.   Okay.    I'm sorry.     Are you denying that the Australian

 25     Taxation Office produced this document that you produced to us?

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  1     A.   Yes, I actually am.        This is not a tax office official

  2     document.

  3          The person involved, Des McMaster, was actually fired

  4     because of this, or at least moved into Papua New Guinea, which

  5     is about the worst place you can be sent to in Australia.

  6               MR. FREEDMAN:       Ms. Vela, can we please bring up P742

  7     for a moment.    Let's put P173 down for a second.                    And this

  8     should only be shown to counsel and jury.

  9               And can you go to the first -- this is the first page

 10     of 742.

 11     BY MR. FREEDMAN:

 12     Q.   And Dr. Wright, do you recognize this as a "Reasons for

 13     Decision" document from the Australian Taxation Office?

 14     A.   There's no header or anything.                    So it looks like a draft

 15     document.    It doesn't look like a tax office document at all.

 16     Q.   Did you have draft documents from inside the Australian

 17     IRS?   Because you produced this to us.

 18     A.   From the IRS?

 19     Q.   From the ATO.

 20     A.   No, I did not.

 21               MR. FREEDMAN:       And can you go to Page 5, Ms. Vela.

 22     BY MR. FREEDMAN:

 23     Q.   Do you see at the bottom, Dr. Wright, the various footnotes

 24     where the ATO is relying on certain things that are stated in

 25     those footnotes?

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  1     A.   No, I do not.    I don't recognize this as an Australian

  2     Taxation Office document.

  3               MR. FREEDMAN:       Your Honor, at this point we would

  4     offer P742 into evidence.

  5               MS. MCGOVERN:       Objection, Your Honor.                   The witness has

  6     stated -- not provided the requisite foundation.                         We also

  7     object on relevance.      Improper character.

  8               THE COURT:    The objection is noted.                       It is overruled.

  9     It will be admitted into evidence.

 10          (Plaintiffs' Exhibit 742 received into evidence.)

 11               MR. FREEDMAN:       Ms. Vela, could you bring us back to

 12     Page 1.

 13     BY MR. FREEDMAN:

 14     Q.   Dr. Wright, the Australian Taxation Office eventually made

 15     findings about why they denied certain tax rebates and refunds

 16     that you were seeking, correct?

 17     A.   I don't know.

 18     Q.   I'm sorry?

 19     A.   I don't know.

 20     Q.   You don't know.    You don't know whether they denied you --

 21     strike that.

 22          You don't know whether or not the Australian Taxation

 23     Office issued reasons for decisions on why they did not give

 24     you certain tax rebates and refunds and credits that you were

 25     claiming?

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  1     A.   I was not claiming, and that's correct.

  2     Q.   Dr. Wright, we're looking at one of such document from the

  3     Australian Taxation Office called "Reasons for Decision."                              That

  4     relates to Craig Wright R&D, your company, trustee for the

  5     Wright Family Trust, and Cloudcroft.

  6               MR. FREEDMAN:       And, Ms. Vela, can you bring us to Page

  7     5.

  8     BY MR. FREEDMAN:

  9     Q.   You said the ATO eventually rejected these transcripts,

 10     right, Dr. Wright?

 11     A.   This doesn't have a header from the tax office.                           All tax

 12     office documents have an official header.                             So no, I don't

 13     recognize this as a tax document.

 14     Q.   See the Bates stamp on the bottom, Dr. Wright?                           You just

 15     testified you would not have had a draft tax office document,

 16     and you produced this to me.

 17     A.   As I also said, I had a computer from Jamie Wilson, I had

 18     computers from 30 staff, I had computers from a lot of things.

 19     So I didn't -- it didn't come from my computer.                            More than

 20     that, I can't say.

 21               MR. FREEDMAN:       Ms. Vela, can you zoom us in to the

 22     footnotes on the bottom where the ATO was putting sources for

 23     their various statements and their reasons for decision.

 24     BY MR. FREEDMAN:

 25     Q.   Dr. Wright, do you see that the ATO had in fact relied on

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  1     the transcripts we were looking at in coming to their decisions

  2     rejecting your tax credits?

  3     A.   I do not.    I still state this is not a tax document.               It is

  4     not headed with the official logo of the tax office.

  5               MR. FREEDMAN:       Ms. Vela, can you please put this down

  6     and bring up P320.

  7     BY MR. FREEDMAN:

  8     Q.   You recognize that as the official heading of the

  9     Australian Taxation Office, Dr. Wright?

 10     A.   Yes, I do.

 11               MR. FREEDMAN:       Ms. Vela, could you bring us to Page

 12     24, and can we take a look at note 116.

 13     BY MR. FREEDMAN:

 14     Q.   See that as a reference to the transcripts, Dr. Wright?

 15     A.   I can't say whether they referenced transcripts, no.

 16               MR. FREEDMAN:       Your Honor, Plaintiffs offer P320 into

 17     evidence.

 18               MS. MCGOVERN:       Your Honor, same objection with respect

 19     to the ATO reasons for decision regarding a nonparty.

 20               THE COURT:    Admitted.             It's overruled.

 21          (Plaintiffs' Exhibit 320 received into evidence.)

 22               MR. FREEDMAN:       Can we publish to the jury, please.

 23     BY MR. FREEDMAN:

 24     Q.   So, Dr. Wright, another "Reasons for Decision."                  This time

 25     with the little logo of the Australian Taxation Office across

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  1     the top, correct?

  2     A.   It does.

  3     Q.   This paper explains the ATO's reasons for decision for

  4     Integyrs PTY, LTD for the period of 1 July 2013 to 30th of June

  5     2014.

  6          Do you see that?

  7     A.   I see that.

  8               MR. FREEDMAN:        Let's go to the next page, Ms. Vela,

  9     please.   And the next page.             Go one more time.             Scroll forward.

 10               Go back.    Sorry.

 11               Okay.    And one more page.

 12     BY MR. FREEDMAN:

 13     Q.   Do you see:    Issue 1, Summary of our Decision"?                     Issue 1:

 14     Is the taxpayer entitled to a research and development tax

 15     offset of $434,000?"

 16               MR. FREEDMAN:        Ms. Vela, can you not call it out,

 17     please.   Just drop that.

 18     BY MR. FREEDMAN:

 19     Q.   "Decision:    No."

 20          Do you see that?

 21     A.   I see that.    Yes.

 22     Q.   All right.

 23               MR. FREEDMAN:        Ms. Vela, bring us to Page 24 of the

 24     document.    And let's zoom in to the footnote 116.

 25

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  1     BY MR. FREEDMAN:

  2     Q.   The ATO cites here as its source:                      "Transcript of

  3     conversation with Andrew Sommer, Craig Wright, John Chesher, on

  4     18th of February, 2014."

  5          You see that?

  6     A.   I see that.

  7               MR. FREEDMAN:       Ms. Vela, can you zoom out of that.

  8     Let's go to 1 -- sorry.         Can you go back.

  9               Yeah.    Next page.

 10               Ms. Vela, can you zoom in to 117.

 11               Perfect.

 12     BY MR. FREEDMAN:

 13     Q.   Dr. Wright, another citation to the 18th of February, 2014,

 14     transcript of conversations?

 15     A.   I see that.

 16     Q.   And then another citation to the record of --

 17               MR. FREEDMAN:       Ms. Vela, in the same one we've got

 18     record of conversation with John Chesher and Ann Wrightson of

 19     26th of February 2014.

 20               THE WITNESS:      I see it.

 21     BY MR. FREEDMAN:

 22     Q.   "Record of conversation with Craig Wright on February 2nd,

 23     2015"?

 24     A.   I see it.

 25     Q.   And then in the 125, we've got:                    "Transcript of interview

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  1     with Craig Wright on 18th of August 2014"?

  2     A.   I see it.

  3     Q.   And in 122:    "Transcript of interview with Craig Wright, on

  4     18th of August, 2014"?

  5     A.   I see that.

  6     Q.   So the ATO did rely on their own transcripts, didn't they,

  7     Dr. Wright?

  8     A.   One, I can't say whether they are the same transcript, and

  9     two, on the March 2016 date, I was not involved with the

 10     company.     So I have no knowledge of these documents.

 11                MR. FREEDMAN:      Ms. Vela, put that down, please, and if

 12     we can bring up P173.

 13     BY MR. FREEDMAN:

 14     Q.   "Transcript of proceedings, Monday, August 18th, 2014."                          We

 15     just saw they relied on this in the reasons and decisions,

 16     right?

 17     A.   No, we did not.    The same name doesn't mean the same

 18     document.

 19     Q.   Okay.    Is there a different transcript of a different

 20     meeting that took place -- you know what?                             Strike that.

 21          Just to get us back to where we were, Dr. Wright, I asked

 22     you that you told the Australian Taxation Office that the trust

 23     assets were originally sourced from both you and Dave Kleiman.

 24     You denied it, correct?

 25     A.   Correct, I denied it.

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  1                MR. FREEDMAN:      Ms. Vela, can you bring us to PDF Page

  2     7, and let's zoom in to 30 to the bottom.

  3     BY MR. FREEDMAN:

  4     Q.   Mr. O'Mahoney from the Australian Taxation Office:                            "So how

  5     did it come to be?     Are all the assets of the trust -- they

  6     were originally sourced from you?"

  7          Dr. Wright, what did you respond?                      Can you read it for the

  8     jury, please.

  9     A.   The document says:       "And Dave."

 10     Q.   Right after your name as the speaker.                            "Wright:   'And

 11     Dave?'"

 12     A.   No, I was not the speaker.               This did not happen that way.

 13     Q.   And then, Dr. Wright, Mr. O'Mahoney wants to make sure he

 14     heard this correctly and he says:                   "And David?"

 15     A.   Again, the document states that.

 16     Q.   And then you respond again:                "Yes."

 17     A.   No.

 18                MR. FREEDMAN:      Ms. Vela, you can take that down,

 19     please.

 20     BY MR. FREEDMAN:

 21     Q.   Dr. Wright, the ATO audited your companies, did they not?

 22     A.   Some of them, yes.

 23     Q.   And they met with you and others from your companies,

 24     correct?

 25                MS. MCGOVERN:      Objection, Your Honor.                      Relevance with

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  1     respect to audits concerning the Australia companies.                        It's not

  2     part of this litigation.

  3                 THE COURT:   Overruled.             I'll allow it.

  4     BY MR. FREEDMAN:

  5     Q.   They met with you and others from your companies?

  6     A.   Yes.

  7     Q.   When they finally issued their own decisions, Dr. Wright,

  8     the ATO found that while you had produced documents to make it

  9     seem like you had contributed all 1.1 million Bitcoin to the

 10     trust, you had at another time told them that the trust Bitcoin

 11     also came from Dave; isn't that correct?

 12     A.   That is incorrect.

 13                 MR. FREEDMAN:     Ms. Vela, can you please bring up P607.

 14                 And just to the jury -- just to counsel and the

 15     witness, please.

 16     BY MR. FREEDMAN:

 17     Q.   Do you recognize this as an official "Reasons for Decision"

 18     from the Australian Taxation Office?

 19     A.   No.    I was not involved with the companies in April 2016.

 20     Q.   Dr. Wright, the paper explains the time period between July

 21     of 2013 and June of 2014, right on the cover.                         Do you see that?

 22     A.   Yes, and I also see 12th April 2016.

 23     Q.   Okay.

 24                 MR. FREEDMAN:     And, Ms. Vela, could you bring us to

 25     Page 49, and zoom in on 271.

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  1     BY MR. FREEDMAN:

  2     Q.   Did you see there, Dr. Wright, references to Mr. Kleiman,

  3     Bitcoin and trust?

  4     A.   I see the document.

  5               MR. FREEDMAN:       Your Honor, at this point Plaintiffs

  6     would offer P607 into evidence.

  7               MS. MCGOVERN:       Your Honor, objection.                  Relevance.

  8     This is an ATO decision for Zhul Party, Limited during a period

  9     of time that is not even related to this case.                        Object on

 10     scope, authentication, foundation.                     It's unduly prejudicial,

 11     Your Honor.

 12               THE COURT:    The objections are overruled.                    Admitted

 13     into evidence.

 14          (Plaintiffs' Exhibit 607 received into evidence.)

 15               MR. FREEDMAN:       Can we publish to the jury, please.

 16     Thank you.

 17     BY MR. FREEDMAN:

 18     Q.   Dr. Wright, we are looking at an official "Reasons for

 19     Decision" from the Australian Taxation Office.                        The paper

 20     explains the ATO's decision for Zhul for the period 1 July 2013

 21     to 30th of June, 2014.

 22          Do you see that?

 23     A.   I see that.

 24               MR. FREEDMAN:       Ms. Vela, can you bring us to Page 49

 25     of this document.     Can you zoom in for the jury on 271.                    And

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  1     can you highlight from Dr. Wright on the second sentence.

  2     BY MR. FREEDMAN:

  3     Q.   "Dr. Wright's and Mr. Kleiman's Tulip Trust document claim

  4     Dr. Wright contributed 1.1 million Bitcoin to the Tulip Trust."

  5          Do you see that?

  6     A.   I see the document.

  7     Q.   We will get to the Tulip Trust document.                           I promise.   Okay?

  8     But now I want you to focus on the next part of the sentence.

  9     Okay?

 10     A.   Okay.

 11     Q.   "But Dr. Wright has also stated that trust Bitcoin came

 12     from both him and Mr. Kleiman."

 13          Do you see that?

 14     A.   I see that.

 15     Q.   And then the ATO has another finding.                            Ms. Nguyen.   Do you

 16     remember her?

 17     A.   I do.

 18     Q.   She was the trust -- you said a trustee for you in some

 19     capacity?

 20     A.   Not in the way that you're saying.                       She held key slices.

 21     Q.   "Ms. Nguyen has stated that 650,000 of the trust Bitcoin

 22     came from Dr. Wright."

 23               MR. FREEDMAN:       Can you scroll down, please, Ms. Vela.

 24     BY MR. FREEDMAN:

 25     Q.   "350,000 from Mr. Kleiman."

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  1          Do you see that?

  2     A.   I see that.

  3               MR. FREEDMAN:       Ms. Vela, can you take that down.                    Can

  4     you load up Joint Exhibit 14.

  5               Your Honor, I'm not sure if it's in evidence, but it's

  6     a joint exhibit.     So if it's not, Plaintiffs would move it into

  7     evidence.

  8               THE COURT:    Admitted into evidence.

  9          (Joint Exhibit 14 received into evidence.)

 10     BY MR. FREEDMAN:

 11     Q.   Dr. Wright, do you recognize that as your sworn declaration

 12     you submitted to this court?

 13     A.   I do.

 14               MR. FREEDMAN:       Ms. Vela, could you bring us to Page 2

 15     and highlight the first line on 7:                     "The trustees for Tulip

 16     Trust I are." And can you highlight:                      "B, Ms. Uyen Nguyen."

 17     BY MR. FREEDMAN:

 18     Q.   Dr. Wright, your sworn testimony to this Court is Ms. Uyen

 19     Nguyen is a trustee of the Tulip Trust, correct?

 20     A.   The Tulip Trust holding the key slices.                          As I said, they

 21     are different entities.

 22     Q.   Did I read this wrong?           The trustees from the Tulip Trust I

 23     are Ms. Nguyen.

 24     A.   Tulip Trust I is not the Tulip Trust.

 25     Q.   Dr. Wright, did I read the document wrong?                         "The trustees

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  1     for the Tulip Trust I are Ms. Nguyen," Uyen Nguyen?

  2     A.   The trustees for Tulip Trust I, which is not the Tulip

  3     Trust.    That is the algorithmic system.

  4     Q.   The same trustee that the ATO said told them that

  5     Mr. Kleiman put 350,000 Bitcoin into the Tulip Trust?

  6     A.   I can't speak for the accuracy of the document.                      I wasn't

  7     there.

  8                 MR. FREEDMAN:     Ms. Vela, you can take that down,

  9     please.

 10                 Thank you.

 11     BY MR. FREEDMAN:

 12     Q.   So, Dr. Wright, just so you know where I'm going, we've

 13     just seen a lot of documents about Dave's mining.                       I'd like to

 14     take you through -- sorry.            Let me start that again.

 15          Dr. Wright, despite the evidence we've just seen that you

 16     and Dave were mining, you're denying that you and Dave were

 17     ever partners to create and mine Bitcoin, correct?

 18     A.   Correct.

 19     Q.   And, Dr. Wright, you heard your lawyers suggest to this

 20     jury that the fact that Dave Kleiman didn't tell people about

 21     his creation and mining of Bitcoin with you somehow suggests he

 22     didn't do it, right?

 23     A.   Yes.   I told everyone.          I told my mother, my family, the

 24     tax office, several other departments.                        Lots of people.

 25     Q.   But, Dr. Wright, you know that the truth is you and Dave

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  1     Kleiman agreed to keep your partnership a secret; isn't that

  2     correct?

  3     A.    No.    I actually registered a company called Information

  4     Defense in Australia.       I listed the shareholders.                      I recorded

  5     it with the government and I sought a banking charter.                          So at

  6     least three, four hundred people knew that I was Satoshi in

  7     Australia.      So no.

  8     Q.    Dr. Wright, when the whitepaper was written, the name

  9     associated with the whitepaper was an alias, correct?

 10     A.    Correct.

 11     Q.    Satoshi Nakamoto?

 12     A.    Yes.

 13     Q.    So the real name of the author was hidden, correct?

 14     A.    From public view.     Not hidden totally.

 15     Q.    And, Dr. Wright, the emails that were sent from the creator

 16     or creators of Bitcoin were sent from Satoshi Nakamoto's email

 17     accounts?

 18     A.    Yes.    They were my emails.

 19     Q.    Not craig.wright@hotwirepe.com, right?

 20     A.    Hotwire hadn't been created, so that would be difficult.

 21     Q.    Dr. Wright, you have said that you were trying to hide the

 22     fact that you were running Bitcoin since 2009, have you not?

 23     A.    Not in the way that you're saying it.                           No.

 24     Q.    That's what you told the Australian Taxation Office, isn't

 25     it?

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  1     A.   No, it's not.

  2                MR. FREEDMAN:      Ms. Vela, can you please bring up P127.

  3     BY MR. FREEDMAN:

  4     Q.   We've looked at this before.

  5                MR. FREEDMAN:      Ms. Vela, can you go to the next page,

  6     please.    This is in evidence.             Can we publish to the jury,

  7     please?

  8                MS. MCGOVERN:      I don't see that it's in evidence.               Can

  9     you please confirm?     Is it P127?

 10                MR. FREEDMAN:      Take it down, Ms. Vela.                 P127.

 11                THE COURT:   P127 is in evidence.

 12                MR. FREEDMAN:      Ms. Vela, can you put it back up and

 13     can we publish to the jury, please.

 14                Ms. Vela, can you bring us to Page 40.

 15     BY MR. FREEDMAN:

 16     Q.   And the transcript between you and the Australian Taxation

 17     Office, Dr. Wright?

 18     A.   Oh.

 19                MR. FREEDMAN:      Ms. Vela, can you zoom in to lines --

 20     there we go.

 21                Thank you.

 22     BY MR. FREEDMAN:

 23     Q.   "Wright," meaning Dr. Wright.                  You're speaking.     "I did my

 24     best to try and hide the fact that I've been running Bitcoin

 25     since 2009."

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  1          Do you see that, Dr. Wright?

  2               MR. FREEDMAN:       Ms. Vela, can we highlight that?

  3               THE WITNESS:      I see that.

  4     BY MR. FREEDMAN:

  5     Q.   Dr. Wright, would it be your -- would it be trying your

  6     best to hide the fact that you have been running Bitcoin by

  7     telling four hundred people in Australia?

  8     A.   Public versus the government.                  I filed in June 30, 2009 a

  9     number of tax returns.        I filed a March return.                    And I was in a

 10     court process between '11 and '13 with the tax office.

 11          So the people in the court, the judges, it was a private --

 12     it wasn't public.     It wasn't published.                      But each of those

 13     people knew.    My lawyers knew.              My accountants knew.            The tax

 14     office knew.    You can't file with the tax office in -- like, if

 15     I filed for Bitcoin in 2009, saying that I'm selling the

 16     intellectual property into my company, then the tax office

 17     knows.   It's not secret.

 18          I don't file taxes as Satoshi Nakamoto.                          I filed tax as

 19     Craig Wright.    So in March and June of 2009, when the tax

 20     office said it was a hobby, yes, they knew.                           They knew exactly

 21     who I was.

 22               MR. FREEDMAN:       Ms. Vela, can we go to P122, which is

 23     already in evidence.

 24     BY MR. FREEDMAN:

 25     Q.   Dr. Wright, just to keep us on track, we're looking at

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  1     whether or not you agreed with Dave Kleiman to keep everything

  2     about Bitcoin a secret, right?

  3     A.   Sorry.    Can you rephrase that?

  4     Q.   I said:   We're looking at documents that are trying to shed

  5     light on whether or not you and Dave Kleiman agreed to keep

  6     what you were doing in Bitcoin a secret, correct?

  7     A.   No.   I disagree.

  8     Q.   All right.

  9                MR. FREEDMAN:      Ms. Vela, please bring us to Page 4.

 10     BY MR. FREEDMAN:

 11     Q.   We've seen in this email many times already, Dr. Wright,

 12     but I want to highlight one particular part.

 13                MS. MCGOVERN:      Objection, Your Honor.                  Asked and

 14     answered.

 15                THE COURT:     I can't hear.

 16                MS. MCGOVERN:      Asked and answered, Your Honor.                 We've

 17     gone over this email and the same line many times.

 18                THE COURT:     Overruled.

 19     BY MR. FREEDMAN:

 20     Q.   Dr. Wright, do you see the last line of the second

 21     paragraph?     You say:   "Dave and I had a project in the U.S.                    He

 22     ran it there."

 23          Can you read the highlight --

 24                MR. FREEDMAN:      Ms. Vela, can you highlight that.

 25

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  1     BY MR. FREEDMAN:

  2     Q.   Can you read the highlighted portion for the jury,

  3     Dr. Wright?

  4     A.   "We kept what we did secret."

  5     Q.   And, Dr. Wright --

  6                MR. FREEDMAN:      Ms. Vela, can you please bring up P200,

  7     which is also in evidence.            And can you zoom in to Dr. Wright's

  8     email.

  9     BY MR. FREEDMAN:

 10     Q.   This is an email from you to Michele Seven, Dr. Wright, in

 11     2015?

 12     A.   No.   It's an email associated with me.                          It's not an email

 13     from me.

 14     Q.   Okay.   And you see where it says, in the second paragraph:

 15     In the past Dave Kleiman was my best friend and business

 16     partner?

 17     A.   I see that.

 18     Q.   "He died a couple years ago.                 But as I had known him since

 19     the '90s, we have many shared secrets."

 20     A.   I see that.

 21     Q.   Dr. Wright, do you recall --

 22                MR. FREEDMAN:      Ms. Vela, you can take that down.

 23     Thank you.

 24     BY MR. FREEDMAN:

 25     Q.   Do you recall that you sent some of your communications

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  1     with Dave to Ira at some point?

  2     A.   I did a quick search, found a number of emails, and

  3     forwarded them to Ira, that is correct.

  4     Q.   And when you did that, when you sent him emails from Dave,

  5     you told him that he had to keep those emails secret, didn't

  6     you?

  7     A.   Yes.    I didn't want anything coming out, that's correct.

  8                 MR. FREEDMAN:     Ms. Vela, can you please bring up P045

  9     and just -- I think this is in evidence.                          Somebody just confirm

 10     for me if P045 is in evidence.                It's not in evidence.            It's

 11     not.

 12                 THE COURT:   It is not.

 13     BY MR. FREEDMAN:

 14     Q.   Dr. Wright, do you recognize this as an email from yourself

 15     to Mr. Kleiman?

 16     A.   I recognize it as an email to Mr. Kleiman that I forwarded

 17     to Ira.

 18     Q.   Okay.   That's a good point, Dr. Wright.                         There are two

 19     Mr. Kleimans.

 20          So it's an email between you and Dave Kleiman that you then

 21     forwarded to his brother, Ira Kleiman?

 22     A.   Yes.

 23                 MR. FREEDMAN:     Your Honor, at this point Plaintiffs

 24     offer P045 into evidence.

 25                 MS. MCGOVERN:     No objection, Your Honor.

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  1                 THE COURT:   Admitted into evidence.

  2          (Plaintiffs' Exhibit 045 received into evidence.)

  3                 MR. FREEDMAN:     Can we publish this, please?

  4     BY MR. FREEDMAN:

  5     Q.   Dr. Wright, below is an email from Dave Kleiman.                    We're

  6     going to get back to that email from Dave Kleiman.                     But in the

  7     interim, when you forwarded a message about these Bitcoin

  8     trusts, you say to him:         "Your eyes only."

  9          Do you see that?

 10     A.   I see that.

 11                 MR. FREEDMAN:     Ms. Vela, can you take it down and

 12     bring up P138, which is in evidence.                      And, Ms. Vela, can you

 13     bring us to Page 5.

 14     BY MR. FREEDMAN:

 15     Q.   Dr. Wright, this is an email chain between you and Ira

 16     Kleiman again, and you say to him:                     "I will send you" -- at the

 17     bottom -- "I will send you some rather private early emails

 18     today as long as you promise" -- do you see the:                      "Promise,"

 19     Dr. Wright?

 20     A.   Yes, I see the:     "Promise" that Ira didn't keep.

 21     Q.   You put it in all caps, didn't you?

 22     A.   Sorry.   I didn't hear.

 23     Q.   You put it in all caps?

 24     A.   Yes.   He was to promise.

 25     Q.   Not just like a little promise.                    You wanted a big promise

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  1     from Mr. Kleiman, didn't you?                From Ira Kleiman?

  2     A.   I don't know if you would call it a big promise.                         It's a

  3     promise.

  4     Q.   You said:    "As long as you promise to delete after

  5     reading," didn't you?

  6     A.   I did.

  7     Q.   He says:    "Agreed," and, Dr. Wright, you double down, do

  8     you not?

  9     A.   I don't know if I'd say double down.                          That's the wrong

 10     term, but I wanted to make sure that he promised, yes.

 11     Q.   You say again:      "Please," in all caps, right?

 12     A.   Yes.

 13     Q.   "Please delete the emails or at least encrypt them or

 14     something once you have read them."

 15          Do you see that?

 16     A.   I wouldn't say it the way you're emphasizing, but yes.

 17     Q.   You put it in all caps, Dr. Wright.                         "Please."

 18     A.   That --

 19     Q.   How would you emphasize it?                 Show us.

 20                 MS. MCGOVERN:      Objection, Your Honor.

 21                 THE COURT:    And the basis?

 22                 MS. MCGOVERN:      Asked and answered.

 23                 THE COURT:    Overruled.

 24                 THE WITNESS:     I wouldn't be sounding like I was

 25     begging like you were.

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  1     BY MR. FREEDMAN:

  2     Q.   "Please."    How did you mean that all-caps:                        "Please

  3     delete?"

  4     A.   I meant more to emphasize it like as in just about

  5     shouting, which I'm not going to do today.

  6     Q.   You were shouting at him to keep the emails secret?

  7     A.   Effectively it was like an order, yes.

  8     Q.   So you were ordering him to keep your communications with

  9     Dave Kleiman about Bitcoin secret?

 10     A.   The way you're saying it is incorrect.                           I would say direct

 11     but not -- so I was emphasizing that I wanted a private

 12     communication.

 13     Q.   Come full circle, Dr. Wright.                  We started off with

 14     ordering -- with shouting, ordering.                      Now we're back at

 15     emphasizing?

 16                MS. MCGOVERN:      Objection, Your Honor.

 17     Mischaracterizes his testimony.

 18                THE COURT:   Sustained.

 19     BY MR. FREEDMAN:

 20     Q.   Okay.   Dr. Wright, we're going to get back to this secret

 21     issue later.     But isn't it true that you and Dave Kleiman took

 22     further steps to make sure evidence of the Satoshi Nakamoto

 23     partnership was never discovered?

 24     A.   There was no partnership.              So we can't take steps to --

 25     well, you can't hide something that doesn't exist.

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  1     Q.   So no?    The answer is no?

  2     A.   Well, you badly worded it.               So no partnership, no action.

  3     Q.   Okay.    Dr. Wright, isn't it true you co-created Bitcoin

  4     with Dave Kleiman?

  5     A.   No.

  6     Q.   Dr. Wright --

  7                 MR. FREEDMAN:     Ms. Vela, can you please bring up P160,

  8     and let's go to Page 1.

  9     BY MR. FREEDMAN:

 10     Q.   And right in the opening, this is an email from --

 11                 MR. FREEDMAN:     Can we publish this to the jury,

 12     please.     This is in evidence.

 13     BY MR. FREEDMAN:

 14     Q.   Dr. Wright, this is an email from you to Ira Kleiman on

 15     April 24th, 2014.

 16     A.   Yes.

 17     Q.   In it you say:    "Ira" --

 18                 MR. FREEDMAN:     Actually, Ms. Vela, can you take this

 19     down for one moment.

 20     BY MR. FREEDMAN:

 21     Q.   Dr. Wright, when was the Bitcoin Whitepaper published?

 22     A.   2013.

 23     Q.   I'm sorry?

 24     A.   It was distributed by a link in 2008 on the 31st of

 25     October.     Publication is a different issue.                        It was published

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  1     in 2019.

  2     Q.   Okay.    You distributed it for the very first time ...

  3     A.   Is that a question?

  4     Q.   Yes.    You distributed it for the very first time when?

  5     A.   March 2008.

  6     Q.   In March 2008.    You distributed it via a link -- let me ask

  7     the question a little differently.

  8          When did Satoshi Nakamoto formally announce the Bitcoin

  9     Whitepaper?

 10     A.   There were several announcements in the end of October to

 11     the peer-to-peer forum, to the cryptography mailing list on

 12     Usenet.     I know no one knows what that is now, but it's like a

 13     classified, I believe, index that used to be on the Internet

 14     and a couple other places.

 15     Q.   Halloween 2008?

 16     A.   Yes.

 17     Q.   And then the actual Bitcoin client that allows you to mine

 18     and actually work with Bitcoin, when did Satoshi Nakamoto

 19     release that?

 20     A.   I gave a version of the software to Hal Finney, Bear, and a

 21     few others on -- sorry if I don't get the exact day, but I

 22     think it was the 11th of November, 2008.

 23          I gave a copy to my uncle on about the 20th of November,

 24     copy to Max Lynam I think on the 23rd of November, which was my

 25     sister's birthday.     I gave a copy to her on her birthday.          I

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  1     gave a copy to -- oh, God -- a person I can't even remember

  2     their name.

  3          Steve McLaughlin, who didn't even look at it, I don't

  4     think.    I gave a copy to Shoeb in December.                         I gave a copy

  5     to -- it's a long time ago.             I'm trying to remember each

  6     person.

  7     Q.   I think, Dr. Wright, the issue with the question was, you

  8     and I disagree over who Satoshi Nakamoto is.                          So I'm going to

  9     be a little bit more precise with this question.

 10          When did the pseudonym Satoshi Nakamoto formally release

 11     the Bitcoin client code and software associated with Bitcoin to

 12     the world?

 13     A.   All of those dates.        I was in public communication with Hal

 14     Finney in November.     I was in public communication with Bear in

 15     November.    So the SourceForge update was done then.                        The link

 16     on upload.ie was in October.              So a variety of different people

 17     published the software at different times.

 18          When I sent it out to each of the individuals, some of

 19     those talked about it and discussed it -- on the list.                          The

 20     final version wasn't up.          So if you're talking about with the

 21     Genesis Block as it is now, that was redone on the 3rd of

 22     January, but the previous alpha versions had been sent round.

 23          Differences in the code times were there before.                         Between

 24     October and January I was still tweaking the time.                          I hadn't

 25     decided on 21 million coins.              I hadn't decided on the 10-minute

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  1     block time.    So all of that was still up in the air.

  2          It was still the software, but the parameters that we see

  3     today -- I played for three months to get them right.

  4     Q.   Are you aware, Dr. Wright, that all of these supposed

  5     distributions that you have just told the jury about, you

  6     haven't produced a single document to back that up in

  7     discovery?

  8     A.   It's actually on public mailing lists.

  9          So the Hal Finney bit is actually public.                           The Bear, I

 10     think Bear has come out and talked about it.                            My uncle is going

 11     to be talking about it in his deposition.                             There are other

 12     individuals.    You didn't call Max.                   So they will be backed up.

 13     Q.   Dr. Wright --

 14               MR. FREEDMAN:       Ms. Vela, can you please bring up P160

 15     again.

 16     BY MR. FREEDMAN:

 17     Q.   Bitcoin is released by Satoshi Nakamoto, the whitepaper, in

 18     October 2008.    As you just said, the Genesis Block, the very

 19     first block of the Bitcoin blockchain is mined on January 3rd,

 20     2009.

 21          Dr. Wright, in this email to Ira Kleiman you say:                           "The tax

 22     office knows that Dave and I have been working on this since

 23     2008."

 24     A.   That's what it says, but I'm sorry, I have to correct you.

 25     I'm not trying to be combative.                 But the Genesis Block isn't

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  1     mined.   It's an anchor block.              It's designed so that you can't

  2     spend it because if you spend it, it actually could unravel the

  3     end.   It's like if you're knitting or sewing.                        You have to tie

  4     off the thread to make sure it doesn't break.                         So the

  5     blockchain requires a block that is not like a mined block.                        It

  6     is not mined.

  7     Q.   Dr. Wright, isn't it true that Dave Kleiman was the first

  8     person to run Bitcoin other than you?

  9     A.   Technically, I don't know.               Hal Finney was running it.

 10     Bear was running it.      I like to believe that Dave was the first

 11     person, but I can't actually say whether he was.

 12                 MR. FREEDMAN:     Ms. Vela, can you please bring up P381

 13     and show it only to the witness and counsel.

 14                 Can we zoom in on that email, please.

 15     BY MR. FREEDMAN:

 16     Q.   Dr. Wright, this is an email between yourself and Robert

 17     MacGregor.     Do you see that?

 18          At the bottom it talks about the timing of running Bitcoin

 19     and in the middle it talks about Dave Kleiman.

 20     A.   Yes.

 21                 MR. FREEDMAN:     Your Honor, Plaintiffs as offer P381

 22     into evidence.

 23                 THE COURT:   Any objection?

 24                 MS. MCGOVERN:     Your Honor, could it be made larger?                     I

 25     can't really see the document.

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  1               MR. FREEDMAN:       Ms. Vela, can you zoom in to all of the

  2     text, please, for counsel.

  3          (Pause in proceedings.)

  4               MS. MCGOVERN:       No objection, Your Honor.

  5               THE COURT:    Admitted into evidence.

  6          (Plaintiffs' Exhibit 381 received into evidence.)

  7     BY MR. FREEDMAN:

  8     Q.   Dr. Wright, at the bottom of this -- well, at the top of

  9     this email, you've got an email from Robert MacGregor to you,

 10     but the reason I'm pointing you there is -- well, actually, I

 11     take that back.

 12          You can see at the bottom the subject of the email is:

 13     "Hal."    Do you see that?

 14     A.   "Hal," yes.

 15     Q.   And that's a reference to Hal Finney, one of the earliest

 16     adopters of Bitcoin, right?

 17     A.   Right.

 18     Q.   At the bottom, if we go in actual order of the emails --

 19     they go from bottom to top -- Robert MacGregor puts a question

 20     to you.   He says:    "Hal" -- subject -- was he the first person

 21     other than you to run Bitcoin?"

 22          Do you see that?

 23     A.   I do.

 24     Q.   And then you say:      "Yes, and Dave."

 25          Do you see that?

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  1     A.   I do.

  2     Q.   And then Robert MacGregor asks for clarification, does he

  3     not?   He says:    "At the point Hal was running it, was he first

  4     or Dave?"

  5          Do you see that?

  6     A.   I do.

  7     Q.   And you respond in 2016:             "Dave, then Hal."

  8     A.   Yes.

  9                 MR. FREEDMAN:     Your Honor, if this is a good time to

 10     take a break.

 11                 THE COURT:   All right.             Certainly.            Let's go ahead and

 12     take a 20-minute recess.

 13          (Jury not present, 11:23 a.m.)

 14                 THE COURT:   We're on a 20-minute recess.

 15                 MR. FREEDMAN:     Thank you, Your Honor.

 16          (Recess from 11:23 a.m. to 11:44 a.m.)

 17                 THE COURT:   All right.             Welcome back.           Anything we

 18     need to address before we bring the jury back?

 19                 MR. FREEDMAN:     Not for Plaintiffs, Your Honor.

 20                 MS. MCGOVERN:     Not from Defendant, Your Honor.

 21          (Before the Jury, 11:44 a.m.)

 22                 THE COURT:   All right.             Welcome back.           Please be

 23     seated and we'll continue with the questioning.

 24     BY MR. FREEDMAN:

 25     Q.   Dr. Wright, before the break, I asked you whether you and

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  1     Dave Kleiman co-created Bitcoin and you said:                         "No," correct?

  2     A.   That's what you asked me, yes.

  3     Q.   We looked at a document that said -- an email from you to

  4     Ira telling Ira that the tax office knows that you and Dave had

  5     been working on Bitcoin since 2008, right?

  6     A.   Sorry.   Can I see that document again?

  7     Q.   Sure.

  8               MR. FREEDMAN:       P160, Ms. Vela.                   And Page 1.

  9               Thank you.

 10     BY MR. FREEDMAN:

 11     Q.   That last sentence of the first paragraph:                       "The tax office

 12     knows that Dave and I have been working on this since 2008."

 13               COURTROOM DEPUTY:           I'm sorry.              Mr. Freedman, is that

 14     for everyone to see?

 15               MR. FREEDMAN:       I'm sorry?

 16               COURTROOM DEPUTY:           Is that for everyone to see?

 17               MR. FREEDMAN:       Yes.        It's been admitted into evidence.

 18               THE COURT:    Yes, it's in evidence.

 19               MR. FREEDMAN:       Sorry.

 20               THE WITNESS:      Yes.        That's what the document says.

 21     BY MR. FREEDMAN:

 22     Q.   And then we looked at --

 23               MR. FREEDMAN:       Ms. Vela, you can take that down.

 24     BY MR. FREEDMAN:

 25     Q.   We looked at an email between you and Robert MacGregor

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  1     where you confirmed Dave Kleiman was the first person after you

  2     to run the Bitcoin code, correct?

  3     A.    That's not what I said, no.

  4     Q.    Dr. Wright, isn't it true that Dave Kleiman was the first

  5     person to run the code associated with Bitcoin, that you know

  6     of?

  7     A.    No.

  8                 MR. FREEDMAN:     Counsel, I am going to the deposition

  9     of Dr. Wright on March 16th, 2020, Page 171, lines 7 through

 10     19.

 11                 MS. MCGOVERN:     One second, please.                     Can you repeat the

 12     citation, please?

 13                 MR. FREEDMAN:     March 16th, 2020, Page 171, lines 7

 14     through 19.

 15                 MS. MCGOVERN:     One second, please.

 16           (Pause in proceedings.)

 17                 MS. MCGOVERN:     Could you restate the question, please?

 18           (Read back.)

 19                 MS. MCGOVERN:     Objection, Your Honor.                    Improper

 20     impeachment.

 21                 THE COURT:   Let me just get to the line.

 22                 MR. FREEDMAN:     Your Honor, I'm specifically looking at

 23     lines 13 and 14.

 24                 THE COURT:   The objection is overruled.

 25

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  1     BY MR. FREEDMAN:

  2     Q.   Dr. Wright, do you remember on March 16th, 2020 I took your

  3     deposition and you were under oath?

  4     A.   I do.

  5     Q.   And I asked you the following questions, you gave the

  6     following answers.

  7                 MR. FREEDMAN:     Ms. Vela, please.

  8          (Video played.)

  9     BY MR. FREEDMAN:

 10     Q.   Dr. Wright, Dave Kleiman was the first person to run the

 11     code associated with Bitcoin that you know of, correct?

 12     A.   Not at this point in time, no.

 13     Q.   Dr. Wright, isn't it true that Dave and you both wrote the

 14     code for the Bitcoin client 0.1?

 15     A.   No.    Dave can't code at all.               Never has been able to.

 16                 MR. FREEDMAN:     Ms. Vela, can you bring up P853.              Let's

 17     go to the first image for just counsel and -- you know what?

 18     Please don't put that up yet.

 19     BY MR. FREEDMAN:

 20     Q.   Dr. Wright, bear with me one moment.

 21          Dr. Wright, do you use an application called MetaNet ICU

 22     Slack Channel?

 23     A.   I do.

 24     Q.   And that's like a group where you can post messages?

 25     A.   Yes.

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  1     Q.   And on that group your profile is CSW, correct?

  2     A.   I don't actually know, but it could be, yes.

  3     Q.   And is it true that only you post under the name CSW on the

  4     Slack channel?

  5     A.   That is true.

  6               MR. FREEDMAN:       Ms. Vela, please bring up P853 and the

  7     first image just for the witness and counsel.

  8     BY MR. FREEDMAN:

  9     Q.   Dr. Wright, does that -- "CSW," do you see that?

 10     A.   I see it.

 11     Q.   Do you see a reference to "DK" for Dave Kleiman?

 12     A.   I do.

 13               MR. FREEDMAN:       Your Honor, Plaintiffs offer P853 into

 14     evidence.

 15               MS. MCGOVERN:       No objection.

 16               MR. FREEDMAN:       Can we publish this to the jury,

 17     please?

 18               THE COURT:    I just want to ensure that 853 --

 19               MR. FREEDMAN:       Just the first image.

 20               THE COURT:    Yes.        The way it's labeled, so just this

 21     one page?

 22               MR. FREEDMAN:       Yes.        So we will do 853.1 so we can

 23     make sure we don't do anything.

 24               Can we keep track of that?

 25               THE COURT:    Admitted into evidence.

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  1          (Plaintiffs' Exhibit 853.1 received into evidence.)

  2               MR. FREEDMAN:       Thank you, Your Honor.

  3               Can you zoom out, Ms. Vela, for a moment.

  4     BY MR. FREEDMAN

  5     Q.   Dr. Wright, this is a copy of Slack that we've just been

  6     discussing?

  7               MR. FREEDMAN:       And, Ms. Vela, can you zoom in to the

  8     top two, please.

  9     BY MR. FREEDMAN:

 10     Q.   Do you see this is posted in the thread Bitcoin-general?

 11     A.   I do.

 12     Q.   And, Dr. Wright, I asked you whether it was true that Dave

 13     Kleiman and you wrote the code for the Bitcoin client 0.1.            You

 14     said:   "No," correct?

 15     A.   Correct.   He didn't write the code.

 16     Q.   Dr. Wright, here this gentleman named Mohrt, on August

 17     30th, 2018, posts:     "So the code for the client 0.1 was pretty

 18     much Kleiman."

 19          Do you see that?

 20     A.   I do.

 21     Q.   And you respond:     "No.        It was Dave Kleiman and I."

 22     A.   I did respond.

 23               MR. FREEDMAN:       Ms. Vela, you can take that down.

 24     BY MR. FREEDMAN:

 25     Q.   Dr. Wright, certainly Dave was a key figure behind Bitcoin,

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  1     correct?

  2     A.   Not the way you just put it, no.

  3     Q.   Well, let's take a look at what you said about this before

  4     Dave filed this litigation -- before Dave's estate filed this

  5     litigation.

  6          Do you recall emailing Dave's late father in February 2014?

  7     A.   I do.

  8                MR. FREEDMAN:      Ms. Vela, can you please bring up P117

  9     just for the witness and counsel.

 10     BY MR. FREEDMAN:

 11     Q.   Dr. Wright, do you recognize this as an email from yourself

 12     to Louis Kleiman, Dave's late father, speaking about Dave and

 13     Bitcoin?

 14     A.   I do.

 15                MR. FREEDMAN:      Your Honor, we offer P117 into

 16     evidence.

 17                MS. MCGOVERN:      No objection.

 18                THE COURT:   Admitted into evidence.

 19          (Plaintiffs' Exhibit 117 received into evidence.)

 20                MR. FREEDMAN:      Can we please publish?                  Can we zoom

 21     into the email from Dr. Wright, please.

 22     BY MR. FREEDMAN:

 23     Q.   Dr. Wright, this is an email from February 11th, 2014.                         Do

 24     you see that?

 25     A.   I do.

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  1     Q.   And it's from yourself, craig.wright@hotwirepe.com.                     Do you

  2     see that?

  3     A.   I do.

  4     Q.   And you wrote:    "Hello, Louis."

  5          Do you see that?

  6     A.   Yes.

  7     Q.   "Your son Dave and I are two of the three key people behind

  8     Bitcoin."

  9     A.   Yes.

 10     Q.   You typed that?

 11     A.   I did.

 12     Q.   And then, Dr. Wright, two paragraphs down you say know also

 13     that Dave was a key part of an invention that will

 14     revolutionize the world."

 15     A.   Yes.

 16     Q.   Do you see that?

 17     A.   Yes, I do.

 18                 MR. FREEDMAN:     Thank you.               Ms. Vela, you can take that

 19     down.

 20                 Ms. Vela -- my co-counsel makes a good point.                   Can you

 21     bring that document back, please.

 22     BY MR. FREEDMAN:

 23     Q.   Dr. Wright, when you tell Mr. Kleiman that:                      "Your son Dave

 24     and I are two of the three key people behind Bitcoin," you put

 25     a link to "What is Bitcoin explained."

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  1          Do you see that?

  2     A.   I see it.

  3     Q.   And when you tell him that:                "Know that Dave was a key part

  4     of an invention that will revolutionize the world," you put

  5     another link to Bitcoin Wins Best Technology Achievement But

  6     Satoshi Doesn't Show"?

  7     A.   Yes.

  8     Q.   You tell him Dave was a key part of Bitcoin, and then you

  9     link to a story that talks about the fact that Satoshi isn't

 10     showing up, correct?

 11     A.   Yes.    I didn't show.       That was -- I didn't turn up.

 12                 MR. FREEDMAN:     Thank you, Ms. Vela.                    Can you bring

 13     that down.

 14     BY MR. FREEDMAN:

 15     Q.   Dr. Wright, isn't it true that it's just not that Dave

 16     Kleiman co-created Bitcoin with you, but he also was the other

 17     half of Satoshi Nakamoto?

 18     A.   No.    What is true is I exaggerated because Dave had no one

 19     remember him, and he was the most important person in my life

 20     for many years.     I ended up -- sorry.                    I'm just trying to say

 21     this.   It's hard.

 22          I failed my first marriage because I didn't talk to my

 23     wife.   I was a director in an accounting firm.                        I was on

 24     partner track, and she didn't want me to do this.                         And I talked

 25     to Dave and he talked me into it.

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  1          I took a redundancy in December of 2008, and Dave talked me

  2     into doing that.     He said follow my dreams.                        And despite my

  3     wife's reservations, I didn't even talk to her.                           I took the

  4     thing and just came home one day and said:                            "Honey, I'm doing

  5     Bitcoin and I'm spending our money and I'm not going to work

  6     for two years."

  7          I failed my marriage because I wanted to invent this thing,

  8     and Dave understood.      So yes, he was critical to me.                       I don't

  9     know how else to put it.

 10          And yes, I was a terrible freaking husband.                          I put my

 11     invention over my marriage.             And I'm sorry for that.                And my

 12     wife has forgiven -- my first wife has forgiven me now.                             But I

 13     should never have done that.              I should have talked to her.                 And

 14     I talked to Dave.     And I put him before my wife, and I let him

 15     talk me into it.     So yes, he was important.                        And for that, I

 16     told his father how important he was to me.                           And he was.

 17     Always.   I loved him.

 18     Q.   Dr. Wright, I asked you whether or not Dave Kleiman was the

 19     other half of Satoshi Nakamoto.                 Yes or no?

 20     A.   No, he was not.

 21     Q.   And, Dr. Wright, isn't it true, though, that Satoshi was a

 22     team?

 23     A.   No, that's not technically true.                     But without a lot of

 24     people helping me in the community -- and I mean a lot.

 25     Without Hal Finney it would have failed.                          Without Bear it would

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  1     have failed.    Christ, I hate his guts, but without Theymos it

  2     would have failed.     Michael Marquette.                     He's a complete shit.

  3     Q.   Dr. Wright, isn't it true that the Satoshi team died with

  4     Dave?

  5     A.   To me, yes.    Everything in my heart died when Dave died.

  6                 MR. FREEDMAN:     Ms. Vela, can you please bring up P139,

  7     and let's go to Page 4, please.

  8     BY MR. FREEDMAN:

  9     Q.   Dr. Wright, this is an email between you and Ira Kleiman on

 10     March 7th, 2014.     Do you see that?

 11     A.   I do.

 12     Q.   You say to him:    "Ira, what is true?                       I had math skills and

 13     some coding that, frankly, was crud.                      Better than some, but

 14     really, dave could edit his way through hell and back.                         I am

 15     not a team player.     I am a terrible boss and slave driver.                      But

 16     with Dave, I was far more.            Satoshi was a team.               Without the

 17     other part of that team, he died."

 18          Do you see that?

 19     A.   Yes.

 20     Q.   Dave Kleiman was the other part of that Satoshi team?

 21     A.   No.

 22                 MR. FREEDMAN:     Ms. Vela, you can take that down.

 23     Thank you.

 24     BY MR. FREEDMAN:

 25     Q.   Dr. Wright, you gave an interview in February 2019 called

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  1     "Is Craig Wright the Real Satoshi?"

  2          You recall that?

  3     A.   Not off the top of my head, no.

  4     Q.   It was for a podcast called the Bad Crypto Podcast.                      Do you

  5     recall that?

  6     A.   I'm sorry.    I've given lots of interviews.                     I don't recall

  7     individual ones, no.

  8     Q.   It took place on February 20th, 2019?

  9     A.   I'm sorry.    I don't recall it.

 10               MR. FREEDMAN:       Ms. Vela, for just counsel and the

 11     witness, can you put up the PDF associated with P434.

 12     BY MR. FREEDMAN:

 13     Q.   Dr. Wright, can you take a moment to review this document

 14     and let me know if it refreshes your recollection that you, in

 15     fact, gave an interview called "Is Craig Wright the Real

 16     Satoshi?" for the Bad Crypto Podcast in February of 2019?

 17     A.   It's my picture.     I don't recognize the people.                   I don't

 18     remember.    I'm sorry.

 19     Q.   Dr. Wright, do you recall that as part of this podcast you

 20     talked about Dave Kleiman and his part in the Satoshi Nakamoto

 21     partnership?

 22     A.   I don't recall the podcast, so I can't answer that yes.

 23               MR. FREEDMAN:       Your Honor, at this point we would like

 24     to introduce the audio file from P434.

 25               MS. MCGOVERN:       Objection.               Hearsay.

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  1                 MR. FREEDMAN:        It's the statements of Dr. Wright

  2     recorded.

  3                 THE COURT:      The objection is overruled.                        I'll allow

  4     it.

  5                 MR. FREEDMAN:        Ms. Vela, can you please play for us

  6     the audio file from the relevant portion of this audio file

  7     from 5 minutes, 18 seconds.

  8           (Audio played.)

  9                 MR. FREEDMAN:        Ms. Vela, that's the wrong clip.                      I'm

 10     sorry.      P434.   P434.

 11           (Audio played.)

 12                 MR. FREEDMAN:        Can you let that play for one more

 13     second.

 14                 (Audio played.)

 15                 MR. FREEDMAN:        Thanks, Ms. Vela.                       You can stop that

 16     now.

 17     BY MR. FREEDMAN

 18     Q.    So, Dr. Wright, Satoshi Nakamoto was a partnership that

 19     ceased to be a partnership when Dave Kleiman died; isn't that

 20     correct?

 21     A.    No.

 22     Q.    Dave's never going to be here again, Dr. Wright.

 23                 MS. MCGOVERN:        Objection.

 24                 THE COURT:      Sustained.

 25

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  1     BY MR. FREEDMAN:

  2     Q.   Dr. Wright, would there be merit in saying Dave Kleiman was

  3     actually part of the Satoshi team?

  4     A.   There would be no merit.

  5     Q.   Dr. Wright, do you remember appearing for The Crypto Show

  6     podcast on November 12th, 2018?

  7     A.   Not off the top of my head, no.

  8               MR. FREEDMAN:       Your Honor, we would seek to impeach

  9     the witness with a prior inconsistent statement.

 10               THE COURT:    What exhibit is this?

 11               MR. FREEDMAN:       It's not an exhibit because it's an

 12     impeachment exhibit, but it's an audio file.

 13               MS. MCGOVERN:       I believe it's improper impeachment.

 14     Your Honor, also this is far outside the time frame, far

 15     outside the time after Dave Kleiman's reported to have died in

 16     2013.   Hearsay, Your Honor.

 17               MR. FREEDMAN:       It's a statement of Dr. Wright.

 18               THE COURT:    Yes.        The objection on grounds of hearsay

 19     is overruled.

 20               MS. MCGOVERN:       We also object on improper impeachment,

 21     Your Honor.

 22               THE COURT:    Again, I don't have an exhibit so I'm not

 23     certain if it is or not.          But both the attorneys have had an

 24     opportunity to listen to it?

 25               MR. FREEDMAN:       No, Your Honor.                   It's an impeachment

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  1     exhibit.    It doesn't need to be disclosed per the Court's

  2     rules.

  3                MS. MCGOVERN:      No.       We have not heard it before.

  4                THE COURT:   All right.              Mr. Freedman, if you're making

  5     a representation that that is truly for purposes of

  6     impeachment, then I'll allow it.

  7                MR. FREEDMAN:      It is for purposes of impeachment.

  8                So we're on the same page, madam court reporter, did

  9     you mind reading back the question and answer?

 10          (Read back.)

 11                MR. FREEDMAN:      Ms. Vela, can you please play The

 12     Crypto Show podcast.

 13          (Audio played.)

 14     BY MR. FREEDMAN:

 15     Q.   Dr. Wright, there would be merit in saying that?

 16     A.   I said there was merit in saying that.                           There's not merit

 17     in whether he was.      So no, he wasn't.

 18     Q.   Dr. Wright, I believe yesterday we talked about a

 19     conversation between you and a reporter, Brendan Sullivan.                           Do

 20     you recall that conversation?

 21     A.   Not really.    I know I had someone try and call me on a

 22     broken Skype line and I could hardly hear.                            If we're talking

 23     about the same person, then I recall hardly being able to hear

 24     a person on the other end of the line.

 25     Q.   Do you recall telling Mr. Sullivan that you are the only

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  1     surviving member of Satoshi?

  2     A.   I did not say such a thing.

  3     Q.   Do you recall telling Mr. Sullivan that you are the a-hole

  4     Satoshi and Dave was the nice one?

  5     A.   I did not say such a thing.

  6                 MS. MCGOVERN:     Objection, Your Honor.                  This is

  7     improper impeachment.       It's hearsay.                 And it's before Your

  8     Honor for purposes of decision.                 It was also addressed earlier.

  9                 THE COURT:   Why don't we hold off until the Court has

 10     an opportunity to review it.

 11                 MR. FREEDMAN:     I was not going to move forward with

 12     any impeachment --

 13                 THE COURT:   With regard to the underlying statements,

 14     the objection is sustained.

 15     BY MR. FREEDMAN:

 16     Q.   Dr. Wright, you've admitted that Dave has control over --

 17     rather, had control over the Satoshi Nakamoto user accounts;

 18     isn't that correct?

 19     A.   Yes.   After 2011, he was in control of them for a time.

 20     Q.   Dr. Wright, whoever used the pseudonym Satoshi Nakamoto --

 21     we say it was a partnership; you say it was you -- used the

 22     email address satoshi@vistomail.com, correct?

 23     A.   Sorry.   Can you rephrase that?

 24     Q.   Satoshi@vitstomail.com.

 25     A.   Didn't hear the first part of the question.                      Sorry.

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  1     Q.   Did Satoshi Nakamoto use the email address

  2     satoshi@vistomail.com?

  3     A.   I did.

  4     Q.   I asked just if Satoshi Nakamoto used the email address

  5     satoshi@vistomail.com?

  6     A.   I did.

  7     Q.   In fact, Dr. Wright, satoshi@vistomail.com was the email

  8     address that Satoshi Nakamoto used to email the original

  9     Bitcoin Whitepaper, correct?

 10     A.   No.

 11     Q.   It's the email Satoshi Nakamoto used for the original

 12     message from Satoshi Nakamoto announcing Bitcoin to the

 13     cryptography mailing list?

 14     A.   Yes.

 15     Q.   Dr. Wright, Dave had that Vistomail account, correct?

 16     A.   After May 2011, yes.

 17     Q.   Well, let's go take a look at your communications with Ira

 18     in 2014.

 19                 MR. FREEDMAN:     Ms. Vela, can you please bring up P119,

 20     and just for the witness and counsel.                       I know a form of this is

 21     in evidence.    I'm not sure P119 is.

 22                 MS. MCGOVERN:     It is not.

 23     BY MR. FREEDMAN:

 24     Q.   Dr. Wright, do you recognize this as an email communication

 25     between you and Ira Kleiman about Dave Kleiman?

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  1     A.   I do.

  2                 MR. FREEDMAN:     Your Honor, Plaintiffs offer P119 into

  3     evidence.

  4                 MS. MCGOVERN:     No objection.

  5                 THE COURT:   Admitted into evidence.

  6          (Plaintiffs' Exhibit 119 received into evidence.)

  7     BY MR. FREEDMAN:

  8     Q.   Dr. Wright --

  9                 MR. FREEDMAN:     Can we publish to the jury, please.

 10     Thank you.

 11     BY MR. FREEDMAN:

 12     Q.   Dr. Wright, at the bottom of this email, it is Ira Kleiman

 13     sending an email to you.

 14     A.   Yes.

 15     Q.   February 15th, 2014.

 16     A.   Yes.

 17     Q.   Days after you first initiate contact with the Kleiman

 18     estate.

 19     A.   Yes.

 20     Q.   "Hi, Craig.    I'm Dave's brother Ira.                       I heard via Patrick

 21     that you and my brother worked on some tech projects together.

 22     If what he told me was true, I would be very impressed.                         Can I

 23     ask" -- we can go to the last paragraph -- "can I ask you if

 24     Dave played a part in writing the original PDF under the Asian

 25     alias?"

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  1          Do you see that?

  2     A.   Yes.

  3     Q.   He is talking about the Bitcoin Whitepaper and Satoshi

  4     Nakamoto, correct?

  5     A.   I believe that's what he meant, yes.

  6     Q.   And then he says, he finishes the email:                         "I just think it

  7     would be cool to know that David played a part in creating

  8     something so incredible."

  9          Do you see that?

 10     A.   I do.

 11                 MR. FREEDMAN:     Ms. Vela, can you scroll up to

 12     Dr. Wright's response.        No.       Up, up, up.

 13     BY MR. FREEDMAN:

 14     Q.   Dr. Wright, you respond back:                  "Hi, Ira.         Dave and I

 15     completed several papers and books and had a company together.

 16     I cannot say much right now, but yes, Dave was involved with

 17     that PDF.     He had the Vistomail account.                       I had the GMX one."

 18          Do you see that, Dr. Wright?

 19     A.   I see it.

 20     Q.   Did you say he only had the Vistomail account in 2011?

 21     A.   Yes.    I exaggerated Dave's role because I wanted him to be

 22     part of it and no one remembered him.

 23     Q.   So let me make sure I understand what you're saying.

 24          You're saying you told Ira Kleiman in 2014 that Dave always

 25     had the Vistomail account from the very beginning, but that was

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  1     not true, you were just exaggerating his role; is that correct?

  2     A.   I didn't say that he had it from the beginning, and yes, I

  3     did exaggerate.     I wanted Dave to be remembered.                       It was

  4     important to me.

  5     Q.   Dr. Wright, isn't it true that you are now claiming

  6     exaggeration after -- only after you've been sued by the

  7     Kleiman estate?

  8     A.   No.   You put me under oath.               When I said this to Ira, I was

  9     exaggerating to a family member about a person in my life that

 10     I loved and I wanted remembered, to a person I thought should

 11     care about it, a person who should think that he's more.                           So

 12     yes, I exaggerated about a loved one to someone I thought was

 13     family.

 14     Q.   Dr. Wright, isn't it true that the Vistomail account was

 15     Dave's account that he let the partnership use?

 16     A.   No.   The Vistomail account was securer.                         It was owned and

 17     controlled and my lawyers had access to it until the account

 18     got closed down when they found out that I still had access.

 19     Q.   I assume we'll hear from these lawyers in the case,

 20     Dr. Wright?

 21     A.   The British ones.

 22                MR. FREEDMAN:      Ms. Vela, can you take that down,

 23     please.

 24     BY MR. FREEDMAN:

 25     Q.   Well, Dr. Wright, let's see what you said about whether or

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  1     not the Vistomail account was Dave's account a few days after

  2     Dave dies.    Okay?

  3     A.   (No verbal response.)

  4     Q.   You had a blog entitled "Cracked, Insecure and Generally

  5     Broken"?

  6     A.   I had a blog run by staff members, yes.

  7     Q.   And on April 30th, 2013, four days after Dave was found

  8     deceased in his home, you made a post on that blog; isn't that

  9     right?

 10     A.   I instructed a post to be loaded.

 11     Q.   And Dr. Wright, in that post you said:                           It was Dave's

 12     Vistomail account that allowed me to start some of my more

 13     radical ideas; is that correct?

 14     A.   The blog posted that.

 15                MR. FREEDMAN:      Ms. Vela, can you please put up P864.

 16     BY MR. FREEDMAN:

 17     Q.   Dr. Wright, you see --

 18                MR. FREEDMAN:      Ms. Vela, you can put it up just for

 19     the witness and counsel, please.

 20     BY MR. FREEDMAN

 21     Q.   "Cracked, Insecure and Generally Broken," Dr. Wright, it is

 22     your blog?

 23     A.   It was a blog run under my name and under my instruction.

 24                MR. FREEDMAN:      And, Ms. Vela, can you bring us to Page

 25     3.

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  1     BY MR. FREEDMAN:

  2     Q.   Post entitled "Dave Kleiman," Dr. Wright, dated April 30th,

  3     2013?

  4     A.   Yes.

  5                 MR. FREEDMAN:     Your Honor, Plaintiffs offer P864 into

  6     evidence.

  7                 MS. MCGOVERN:     No objection.

  8                 THE COURT:   864.       Is that correct?

  9                 MS. MCGOVERN:     No objection.

 10                 THE COURT:   All right.             Admitted into evidence.

 11          (Plaintiffs' Exhibit 864 received into evidence.)

 12                 MR. FREEDMAN:     Can we publish that to the jury,

 13     please.

 14     BY MR. FREEDMAN

 15     Q.   Dr. Wright, across the top "Cracked, Insecure and Generally

 16     Broken," right?

 17     A.   Yes.

 18     Q.   On the left-hand side is a picture of you in a tuxedo and a

 19     bow tie, correct?

 20     A.   Yes.

 21     Q.   "Craig S. Wright" with your email address, right?

 22     A.   Yes.

 23                 MR. FREEDMAN:     Ms. Vela, can you bring us to Page 3,

 24     which has the post from April 30th, 2013.

 25

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  1     BY MR. FREEDMAN:

  2     Q.   Dr. Wright, this is four days after Dave is found deceased

  3     in his home, correct?

  4     A.   No, it's not.    This was edited later.

  5     Q.   It was edited later, Dr. Wright.                     This is a preedited

  6     version of it.     I'm going to show you the edited version next.

  7     Okay?

  8     A.   This is not the original version either.

  9     Q.   Okay.    Dr. Wright, this is how it existed before 2015,

 10     correct?

 11     A.   I don't know.    I didn't run the blog.

 12     Q.   All right.    Dr. Wright, I'm looking about maybe two-thirds

 13     of the way, on the bottom third of the email.                         It says:   "It

 14     was Dave's Vistomail account that allowed me to start some of

 15     my more radical ideas."

 16          Do you see that?

 17     A.   I see that.

 18     Q.   And you testified earlier that that's what it said,

 19     correct?

 20     A.   Sorry.    That's what what said?                  The blog?

 21     Q.   That your blog post --

 22                MS. MCGOVERN:      If you could please allow the witness

 23     to fully answer the question.

 24                THE COURT:   Have you finished your answer, sir?

 25                THE WITNESS:     I hadn't.

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  1                 THE COURT:   All right.              Go ahead.

  2                 THE WITNESS:     So I'm asking you just to explain.                  So

  3     repeat.

  4     BY MR. FREEDMAN:

  5     Q.   I'm sorry?

  6     A.   Can you please repeat.

  7     Q.   Yes.   I asked you earlier whether or not the blog post said

  8     that:    "It was Dave's Vistomail account that allowed me to

  9     start some of my more radical ideas," and you said:                      "Yes."

 10     A.   You've used two things.             One, was it the blog post that

 11     said that.    And I said:        "Yes."          And two, was it my blog post,

 12     and I went:    "No."

 13     Q.   I never asked if it was your blog post, Dr. Wright.                     I just

 14     showed you that it's your blog with your picture on it.

 15     A.   I believe you said:         "Your blog post."

 16     Q.   All right.    Dr. Wright, is it your testimony today that it

 17     wasn't you but someone else wrote this personal tribute to your

 18     best friend four days after he died?

 19     A.   I wrote a tribute.        I send them to staff members.               The way

 20     that my blog works, even now, is I write a Word document or a

 21     handwritten document.        I hand it to one of the staff members.

 22     Right at the moment it's Sebastian.                      In the past it's been

 23     other people.     They then publish it.                    I don't publish on my

 24     blogs.

 25     Q.   But you wrote it, Dr. Wright?

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  1     A.   I didn't write this one.             I wrote a document.              Many times

  2     the documents I have had have been edited and changed.

  3               MR. FREEDMAN:       Counsel, I'm going to the deposition of

  4     Craig Wright, March 16th, 2020, Page 166, lines 2 through 20.

  5               MS. MCGOVERN:       One second, please.                     Could you repeat

  6     the lines.

  7               MR. FREEDMAN:       Page 166, lines 2 through 20.

  8          (Pause in proceedings.)

  9               MR. FREEDMAN:       2 through 23, rather.

 10               MS. MCGOVERN:       No objection.

 11     BY MR. FREEDMAN:

 12     Q.   Dr. Wright, do you remember on March 16th, 2020 I took your

 13     deposition?

 14     A.   I remember a deposition with you, yes.

 15     Q.   And I asked you the following questions and you gave the

 16     following answers:

 17          "Question:    Do you recall this post?

 18          "Answer:   I recall the post on the tracking project that I

 19     had on my ranch in Australia.

 20          "Question:    Can you go down to Page 3 of 7 for me to the

 21     post that starts up Tuesday, 30th of April, 2013, entitled

 22     'Dave Kleiman.'

 23          "Answer:   Yes.   I see that.

 24          "Question:    Do you see about three-quarters of the way down

 25     the page there's a paragraph that starts off:                          'It was Dave's

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  1     Vistomail account that allowed me to start some of my more

  2     radical ideas'?

  3           "Answer:   Yes.

  4           "Question:   Is this the satoshi@vistomail account?

  5           "No.

  6           "Answer:   Which account was that?"

  7           Sorry.

  8           "Answer:   No.

  9           "Question:   Which account was that?

 10           "Answer:   I do not remember the exact name.                    I haven't kept

 11     it.

 12           "Question:   But you did write this; is that correct?

 13           "Answer:   I did write this.              That is correct."

 14                  MR. FREEDMAN:    Ms. Vela, can we please take down the

 15     deposition of Dr. Wright.

 16     BY MR. FREEDMAN:

 17     Q.    Dr. Wright, at some point after this that blog post was

 18     edited, wasn't it?

 19     A.    After this, no.   The blog post was edited in 2014, I think

 20     it was.      First in '13.    So no, not after this.                  The deposition,

 21     it was never -- it was already closed by the time of the

 22     deposition.

 23                  MR. FREEDMAN:    Ms. Vela, can you please bring up P864

 24     just for counsel and the witness.

 25

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  1     BY MR. FREEDMAN:

  2     Q.   Dr. Wright, this is a version of the blog -- of the blog

  3     that was pulled by our office through the Wayback Machine, and

  4     it's dated from 2000 -- as it appeared in about 2015.                  Do you

  5     recognize this as your blog post?

  6     A.   I recognize it as the blog that I controlled.

  7               MR. FREEDMAN:       And, Ms. Vela, can you go to the same

  8     post.   So we're going to be at Page 3.

  9     BY MR. FREEDMAN

 10     Q.   See Page 3?

 11     A.   I see that.

 12     Q.   Okay.

 13               MR. FREEDMAN:       Your Honor, Plaintiffs would offer P865

 14     into evidence.

 15               MS. MCGOVERN:       No objection, Your Honor.

 16               THE COURT:    Admitted into evidence.

 17          (Plaintiffs' Exhibit 865 received into evidence.)

 18               MR. FREEDMAN:       And, Ms. Vela, can we publish -- okay.

 19     On the left-hand side, Ms. Vela, can we make sure that we have

 20     not P865, but P864, which is the original post, Page 3.

 21               Okay.    And can you highlight for the jury on the left

 22     side the original post:         "It was Dave's Vistomail account that

 23     allowed me to start some of my more radical ideas."                   And on the

 24     right-hand side, Ms. Vela, this is the 2015 version.                  Can you

 25     go to Page 3.     Can you zoom in on the Dave Kleiman story.

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  1     BY MR. FREEDMAN

  2     Q.   Dr. Wright, this story is nearly identical; is that

  3     correct?

  4     A.   That's not the original post on the left.

  5                MR. FREEDMAN:      Okay.         Ms. Vela, can you highlight for

  6     the jury:    "To him" and:        "He always had a part of my heart,"

  7     on the right-hand side.

  8                Can you put a red line underneath that to signify

  9     what's missing, and can you highlight:                        "We helped fund

 10     long-distance communications."

 11                Ms. Vela, on the left-hand side, can you now also

 12     highlight:    "It was to him and he always had a part of my

 13     heart," on the left-hand side.

 14          Put a line through the part that's missing on the right.

 15     And then can you highlight:             "We helped fund long-distance

 16     communications."

 17     BY MR. FREEDMAN:

 18     Q.   Dr. Wright, the original post, four days after Dave Kleiman

 19     dies, says:    "It was Dave's Vistomail account that helped me

 20     start some of my more radical ideas," and sometime later you

 21     delete that sentence from the blog post?

 22     A.   That's not --

 23                MS. MCGOVERN:      Objection.               Foundation.

 24                THE COURT:   Overruled.

 25                THE WITNESS:     That's not the original post.                  If you

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  1     actually zoom out, you will see that it's a 2014 edit.

  2     BY MR. FREEDMAN:

  3     Q.   Yes, Dr. Wright.     You edited it to remove that line, did

  4     you not?

  5     A.   No.   I don't control my blog posts.

  6                MR. FREEDMAN:      Okay.         Ms. Vela, you could take those

  7     down.   Thank you.

  8     BY MR. FREEDMAN:

  9     Q.   Dr. Wright, beside the satoshi@vistomail account, there was

 10     another Satoshi Nakamoto account, correct?

 11     A.   There were actually two others, but yes.

 12     Q.   One was a GMX one, right?

 13     A.   That's correct.

 14     Q.   Dave had access to that account too?

 15     A.   No, I don't think he actually did.                       But he may have.   I

 16     sent a lot of things to him in 2011.                      I don't recall if I gave

 17     him that one.

 18     Q.   Did you give him access to the GMX account?

 19     A.   I don't recall that I gave him the GMX account, no.

 20                MR. FREEDMAN:      Ms. Vela, do we have a PDF of

 21     Dr. Wright's deposition so we can help refresh his

 22     recollection.

 23                Why don't we show him the deposition of April 4th,

 24     2019, Page 211, lines 12 through 24.

 25

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  1     BY MR. FREEDMAN:

  2     Q.   Dr. Wright, why don't you review that and let me know if

  3     that helps refresh your recollection of whether or not you gave

  4     Dave Kleiman access to the other Satoshi Nakamoto account.

  5     A.   If I said in the past that I did, I would have.                  But I

  6     don't recall it now.

  7     Q.   Did you read that deposition, Dr. Wright?

  8     A.   I did.

  9     Q.   Does that refresh your recollection?

 10     A.   No.   But if I said that, it would be what I actually knew

 11     in the past.    I don't remember everything.

 12                MR. FREEDMAN:      Your Honor, we would like permission to

 13     play the clip of Dr. Wright.

 14                MS. MCGOVERN:      Objection.

 15                THE COURT:   All right.

 16                MR. FREEDMAN:      Ms. Vela, can you please play clip 28.

 17          (Video played.)

 18     BY MR. FREEDMAN:

 19     Q.   To be clear, Dr. Wright, you never gave anyone else access

 20     to the GMX account, correct?

 21     A.   Incorrect.

 22                MR. FREEDMAN:      Counsel, I'm going to the deposition of

 23     Dr. Wright, April 4th, 2019, Page 212, lines 17 through 19.

 24                MS. MCGOVERN:      One second, please.

 25          (Pause in proceedings.)

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  1                MS. MCGOVERN:      Could you restate the question, please?

  2          (Read back.)

  3                MS. MCGOVERN:      Your Honor, we have no objection but

  4     ask that the statement that's being read to the jury focus on

  5     the proposed lines that go to the exact question that's being

  6     asked and not overly included in the entire page.

  7                MR. FREEDMAN:      Two lines, Ms. McGovern.

  8                MS. MCGOVERN:      No objection.

  9                THE COURT:   Okay.

 10                MR. FREEDMAN:      Ms. Vela, can you play clip number 29.

 11          (Video played.)

 12     BY MR. FREEDMAN:

 13     Q.   Want to change your answer, Dr. Wright?

 14     A.   No.   My answer stands, because what I found out after that

 15     deposition was that giving access to other things equaled

 16     giving that.    So at the point where I said that I believed it

 17     was true, and I found out I was wrong.

 18     Q.   Dr. Wright, isn't it true that Dave also had access to

 19     Satoshi Nakamoto's Bitcointalk account?

 20     A.   No.   Nobody had access to the Bitcointalk account.

 21     Bitcointalk was moved from the original Bitcoin.org site, and

 22     the Bitcointalk forum that you're talking about didn't exist

 23     until I think June 2011, which was -- or basically six months

 24     after I stopped talking.

 25                MR. FREEDMAN:      Counsel, I'm going to the deposition of

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  1     Craig Wright, April 4th, 2019, Page 133, lines 9 through 20.

  2               MS. MCGOVERN:       Could you restate the citation.                  I

  3     apologize.    Restate the citation?

  4               MR. FREEDMAN:       It is Page 133, lines 9 through 20.

  5               MS. MCGOVERN:       One second, please.

  6          (Pause in proceedings.)

  7               MS. MCGOVERN:       No objection.

  8               MR. FREEDMAN:       Ms. Vela, please play clip number 30 of

  9     Bitcointalk.

 10          (Video played.)

 11               MS. MCGOVERN:       Your Honor, for completeness we would

 12     simply ask that the remainder of that thing that went to the

 13     jury be played.

 14               THE COURT:    All right.              The remaining line.

 15               MR. FREEDMAN:       That's no problem.

 16               Go ahead, Ms. Vela.

 17          (Video played.)

 18     BY MR. FREEDMAN:

 19     Q.   So you and Dave used the account until December of 2010?

 20     A.   You have put two things there and two different things that

 21     you're conflating.     You asked me first about Bitcoin.org and

 22     then you mentioned Bitcointalk, and you said:                         "Bitcointalk,"

 23     question mark, and I said:            "Yes, Bitcointalk."              We were then

 24     talking about Bitcoin.org again.

 25          Yes, and the Bitcoin.org system is a separate system.                         It's

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  1     public record.     So if you do a WHOIS -- which I don't know if

  2     people know what is a WHOIS.              But in Internet terms you can see

  3     when a domain is set up.

  4          Bitcointalk forum was constructed in around April of 2011.

  5     A lot of the reason was people who were behind Silk Road didn't

  6     want me ever coming back to Bitcoin.                      They still don't.   So

  7     they removed the Bitcoin.org accounts and moved them to a new

  8     server, ensuring that the Satoshi account could never access

  9     them.

 10          All of this is easy to validate.                     You just go to the site

 11     WHOIS.org, type in Bitcointalk's domain, and you will see that

 12     it didn't exist in 2010.          It was actually a new server

 13     constructed.

 14          So when I'm answering, there are two things.                     One,

 15     Bitcoin.org account I had access to.                      When that was shut down,

 16     by Cobra and Marty and others, to get rid of me, I no longer

 17     had access.    I gave that account to Dave, that is correct, but

 18     he could not access Bitcointalk.

 19     Q.   I want to make sure I understand your testimony.                    You did

 20     give Dave access to Satoshi's account on Bitcoin.org, but you

 21     never had access to a Bitcointalk account?

 22     A.   The Bitcointalk account was set up after I left as Satoshi

 23     on the forums.     So Bitcoin.org/forums and forums.bitcoin.org

 24     existed while I was actually posting as Satoshi.                      Most people

 25     in the community don't even realize that's the case.                     They

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  1     weren't there in 2010, so they don't actually know this.

  2          So yes, I posted on Bitcoin.org, only Bitcoin.org.                        My

  3     posts as Satoshi were then replicated with a few deleted.

  4     People don't realize there are a few key posts that I made

  5     talking about Silk Road and how it -- it was complete shit.

  6     Only word I can use for it.             I'm trying not to swear.              I'm

  7     sorry.   I'm Australian.        I'm finding this hard to say without

  8     swearing.

  9          Anyway, to try and say this a different way, yes, in order

 10     to totally delete what I said about Silk Road and a few things

 11     that I said to Buddy, Russel, Rick, and others about the --

 12     that they were doing, expletive not said, people completely

 13     rebuilt the site minus several of my posts.

 14     Q.   Dr. Wright, that's not what I asked.                         All I asked you is:

 15     Did you give Dave Kleiman access to the Satoshi account on

 16     Bitcoin.org?

 17     A.   Effectively, no, because the site was no longer linked.

 18     Technically, yes.

 19     Q.   Dr. Wright, in this litigation, you are claiming that you

 20     and Dave each had your own Bitcoin that you both kept

 21     separately; is that correct?

 22     A.   Yes.

 23     Q.   But in reality, the two of you mined Bitcoin jointly; isn't

 24     that correct?

 25     A.   Sorry.   Could you say that again?

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  1     Q.   You and Dave mined Bitcoin jointly; isn't that correct?

  2     A.   No.   The person who invented pooled mining, Steve Shadders,

  3     actually works for nChain now.                I hired him early on.           The

  4     creation of pool mining was not till the later half of 2010.

  5     So what that enabled was someone to run a node and for others

  6     to get paid partly in conjunction with a separate subsystem

  7     over Bitcoin.    So that let someone set up a node and then have

  8     mining systems that didn't validate the whole block.

  9          So when I first launched Bitcoin, there were no sort of

 10     shared mining facilities, pool mining facilities that you see

 11     now.   That didn't come across until Steve and others created

 12     that in around August 2010.

 13          Now, you could have -- like one of the things that weren't

 14     mentioned here was -- no one knew about it, apart from Satoshi

 15     back in the early day because I invented it.                          But I had this

 16     thing called a multi-sig key.               So if you were joint mining, you

 17     could do things such as forming arrangements like two of two,

 18     three of three, et cetera.            So you could have person A and

 19     person B each have a key in a transaction, allowing them either

 20     to be joint, both require -- like with a two-of-two, both would

 21     have to sign.    With a one-of-two, then one party could sign.

 22          Imagine it like a checkbook where sometimes you need --

 23     like in your business you need to have three signatures.                         You

 24     could do that.     Imagine a checkbook where there are three

 25     people in the organization, directors, and any of the two of

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  1     those three people could sign and that would work.                         That was

  2     also there.

  3          So all of that was actually there when I launched Bitcoin,

  4     but no one used it.     I could have.                  I didn't.      So the very

  5     simple thing here is no.          Although I had that built in, that

  6     you could do it, it was never done.

  7     Q.   So, Dr. Wright, you're claiming that the two of you did not

  8     mine Bitcoin jointly.

  9     A.   No.   Joint mining didn't happen until around July, August

 10     of 2010.    There was no joint mining before then.                       And even

 11     then, the joint mining, the way that it works is, the pool

 12     operator has a series of records that are able to be publicly

 13     audited.    So this is the great thing with Bitcoin.                       My

 14     invention is something that an anal auditor like me -- I used

 15     to be an auditor, as I said -- loves.                       It is a public ledger

 16     that is immutable.     It can't be deleted.                       All of the records of

 17     every person, every company that's mined from 2011 on is

 18     public.

 19          Now, why a lot of people don't want some of the records

 20     that I hold, including the encrypted things that Dave has, is I

 21     collected, when I was Satoshi, every single IP address of every

 22     person on the network.        So it's not joint mining, but I

 23     recorded all of these people who haven't paid tax to the IRS.

 24     I recorded all of these people in the early days, and I have

 25     all of their information.           So strangely enough, these people

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  1     keep trying to break into my systems.                       So very simply, no joint

  2     mining.

  3               MR. FREEDMAN:       Your Honor, move to strike as

  4     nonresponsive.

  5               MS. MCGOVERN:       Your Honor --

  6               THE COURT:    At this point the motion to strike is

  7     denied.

  8     BY MR. FREEDMAN:

  9     Q.   Dr. Wright, you and Dave Kleiman referred to Bitcoin as

 10     joint partnership property, did you not?

 11     A.   No, not ever.

 12     Q.   Let's look at the way you referred to Bitcoin before Dave's

 13     estate filed the lawsuit.

 14               MS. MCGOVERN:       I apologize.                I didn't hear the

 15     question.

 16               MR. FREEDMAN:       I said I'd like to now look at some

 17     statements you made before we filed this lawsuit.                        Okay.

 18               THE WITNESS:      Yes.

 19     BY MR. FREEDMAN

 20     Q.   We've previously looked at your statement to the New South

 21     Wales police, correct?

 22     A.   Yes, I did.

 23               MR. FREEDMAN:       Ms. Vela, can you please bring up P464,

 24     which is already in evidence.               And, Ms. Vela, can you take us

 25     to Page 7, please, of Dr. Wright's statement.                         It's published.

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  1     It's in evidence.

  2                 Oh, can you publish to the jury, please.

  3                 And can you bring us to Page 7, Ms. Vela, please, and

  4     can you please call out Paragraph 21 for me.

  5     BY MR. FREEDMAN:

  6     Q.   Dr. Wright, in your statement to the New South Wales police

  7     you said:     "I was excited by the prospect of obtaining the

  8     software.     I told Mark" -- that's Mark Ferrier?

  9     A.   Yes.

 10     Q.   "I told Mark that the only way in which I would be able to

 11     finance the deal would be by paying in Bitcoin that Dave and I

 12     held."

 13          Do you see that?

 14     A.   I do.

 15     Q.   So you and Dave held Bitcoin together, Dr. Wright?

 16     A.   No.    These were company assets.                  The records are actually

 17     filed with the tax office.

 18     Q.   Does it say:    "Paying in Bitcoin at companies that Dave and

 19     I hold"?

 20                 MS. MCGOVERN:     Objection.               Document speaks for itself.

 21                 THE COURT:   Sustained.

 22     BY MR. FREEDMAN

 23     Q.   That's not what the document says, Dr. Wright, correct?

 24     A.   No.    You're actually trying to misrepresent this.                 That

 25     doesn't say partnership.          Sorry.

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  1     Q.   All right.    Dr. Wright, let's take a look at your

  2     communications with Dave Kleiman.                   Okay?

  3     A.   Yes.

  4     Q.   In these communications, Dr. Wright, you were quite clear

  5     that the decisions about what to do with the partnership's

  6     Bitcoin would be joint decisions, were you not?

  7     A.   There was no partnership, so no.

  8                 MR. FREEDMAN:     Ms. Vela, can you please bring up P459

  9     just for counsel and the witness.                   P591, rather.

 10                 MS. MCGOVERN:     Oh.       591.

 11                 THE COURT:   591.       Okay.

 12     BY MR. FREEDMAN:

 13     Q.   Dr. Wright, do you recognize this as an email you forwarded

 14     to yourself, and below that is an email to Dave Kleiman?

 15     A.   I forwarded it from one email address to another, yes.

 16     Q.   And in it you discuss trusts with Dave Kleiman, correct?

 17     A.   I discussed the 2012 corporate trust that was there at the

 18     time, yes.

 19     Q.   And, Dr. Wright, we've seen that you have discussed mining

 20     Bitcoin with Dave Kleiman into trust with the Australian

 21     Taxation Office, have we not?

 22     A.   No, we have not.

 23                 MR. FREEDMAN:     Your Honor, Plaintiffs offer P591 into

 24     evidence.

 25                 MS. MCGOVERN:     No objection.

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  1                THE COURT:   Admitted into evidence.

  2          (Plaintiffs' Exhibit 591 received into evidence.)

  3                MR. FREEDMAN:      Can we please publish to the jury.

  4     BY MR. FREEDMAN:

  5     Q.   Dr. Wright, this is an email from yourself to Dave Kleiman

  6     dated October 10th, 2012.           Do you see that?

  7     A.   I see that.

  8     Q.   And you say to him:        "We need to discuss the trust and work

  9     out what the F we are doing with it all."

 10          Do you see that?

 11     A.   I do.

 12     Q.   So what to do with the trust Bitcoin, Dr. Wright, is a "we"

 13     decision, correct?

 14     A.   No.   It's "we," the royal "we."                   As when I talk about my

 15     companies and my people, I say:                 "We."         When I talk about the

 16     Bitcoin community, I say:           "We."         When I talk about nChain, I

 17     say:   "We."   When I talk about DeMorgan, I say:                     "We."   When I

 18     was at BDO, I said:     "We."

 19     Q.   Dr. Wright, in the beginning of this sentence in an email

 20     to Dave Kleiman you say:          "We need to discuss the trust."               Were

 21     you using the royal "we" then?                You want to have a discussion

 22     with yourself?

 23     A.   That doesn't say:      Dave, you and I need to discuss the

 24     trust."    I said:   "We," as in the people, "need to discuss the

 25     trust."    Sorry.

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   1    Q.   If Dave wasn't part of the people that needed to discuss

   2    the trust, Dr. Wright, why were you telling him that:                           "We need

   3    to discuss the trust"?

   4    A.   If Dave needs payment for a computer that's being built

   5    through some of my companies, then yes.                         The corporate sign-off

   6    needs to be done.      It's very simple.                  I don't know about what

   7    people generally think.         But when I have a company, even when

   8    I'm CEO, I don't go:      "I'm just going to do whatever the hell I

   9    want."    I go up to my advisers, I go up to my accountants, I go

  10    up to my other directors if there is a purchase and I go:

  11    We're going to do this.         Am I totally crazy?"                    Sometimes I

  12    ignore them, and I usually get in trouble.                            Actually, every

  13    time I ignore them I get in trouble.

  14         But yes, when I'm talking about large expenses, I'm talking

  15    about -- I have those people who are accountants.                           I have John

  16    Chesher, I have Ali.      I have -- I don't remember all the names.

  17    I have all the people who are other directors.                           I have an audit

  18    committee.    So yes, "we" is a royal "we."

  19    Q.   Dr. Wright, let's take another look at a communication

  20    between you and Dave Kleiman.

  21               MR. FREEDMAN:      Ms. Vela, please bring up P042 only for

  22    the witness and counsel.

  23               Can you just zoom in to Dr. Wright's initial email on

  24    the bottom.     Ms. Vela, can you just -- it is quite small.                          Can

  25    you just zoom in.      Thank you.

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   1    BY MR. FREEDMAN

   2    Q.   Dr. Wright, do you recognize this as an email from yourself

   3    to Dave Kleiman dated May 22nd, 2012?

   4    A.   If you want me to be completely honest, and I know you do,

   5    I don't fully recognize it, because when I -- I hate to say it,

   6    but I was drunk.

   7    Q.   Okay.

   8               MR. FREEDMAN:      And, Ms. Vela, right above the all-caps

   9    expletives, can you just highlight that language there.

  10    BY MR. FREEDMAN

  11    Q.   Does the email talk about trust, Dr. Wright?

  12    A.   Yes, it does.

  13               MR. FREEDMAN:      Your Honor, Plaintiffs offer P042 into

  14    evidence.

  15               MS. MCGOVERN:      No objection.

  16               THE COURT:    Admitted into evidence.

  17         (Plaintiffs' Exhibit 042 received into evidence.)

  18               MR. FREEDMAN:      Can we publish to the jury, please.

  19    BY MR. FREEDMAN:

  20    Q.   Dr. Wright, in this email that you have written to Dave

  21    Kleiman on May 22nd, 2012 --

  22               MR. FREEDMAN:      Ms. Vela, can you go to "we do not."

  23    BY MR. FREEDMAN:

  24    Q.   -- Dr. Wright, you say to Mr. Kleiman, Dave Kleiman:             "We

  25    do not touch the trusts."

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   1         Do you see that?

   2    A.   I see that.

   3    Q.   "We do not touch the trusts, not yet, not even for this.

   4    One day they will change the world.                     Not millions, not

   5    billions.    If I am right, they will be trillions and let them

   6    try to defecate on us then."

   7         Do you see that, Dr. Wright?

   8    A.   I see that.

   9    Q.   I'm going to ask you again, Dr. Wright, whether or not to

  10    touch the trusts was a "we" decision, correct?

  11    A.   It was, with my wife Ramona.

  12    Q.   Dr. Wright, you and Dave agreed to keep the trust assets in

  13    place, did you not?

  14    A.   No.   Ramona and I did.          You'll see at the top it says:        "A

  15    recycled rant."     All I did was cut and paste the same to Dave

  16    that I just ranted to my wife.                At that point she wasn't my

  17    wife, but she is now.

  18               MR. FREEDMAN:      Ms. Vela, can you take that down,

  19    please.

  20    BY MR. FREEDMAN:

  21    Q.   Dr. Wright, did you not have an agreement in place with

  22    Dave Kleiman to hold Bitcoin wallets in trust until you could

  23    form a group company with them?

  24    A.   There was small amounts at one stage that was put in as an

  25    agreement, as a pre-incorporation document.

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   1    Q.   Let's take a look at your own handwriting, Dr. Wright.

   2               MR. FREEDMAN:      Ms. Vela, can you please bring up P048.

   3    BY MR. FREEDMAN:

   4    Q.   Dr. Wright, do you see the title of the document, "Deed of

   5    Loan"?

   6    A.   I see that.

   7               MR. FREEDMAN:      Ms. Vela, can you please bring us to

   8    Page 7.    Page 6.

   9         Let's go to -- try 8 then.               Sorry.          Page 8 -- 7 at the

  10    bottom.

  11    BY MR. FREEDMAN:

  12    Q.   Is that your signature, Dr. Wright?

  13    A.   No.

  14    Q.   Okay.   Is that your handwriting, Dr. Wright?

  15    A.   No.

  16    Q.   Do you see it mentions Dave K. at the very end?                         It says:

  17    "Wallets" and "Dave K" and it's got Bitcoin addresses, Bitcoin

  18    block addresses on it?

  19    A.   Looks like:     "Dale."

  20               MR. FREEDMAN:      Your Honor, Plaintiffs offer --

  21               MS. MCGOVERN:      Objection, Your Honor.                    The witness has

  22    stated it's not his handwriting.                  Foundation.          Foundation, Your

  23    Honor.     Authenticity and foundation.

  24               THE COURT:    It goes to the weight.                       Overruled.   It

  25    will be admitted into evidence.

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   1         (Plaintiffs' Exhibit 048 received in evidence.)

   2               MR. FREEDMAN:      Publish this to the jury.

   3    BY MR. FREEDMAN:

   4    Q.   It says:    "Deed of Loan" there, Dr. Wright, correct?

   5    A.   That's what it says.

   6               MR. FREEDMAN:      Last, Ms. Vela, please bring us to Page

   7    8.

   8    BY MR. FREEDMAN:

   9    Q.   Dr. Wright, I asked you if it was your signature on the

  10    bottom of that page, correct?

  11    A.   Can you just go through this one by one, please, on this

  12    document?

  13    Q.   Yes, I will, but first answer this question and then we'll

  14    go through it.     Your signature?

  15    A.   No.

  16               MS. MCGOVERN:      Your Honor, I believe the witness

  17    simply wants to look at the document.

  18               THE COURT:    Yes, the witness does, but let's continue.

  19               THE WITNESS:     I would like to look at the document.

  20    BY MR. FREEDMAN:

  21    Q.   Not your signature, Dr. Wright?

  22    A.   Not my signature.

  23               MR. FREEDMAN:      Counsel, I'm going to the deposition of

  24    Dr. Wright, April 4th, 2019, Page 299, lines 20 through 24.

  25               Ms. Vela, can you not put anything on the screen.

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   1                MS. MCGOVERN:     One second, Your Honor, please.

   2                THE COURT:   Certainly.

   3          (Pause in proceedings.)

   4                MS. MCGOVERN:     Lines 20 to 24?

   5                MR. FREEDMAN:     20 to 24.

   6                MS. MCGOVERN:     Page 298?             What is it?

   7                MR. FREEDMAN:     299.

   8                MS. MCGOVERN:     No objection, Your Honor.

   9                MR. FREEDMAN:     Ms. Vela, can you please play clip

  10    number 6 about the signature.

  11          (Video played.)

  12                MR. FREEDMAN:     Ms. Vela, can you please put back up

  13    Exhibit P48.     Can you bring us back to Page 8.

  14    BY MR. FREEDMAN:

  15    Q.    Dr. Wright, is that your handwriting on the side?                          I

  16    believe you just testified:             "No."

  17    A.    No.   At the time when I first looked at this document, I

  18    didn't look at it properly.             I was angry.                  You got me angry and

  19    I didn't examine the document correctly.                          I will say now that

  20    no.

  21    Q.    So are you admitting that you previously testified it was

  22    your handwriting?

  23    A.    I didn't look at the document properly, and I should have

  24    noted a number of irregularities with this document.                            I didn't.

  25    I'm sorry that I was angry at the time and I didn't look at the

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   1    document properly.      I admit that.

   2               MR. FREEDMAN:      Your Honor, it's a party deposition.

   3    We would like to play Dr. Wright's -- Ms. Vela, can you please

   4    play clip 7.

   5         (Video played.)

   6    BY MR. FREEDMAN:

   7    Q.   Dr. Wright, let's read what you testified was your

   8    handwritten note on the side.               It says:            "As agreed.   All

   9    wallets to be held in UK in trust until all regulatory issues

  10    solved and group company formed with Dave K. and CSW."

  11         Do you see that?

  12    A.   That was not what I said.

  13    Q.   CSW is your initials, Craig Steven Wright?

  14    A.   No.   And as I said, that looks like my handwriting.                       It's

  15    similar, but it's different.

  16    Q.   I'm sorry.    CSW is not your initials?

  17    A.   It is not my initials.

  18    Q.   What are your initials, Dr. Wright?

  19    A.   If you're talking about initialing something or -- there

  20    are two different ways of saying that.                        If you're saying did I

  21    initial this and those are my initials, then the answer is no.

  22    Are my initials technically CSW, then that is yes.

  23    Q.   So your initials are CSW, correct?

  24    A.   My initials are CSW.

  25               MR. FREEDMAN:      Your Honor, I'm about to start another

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   1    module.    I'm happy to keep going, but if the Court wants to

   2    take a break now.

   3               THE COURT:    This is a good time to stop.

   4               So it is obviously 12:55, Ladies and Gentlemen.                        Let's

   5    go ahead and take a one-hour recess for lunch.                          Have a pleasant

   6    lunch.

   7         (Jury not present, 12:53 p.m.)

   8               THE COURT:    Have a pleasant lunch.

   9         (Recess from 12:53 p.m. to 1:53 p.m.)

  10               THE COURT:    Welcome back.

  11               Please be seated.          I trust everyone had a pleasant

  12    lunch.

  13               Are we waiting for anybody?

  14               All right.    Before we bring back the jury, I did

  15    advise that I would take the lunch recess to review case law

  16    that was handed to me, and since it was handed to me and it's

  17    not of record, let me just set forth the cases that were

  18    presented.

  19               The Plaintiff presented two Fifth Circuit cases.                        One,

  20    Dallas County v. Commercial Union Assurance Company, 286 F.2d

  21    388, and that's a Fifth Circuit Court of Appeals, 1961.                          And

  22    then Innovention Toys v. MGA Entertainment.                           The cite is also

  23    from the Fifth Circuit, 2012, Westlaw 5398476.

  24               The Defendants presented the case out of the district

  25    court in Nevada, and that is American Civil Liberties Union of

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   1    Nevada v. City of Las Vegas and that is 13 F.Supp 2d 1064 from

   2    1998.

   3               Because these were out-of-district cases, although the

   4    Fifth Circuit cases are binding on the Court, I did do some

   5    additional research and did find an Eleventh Circuit case which

   6    is United Technologies Corporation v. Mazer, 556 F.3d 1260.

   7    That's a 2009 case.

   8               As we know, Brendan Sullivan's article has two layers

   9    of hearsay.     One which is easily identified as a statement of a

  10    party which are the answers given by Craig Wright.                         The first

  11    layer is the fact that it is an article.                          And the Plaintiffs

  12    are claiming that the residual hearsay rule applies.

  13               Let me note that with regard to Federal Rule of

  14    Evidence 803(24) and I believe you cited to Federal Rule of

  15    Evidence 804(b)(5), the residual exception to the hearsay rule

  16    was transferred to new Rule 807, so that was what the Court

  17    looked to.

  18               And let me say that in looking at the cases, I do find

  19    that the Defendant's case is certainly more in line with the

  20    situation before this Court.              More importantly, with regard to

  21    Mr. Sullivan and the questions that were asked of Dr. Wright

  22    and the answers that were given, the Court certainly questions

  23    the underlying circumstantial guarantees of trustworthiness.

  24               And let me state the article itself is "Exclusive

  25    First Interview with Craig Wright after judge orders him to pay

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   1    $5 million in Bitcoin."         It was on the heels of that ruling

   2    where Judge Reinhart had made a determination as a measure of

   3    sanctions.    This Court has since rejected that order; did not

   4    adopt the Report and Recommendation.                      And those factual

   5    findings are not part of this case and they will not be

   6    explained to the jury.

   7               So, I do not believe that it falls within the residual

   8    hearsay exception.      As the Plaintiffs admit, that you attempted

   9    to obtain what would have been admissible testimony had

  10    Mr. Sullivan been present, but you're not able to.                        And I don't

  11    believe that Rule 807 can salvage the admissibility of

  12    Dr. Wright's statements in that article.

  13               And as such, the objection would be sustained.

  14               MR. FREEDMAN:      Thank you, Your Honor.

  15               THE COURT:    Is there anything further that we need to

  16    address before we bring the jury back in?

  17               MS. MCGOVERN:      Not from Defense, Your Honor.

  18               MR. FREEDMAN:      Nor from Plaintiffs, Your Honor.

  19               THE COURT:    Okay.        Let's bring the jury in.

  20         (Before the Jury, 1:57 p.m.)

  21               THE COURT:    All right.             Welcome back, Ladies and

  22    Gentlemen.    Please be seated, everyone.                       I trust you had a

  23    pleasant lunch and ready to get back to work.

  24               And we'll continue with the questioning of Dr. Wright.

  25               MR. FREEDMAN:      May it please the Court.

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   1    BY MR. FREEDMAN:

   2    Q.   Dr. Wright, before we took a break, we were looking at P048

   3    which is now evidence.

   4               MR. FREEDMAN:      Ms. Vela, can you put up Page 8?

   5    And -- nope, Ms. Vela, P048.              And Page 8.

   6    Q.   We were looking at your handwriting where you said:                          "As

   7    agreed, all wallets to be held in UK trust until all regulatory

   8    issues solved and group company formed with Dave K and CSW."

   9    Do you recall that, Dr. Wright?

  10    A.   I recall that I said that's not my handwriting even though

  11    I said it looks like my handwriting.

  12    Q.   And, Dr. Wright, I was showing this document as part of a

  13    series of questions and documents to show that you treated the

  14    Bitcoin as joint property.            Do you recall that?

  15    A.   I recall you tried to make that claim.                           And I recall that I

  16    asked to see the document in full.

  17               MR. FREEDMAN:      And, Ms. Vela, can you take the

  18    document down?

  19    BY MR. FREEDMAN:

  20    Q.   Dr. Wright, I'll let your lawyers show you the document in

  21    full.    Okay?   I'd like to move forward with the case.

  22    A.   I believe I'm supposed to be able to see it.                          You're asking

  23    me questions about it.

  24    Q.   No, I'm not.

  25               MR. FREEDMAN:      Ms. Vela, can you take the document

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   1    down?    Thank you.

   2    BY MR. FREEDMAN:

   3    Q.    Dr. Wright, as you'll recall, that the way Bitcoin works is

   4    that to send Bitcoin, you must have a private key to a Bitcoin

   5    address, correct?

   6    A.    Wrong.

   7    Q.    And, Dr. Wright, you recall that Mr. Antonopoulos testified

   8    he compared a private key to the PIN in a lockbox.                            You recall

   9    that?

  10    A.    Yes, he said that.

  11    Q.    And whomever has the PIN to the lockbox can take the

  12    Bitcoin out of the lockbox, right?                     That's what he testified

  13    to?

  14    A.    I recall that he misstated how Bitcoin works many times,

  15    yes.

  16    Q.    Dr. Wright, in the Australian lawsuits that we looked at

  17    against W&K, you claim that Dave Kleiman died before he could

  18    transfer 570,000 Bitcoin to you.                  Do you recall seeing that?

  19    A.    That's not what I claimed, no.

  20    Q.    But isn't it true, Dr. Wright, that you and Dave Kleiman

  21    shared the keys to the Bitcoin you mined?                             You shared the

  22    lockbox PIN number so he never needed to transfer you anything?

  23    A.    No, that's not correct.

  24    Q.    Dr. Wright, you admitted that to your wife and a few other

  25    people in 2015, did you not?

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   1    A.   I did not.

   2    Q.   You told your wife that someone may have stolen your emails

   3    with Dave Kleiman.      Do you recall that?

   4    A.   I said a lot of things were stolen and that were some of

   5    them, yes.

   6    Q.   And you told your wife that the keys to the Bitcoin were on

   7    those emails.     Do you recall that?

   8    A.   No, I do not.

   9    Q.   And though you said that -- implied rather -- that she

  10    didn't really have to worry because the keys were encrypted

  11    with their own encryption, AES 256 encryption, so nobody could

  12    get them anyways.      Do you recall that now?

  13    A.   That's not what I said.

  14    Q.   All right.

  15               MR. FREEDMAN:      Ms. Vela, can you please bring P290 on

  16    the screen for just counsel and the witness.                          And can you zoom

  17    in on the top two emails?

  18    BY MR. FREEDMAN:

  19    Q.   Dr. Wright, you recognize this as an email from yourself to

  20    a few folks, including your wife, mentioning communications

  21    with Dave Kleiman?

  22    A.   I do.

  23               MR. FREEDMAN:      Your Honor, Plaintiffs would offer P290

  24    into evidence.

  25               THE COURT:    Any objection?

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   1                MS. MCGOVERN:     No objection.

   2                THE COURT:   Admitted into evidence.

   3         (Plaintiffs' Exhibit 290 received into evidence.)

   4    BY MR. FREEDMAN:

   5    Q.   Dr. Wright, on the bottom of this email, Robert MacGregor

   6    is asking you:     "Do you have copies of the supposedly leaked

   7    emails?     What do they have?"

   8         You see that?

   9    A.   I do.

  10    Q.   And, Dr. Wright, you respond on the top email from

  11    Craig S. Wright on November 21st, 2015 to Robert MacGregor --

  12    we've seen him a few times -- you put yourself in the email

  13    with your @demorgan.com.au address.                     You put Calvin Ayre in the

  14    email.    That's the c@wyno.ca address, correct?

  15    A.   Yes.

  16    Q.   You put Ramona Watts on the email who is your wife?

  17    A.   Yes.

  18    Q.   You put Stefan Matthews on the email too?

  19    A.   Yes.

  20    Q.   Dr. Wright, you then say:              "I suspect that some of the

  21    ex-staff stole backups.         Worst case is my communications with

  22    Dave."

  23         Do you see that?

  24    A.   I do.

  25    Q.   I want to pause here for a minute, Dr. Wright, before we go

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   1    on to the next sentence.          You find out that there may be a

   2    theft of some of your electronic data, and the very first thing

   3    you're concerned about, the worst thing that they could

   4    possibly have, is your communications with Dave Kleiman.                         Do

   5    you see that?

   6    A.   I do.

   7    Q.   And then you say, Dr. Wright:                  "The keys are on it as well,

   8    but they are AES 256 encrypted with 24-character randomized

   9    passwords so don't worry about it."

  10         Do you see that, Dr. Wright?

  11    A.   I see that phrase.

  12               MR. FREEDMAN:      Thank you, Ms. Vela.                    You can take that

  13    down.

  14    Q.   Dr. Wright, we also know you had the private key to Bitcoin

  15    that Dave mined through your statement to the police, correct?

  16    A.   In error.

  17    Q.   And through your communications with Mark Ferrier, do we

  18    not?

  19    A.   You do not.

  20               MR. FREEDMAN:      Ms. Vela, can you please bring up P464?

  21    Let's go to -- which is Dr. Wright's statement to the New South

  22    Wales Police.     And let's go to Paragraph 21, please, on Page 7.

  23               THE COURT:    It's in evidence.

  24               MR. FREEDMAN:      Can we publish it to the jury, please.

  25               Thank you, Your Honor.

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   1    BY MR. FREEDMAN:

   2    Q.   Dr. Wright, you say:         "I told Mark the only way I'd be able

   3    to finance the deal would be by paying in Bitcoin that Dave and

   4    I held."

   5         Do you see that?

   6    A.   I do.

   7               MR. FREEDMAN:      Ms. Vela, can you take us to Page 13 --

   8    can you leave that up, please, on the left side?                          Sorry, I

   9    should have told you that before you moved.                           Can you leave that

  10    up on the left side and can we zoom in on it on the left side?

  11    Just Zoom in on that one paragraph so it's just a little easier

  12    to read.

  13               And the right side let's go to 56 and 57.                        Can you --

  14    no, just 56 and 57.

  15               Thank you.

  16    BY MR. FREEDMAN:

  17    Q.   So, Dr. Wright, you tell the Australian police in Paragraph

  18    21 that the only way you would be able to finance the deal

  19    would be by paying in Bitcoin that you and Dave held.

  20         And in Paragraph 56, you say:                  "On August 30th, 2013 I paid

  21    MJF" -- that's Mark J. Ferrier Mining -- "the sum of 245,103

  22    Bitcoin."

  23         Do you see that?

  24    A.   I see that.

  25               MR. FREEDMAN:      Thank you, Ms. Vela.                    You can take that

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   1    down.

   2    BY MR. FREEDMAN:

   3    Q.   Dr. Wright, do you recall Bitmessages being talked about by

   4    Jonathan Warren?

   5    A.   Yes, I recall Jonathan Warren.

   6    Q.   And Bitmessages are a method of communication almost like

   7    an email service of some kind.

   8    A.   Not really, but it's a -- more like WhatsApp.

   9    Q.   Okay.   And, Dr. Wright, isn't it true that you have the

  10    private key to Dave's Bitmessage account in your possession?

  11    A.   No, it is not.

  12               MR. FREEDMAN:      Ms. Vela, can you please bring up P613

  13    only for the witness and counsel.

  14    BY MR. FREEDMAN:

  15    Q.   See at the top it says:            "Bitmessage settings," Dr. Wright?

  16    A.   I do.

  17               MR. FREEDMAN:      Ms. Vela, can you zoom out, please.

  18    BY MR. FREEDMAN:

  19    Q.   And at the bottom, do you see it says:                           "Label equals Dave

  20    Kleiman" with a key public address on top?

  21    A.   I do.

  22               MR. FREEDMAN:      Your Honor, Plaintiffs offer P613 into

  23    evidence.

  24               MS. MCGOVERN:      Objection, Your Honor.                     Foundation,

  25    hearsay.     Excuse me.   Authenticity, foundation, hearsay, Your

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   1    Honor.

   2               THE COURT:    Can you go back to the --

   3               MR. FREEDMAN:      That's it, Your Honor.

   4               THE COURT:    With regard to the foundation, is that it?

   5               MR. FREEDMAN:      Your Honor, it's a file produced by the

   6    Defendant in discovery.         It is code and shows control of

   7    Bitmessage keys.     I mean ...

   8               THE COURT:    And the relationship to the Defendant is?

   9               MR. FREEDMAN:      It was produced by the Defendant, in

  10    his possession.

  11               THE COURT:    No, but the predicate for the introduction

  12    through this witness.

  13               MR. FREEDMAN:      I mean, it shows that he had control

  14    over Kleiman's --

  15               THE COURT:    Why don't you ask the question that would

  16    allow the introduction.

  17               MR. FREEDMAN:      One second, Your Honor.                 May I have one

  18    minute, Your Honor?

  19               THE COURT:    Certainly.

  20         (Pause in proceedings.)

  21    BY MR. FREEDMAN:

  22    Q.   Let me ask you two more questions, Dr. Wright.

  23               MR. FREEDMAN:      Ms. Vela, can you bring me to Page 3.

  24    BY MR. FREEDMAN:

  25    Q.   And do you see three down, Dr. Wright, is your name?                     Craig

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   1    Wright?

   2    A.   Yes, but it's not my key.

   3    Q.   And it's got a Bitmessage public address on top of it.                       Do

   4    you see that?

   5    A.   I see that there's a public address that has been called my

   6    key but it's not my key.

   7    Q.   And, Dr. Wright, it says:              "Private encryption key" and

   8    lists a number there.       Do you see that?

   9    A.   Yes, I see that there's something that is not mine that

  10    someone has called mine.

  11               MR. FREEDMAN:      Ms. Vela, can you go back to Page 1.

  12    BY MR. FREEDMAN:

  13    Q.   And, Dr. Wright, under "Dave Kleiman," you also have where

  14    it says "private encryption key."                   Do you see that?

  15    A.   I recognize that someone has typed:                        "Dave Kleiman."

  16    Q.   So, Dr. Wright, do you recognize this as a document in your

  17    possession which lists Bitmessage public addresses and supposed

  18    private keys to those Bitmessage addresses?

  19    A.   I do not.    This has never been in my possession.

  20    Q.   Dr. Wright, do you see the Bates label on the bottom,

  21    Defense 00247440?

  22    A.   That includes machines other people had that never came to

  23    my possession.

  24    Q.   That your lawyers produced to us in discovery, correct?

  25    A.   My lawyers received 30 different people's devices.                       This

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   1    one's not from me.

   2               MR. FREEDMAN:      Your Honor, Plaintiffs offer P613 into

   3    evidence.

   4               MS. MCGOVERN:      Your Honor, the witness has not

   5    authenticated the document production.                        This does not -- is not

   6    tantamount to --

   7               THE COURT:    Objection is sustained.

   8    BY MR. FREEDMAN:

   9    Q.   Dr. Wright, isn't it true you also had Dave Kleiman's

  10    private key to sign PGP messages?

  11    A.   No.

  12               MR. FREEDMAN:      Ms. Vela, can you please bring up P823.

  13    BY MR. FREEDMAN:

  14    Q.   Dr. Wright, do you recognize this as a supposed email from

  15    Dave Kleiman to you?

  16    A.   Could be.

  17    Q.   Do you see -- and it mentions the amount of Bitcoin and the

  18    alleged amount of Bitcoin in a trust.                       Do you see that in the

  19    second-to-last paragraph?

  20    A.   I see that, yes.

  21               MR. FREEDMAN:      Your Honor, Plaintiffs offer P823 into

  22    evidence.

  23         (Plaintiffs' Exhibit 823 received into evidence.)

  24               THE COURT:    Any objection?

  25               MS. MCGOVERN:      Objection, Your Honor.                  Authenticity.

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   1    They are challenging this document on authenticity grounds.

   2    We --

   3                THE COURT:   Overruled.             Admitted into evidence.

   4    BY MR. FREEDMAN:

   5    Q.   Dr. Wright, this appears to be a message from Dave Kleiman

   6    to you, does it not?

   7    A.   It does.

   8    Q.   And, Dr. Wright, it is signed at the bottom with what

   9    appears to be a PGP key signature.                     Do you see that?

  10    A.   I can see that, yes.

  11    Q.   Dr. Wright, are you aware that Dr. Edman is going to

  12    testify this document is a forgery?

  13    A.   Yes.   He's going to basically say a lot of things, yes.

  14    Q.   Did you forge this document and use this PGP key of Dave

  15    Kleiman's to forge this document?

  16    A.   I did not.

  17                MR. FREEDMAN:     You can take it down, Ms. Vela.

  18    BY MR. FREEDMAN:

  19    Q.   Dr. Wright, the jury has seen a lot of documents in

  20    evidence about Satoshi Nakamoto, your and Dave Kleiman's

  21    partnership, joint mining and joint ownership of Bitcoin.

  22    Would you agree with that?

  23                MS. MCGOVERN:     Objection, Your Honor.

  24    Mischaracterizes the record.

  25                THE COURT:   Overruled.

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   1               THE WITNESS:     Not even close.                   I think it is the exact

   2    opposite.    And by opposite, I mean so far distant, it's not

   3    funny.

   4    BY MR. FREEDMAN:

   5    Q.   And, Dr. Wright, we haven't seen many emails between you

   6    and Dave Kleiman, correct?

   7    A.   Not many, no.

   8    Q.   And, in fact, Dr. Wright, you know Dr. Edman will testify

   9    that many of the supposed documents between you and Dave

  10    Kleiman -- many of the supposed emails, rather, between you and

  11    Dave Kleiman that do exist, are forgeries that you created,

  12    right?

  13               MS. MCGOVERN:      Objection, Your Honor.                  Foundation.

  14    Lack of predicate.

  15               THE COURT:    Overruled.             I'll allow it.

  16               THE WITNESS:     No.       What he will say is that they have

  17    been changed on about April 2014, which was the exact day where

  18    our corporation -- and this is public record -- rebuilt all of

  19    the email and servers because we had an administration event

  20    and got locked out of our office, one company.

  21               And the lease company got locked out, and the other 17

  22    companies had to negotiate to get back in and rebuild the

  23    servers that were seized.           So, from backups, all of the servers

  24    had to be rebuilt, the domain names changed from Hotwire to

  25    DeMorgan, and once you do that, metadata changes.                       So, what

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   1    he's going to say is I fraudulently changed all the documents

   2    because my staff came in and got my company working as quickly

   3    as they could so that I could keep paying my staff.                       That's my

   4    answer.

   5    BY MR. FREEDMAN:

   6    Q.   Dr. Wright, in fact, your own counsel, Ms. McGovern, in her

   7    opening statement mentioned the fact that there was an absence

   8    of Bitcoin-related emails between you and Dave Kleiman, did she

   9    not?

  10               MS. MCGOVERN:      Objection, Your Honor.                  Misstates the

  11    record.

  12               THE COURT:    Overruled.

  13               MS. MCGOVERN:      Excuse me.

  14               THE WITNESS:     Just as Ira who has access to all of

  15    Dave's email brought none.

  16    BY MR. FREEDMAN:

  17    Q.   Dr. Wright, Mr. Rivero, also your lawyer, spent a long time

  18    cross-examining Mr. Kleiman about the absence of these

  19    Bitcoin-related communications and documents, did he not?

  20    A.   Not really.    A little while, but not -- no.

  21    Q.   And, in fact, Dr. Wright, Mr. Rivero spent a long time

  22    sharing emails between you and Dave Kleiman that did not relate

  23    to Bitcoin at all, didn't he?

  24    A.   I wouldn't say a long time.

  25    Q.   Dr. Wright, isn't it true that the absence of

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   1    Bitcoin-related emails between you and Dave Kleiman was by

   2    design?

   3    A.   No.

   4    Q.   And when I say that, Dr. Wright, I mean that you made sure

   5    there were no such documents left; isn't that correct?

   6    A.   No.    I can't delete any of Dave Kleiman's emails.                  They

   7    were all available and all could have been accessed by Ira.

   8    Q.   Dr. Wright, you made sure to communicate with Dave Kleiman

   9    through means that would produce no record; isn't that correct?

  10    A.   At one point, I used -- what do you call it -- a few new

  11    tools.     I've also used SMS, although SMS does have record.                    The

  12    phone would have had those records.                     And I believe Dave's phone

  13    was there.     So technically if they're on his phone, there's a

  14    record.

  15    Q.   Dr. Wright, I'd like to take a look at what you said about

  16    these issues on your April 4th, 2019 deposition.

  17                MS. MCGOVERN:     Ms. Vela, can you please play for us

  18    clip number 31?

  19         (Video played.)

  20    BY MR. FREEDMAN:

  21    Q.   Dr. Wright are -- isn't it true that Dave's edits to the

  22    Satoshi client, the computer protocols and codes that people

  23    download and use to mine and use Bitcoin, he sent you those

  24    edits through IRC so there is no record of them?                      Isn't that

  25    correct?

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   1    A.   There are two things there.                One, IRC completes a complete

   2    chat log.    It would not be public.                   When you type on IRC, the

   3    client creates a chat log and saves it to your machine of

   4    everything you send, type, et cetera.

   5         So, although I don't have any records, Dave's machine would

   6    have every key stroke, every deletion, every file, every chat

   7    that he'd ever made on IRC.             I can't delete it because I don't

   8    have his drives.     If someone deleted it, that's a different

   9    thing.

  10         Additionally, Dave has never programmed in C in his life --

  11    in C++ in his life.      He has never developed any computer

  12    program that ever needs to be compiled.                         Dave is not a

  13    programmer.     He could do very simple scripting in Perl with

  14    help, some very simple other things like that.                        He could never

  15    compile a program.      He never trained in it, so no.

  16         And the other thing is when you send something over IRC,

  17    like trying to code over, it will completely munge up all of

  18    the communication and lines.

  19         C, C+ is a very complex language.                      It's -- there are a lot

  20    of links in there to binary files and codes, et cetera, in some

  21    of the older versions, and if you try and send these things

  22    that way, including to link libraries, it will destroy it

  23    because IRC is a pure text data hub so you can't actually do

  24    that.    Sorry.

  25    Q.   Dr. Wright, we're going to get to coding and why Dave

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   1    Kleiman's emails don't reflect this either in a moment.

   2               MR. FREEDMAN:      Before we do that, though, Ms. Vela,

   3    would you please play clip 33 from Dr. Wright's deposition

   4    about the edits to the Satoshi client?

   5         (Video played.)

   6    BY MR. FREEDMAN:

   7    Q.   Dr. Wright, isn't it true that the reason we have not seen

   8    emails between you and Dave discussing Bitcoin in 2007 is

   9    because you don't have all your emails, correct?

  10    A.   No.   That's not correct.            It is because the other person,

  11    Dave Kleiman, has not put any forth.

  12               MR. FREEDMAN:      Counsel, I'm going to the deposition of

  13    Craig Wright on March 16th, 2020, lines 1 -- Page 158, line 17,

  14    through 158, line 20.

  15               MS. MCGOVERN:      I'm sorry, could you please --

  16               MR. FREEDMAN:      158, 17 through 20.

  17               MS. MCGOVERN:      158.        One second, Your Honor.

  18         (Pause in proceedings.)

  19               MR. FREEDMAN:      158.

  20               MS. MCGOVERN:      So I have Page 158.                     This is the March

  21    16th deposition?

  22               MR. FREEDMAN:      Yes.

  23               MS. MCGOVERN:      Okay.         Line 17 begins with an answer.

  24               MR. FREEDMAN:      16 through 20 -- 17 through 20.                     Sorry.

  25               MS. MCGOVERN:      So it's an answer.                      It begins with an

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   1    answer?    I think that might be incorrect.

   2               MR. FREEDMAN:      One second.

   3         (Pause in proceedings.)

   4               MR. FREEDMAN:      I'm sorry.               Can we have one minute?

   5    We've got conflicting transcripts.

   6               THE COURT:    Certainly.

   7         (Pause in proceedings.)

   8               MS. MCGOVERN:      Objection, Your Honor.                  Improper

   9    impeachment.     There's a disconnect on our -- the PDFs are

  10    different, but I know what you're reading and we object.                         We

  11    don't believe this is proper impeachment given the question and

  12    the answer, Your Honor.

  13               THE COURT:    Do you want to introduce the testimony?

  14               MR. FREEDMAN:      Yes.

  15               THE COURT:    Overruled.             It's a party.         You're

  16    permitted.

  17               MR. FREEDMAN:      Ms. Vela, can you please play the clip

  18    about the emails from 2007.

  19           (Video played.)

  20    BY MR. FREEDMAN:

  21    Q.   Dr. Wright, isn't it true it's not only that you purposely

  22    used communications that did not preserve a record, but you

  23    purposefully tried to wipe out any records that would tie you

  24    to Satoshi Nakamoto?

  25               MS. MCGOVERN:      Objection, Your Honor.                  Lack of

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   1    predicate.

   2               THE COURT:    Overruled.             I'll allow it.

   3               THE WITNESS:     There are two questions there.                      Number

   4    one involves the emails where you're trying to impeach me on.

   5    I answered that I deleted some of my emails.                          That is not the

   6    same as deleting Dave's emails.

   7               With an email communication, both people have a copy.

   8    I said I can't put these into court.                      The recipient would have

   9    those emails.     If the recipient had those emails, they can go

  10    into court from the recipient.                So asking me a reason why

  11    they're not in court is very simple.                      The recipient who has

  12    those has not put them in.

  13               Now, the second question I answered before, IRC has a

  14    complete log.     That will be on Mr. Kleiman's -- Dave Kleiman's

  15    machines.    Dave Kleiman had a lot of machines, a lot of drives,

  16    a lot of information.       All of that would be there.                     Yet,

  17    mysteriously it's wiped.          Anything that supports my argument is

  18    wiped.    Not by me.    So I'm sorry.               There's a reason why that's

  19    not in court.     The drives that had it got mysteriously

  20    overwritten.

  21    BY MR. FREEDMAN:

  22    Q.   Dr. Wright, I'm going to ask you again.                          Did you

  23    purposefully try to wipe out any records that would tie you to

  24    Satoshi Nakamoto?

  25               MS. MCGOVERN:      Objection.               Asked and answered.

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   1               THE COURT:    Sustained.

   2               MR. FREEDMAN:      Okay.         Ms. Vela, can you please play

   3    clip 35 of Dr. Wright's deposition.

   4         (Video played.)

   5    BY MR. FREEDMAN:

   6    Q.   So you did delete them, Dr. Wright?

   7    A.   No.   I attempted to.        The Facebook is still there.                  I tried

   8    to get rid of it.      I couldn't.            Facebook is horrendously hard

   9    to get rid of.     I don't know if anyone's tried deleting

  10    Facebook properly.      Facebook does not like people going.                      My

  11    files are still there.        People still have access.

  12         Twitter is gone because Jack Dorsey personally kicked me

  13    off, so that's not me deleting it.

  14         I did try and delete emails but not corporate ones.                         So the

  15    company emails were never changed by me.                          So I tried.   There's

  16    a difference between tried and succeeded.

  17    Q.   Dr. Wright, you did your best to wipe out emails and any

  18    other record that would tie you to being Satoshi Nakamoto;

  19    isn't that true?

  20    A.   I tried.    I failed.

  21    Q.   Dr. Wright, you did that because you wanted to ensure there

  22    was no record of you being Satoshi left; isn't that correct?

  23    A.   Not no record, no.       That's not correct.

  24               MR. FREEDMAN:      Ms. Vela, can you please play clip 36

  25    from Dr. Wright's deposition.

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   1         (Video played.)

   2    BY MR. FREEDMAN:

   3    Q.   Not only did you try to make sure there was no record of

   4    you being Satoshi left, but you asked Dave Kleiman to help you

   5    with that, didn't you?

   6    A.   Two different events.          In 2015, I tried deleting my files.

   7    In 2011, I asked Dave to hold access so you're confounding two

   8    events again.     2011.    2015.        Not the same thing.           Sorry.

   9    Q.   Dr. Wright, isn't it true that the reason Dave Kleiman was

  10    willing to help you wipe out anything that had to do with

  11    Satoshi was because he was your friend and he was willing to

  12    help you get rid of all the past?

  13    A.   No.   He was not getting rid of all the past.                    He was my

  14    friend.    He was my best friend.               But -- and, yes, he wanted to

  15    help me as much as he can.

  16               MR. FREEDMAN:      Ms. Vela, can you please play clip

  17    number 99 from Dr. Wright's deposition?

  18         (Video played.)

  19    BY MR. FREEDMAN:

  20    Q.   Dr. Wright, the reason Dave Kleiman doesn't have emails is

  21    because you asked him to get rid of all of the past and he was

  22    your best friend and he did it; isn't that correct?

  23    A.   Not even close.      The reason Dave Kleiman doesn't have

  24    emails is because someone wiped them.                       That communication with

  25    all the past is nothing to do with Dave Kleiman.                      Dave didn't

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   1    wipe a thing.     And you're, again, confounding my words.

   2               MR. FREEDMAN:      Ms. Vela, can we please bring up

   3    D359 -- in one minute, actually.                  Hold that for me.

   4    BY MR. FREEDMAN:

   5    Q.    Dr. Wright, you coauthored a paper with Dave Kleiman about

   6    wiping hard drives, did you not?

   7    A.    I did.

   8               MR. FREEDMAN:      Ms. Vela, can you please bring up D359.

   9    Just the witness and counsel.

  10    BY MR. FREEDMAN:

  11    Q.    This is an email from yourself to Dave Kleiman --

  12               MR. FREEDMAN:      Is this in evidence?

  13               THE WITNESS:     Yes.

  14               MR. FREEDMAN:      Sorry, Dr. Wright.                      Hold on one second.

  15    I just want to make sure.

  16               THE COURT:    Hold on.           Let me just verify for you.

  17               MR. FREEDMAN:      It is?

  18               MS. MCGOVERN:      No.       No.       We don't have it admitted,

  19    no.

  20               THE COURT:    359 is not in evidence.

  21    BY MR. FREEDMAN:

  22    Q.    Dr. Wright, do you recognize this as an email from yourself

  23    to Dave Kleiman?

  24    A.    I do.

  25    Q.    And it attaches the "Overwriting Hard Drive Data Document"?

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   1               MR. FREEDMAN:      Ms. Vela, can you go to the next page

   2    for Dr. Wright.

   3               THE WITNESS:     It appears to, yes.

   4               MR. FREEDMAN:      Your Honor, Plaintiffs offer D539 into

   5    evidence.

   6               MR. RIVERO:    Judge, if I may, we have it as

   7    admitted --

   8               THE COURT:    I'm sorry, could we have the one attorney?

   9    Ms. McGovern?

  10               MR. RIVERO:    Your Honor, I just wanted to clarify the

  11    record and I know it's Ms. -- we have it recorded as admitted

  12    and I wanted to make sure.            We believe it was admitted with Ira

  13    Kleiman.    So I just wanted the record to be correct.                   But

  14    that's our records.      We may be incorrect, Judge.                  Maybe we can

  15    clarify this later.

  16               THE COURT:    359.       The record will bear it out, but it

  17    is now in evidence.      359.

  18         (Defendant's Exhibit 359 previously received into

  19    evidence.)

  20               MR. FREEDMAN:      Can we publish that.

  21               Thank you.

  22               Go to the next page, please.

  23    BY MR. FREEDMAN:

  24    Q.   "Overwriting Hard Drive Data:                  The Great Wiping

  25    Controversy."     Do you see that, Dr. Wright?

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   1    A.   I do.

   2    Q.   You coauthored this paper about how to wipe hard drives

   3    with Dave Kleiman.

   4    A.   It's not actually about how to wipe hard drives.                        It states

   5    that the fallacy that people were saying, like Professor

   6    Gutmann, that you need to wipe 35 times to delete data, were

   7    false.

   8    Q.   It actually takes less than that to wipe a hard drive,

   9    right?

  10    A.   It takes a single overwrite of the entire hard drive to

  11    wipe the entire hard dive.

  12    Q.   So you and Dave Kleiman literally wrote the paper on what

  13    it takes to completely destroy digital data?

  14    A.   That's not how I'd put it, but I wrote the seminal paper on

  15    overwriting of hard drives, yes.

  16               MR. FREEDMAN:      Ms. Vela, can you take that down and

  17    please put up P331.      Sorry, P333.               P333.         A lot of 3s.   Just

  18    for counsel and the witness.

  19    BY MR. FREEDMAN:

  20    Q.   Dr. Wright, do you recognize this as an email chain between

  21    yourself and Robert MacGregor?

  22               MR. FREEDMAN:      Can you scroll down, please.

  23               THE WITNESS:     Yes, I do.

  24    BY MR. FREEDMAN:

  25    Q.   And do you see in --

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   1               MR. FREEDMAN:      Ms. Vela, can you zoom in to the March

   2    31st email from Dr. Wright at the top.

   3               No.   No.   Right there.             You're in it.         That one.

   4               No.   No.   Just the 31st email.

   5    BY MR. FREEDMAN:

   6    Q.   Do you see you talk about original emails and what you did

   7    with them?

   8    A.   There's nothing about what I did with them, sorry.

   9               MR. FREEDMAN:      Your Honor, Plaintiffs offer P333 into

  10    evidence.

  11               MS. MCGOVERN:      No objection.

  12               THE COURT:    Admitted into evidence.

  13         (Plaintiffs' Exhibit 333 received into evidence.)

  14               MR. FREEDMAN:      Ms. Vela, can you zoom back in to that

  15    email from Dr. Wright.

  16    BY MR. FREEDMAN:

  17    Q.   Dr. Wright, that is an email from yourself on March 31st,

  18    2016 to Robert MacGregor and in the second paragraph you say:

  19    "As for original emails."           It's entitled "London," Dr. Wright.

  20         Do you see that the subject is London?

  21    A.   I do.

  22    Q.   And it says in 2016 -- this is when you were coming out to

  23    the world as Satoshi Nakamoto, right?

  24    A.   No.

  25    Q.   And you're responding to a question and you say:                      "As for

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   1    original emails, there is little I maintained."

   2         Do you see that?

   3    A.   I do.

   4    Q.   "As I have stated, it was never even a side plan to

   5    return."

   6         You meant as Satoshi Nakamoto, did you not?

   7    A.   That's correct.

   8    Q.   "I know we discussed it in general, but it is over five

   9    years."     Do you see that, Dr. Wright?

  10    A.   Yes.

  11    Q.   You maintained little of the original communications,

  12    didn't you?

  13    A.   I maintained little of anything.                     So ...

  14    Q.   And, Dr. Wright, beyond not preserving and deleting, isn't

  15    it true --

  16                MS. MCGOVERN:     Objection.               There's nothing in the

  17    record that establishes the non-preservation, Your Honor.                             I

  18    object to that statement.

  19                THE COURT:   To the question as worded, sustained.

  20                Rephrase, please.

  21    BY MR. FREEDMAN:

  22    Q.   Dr. Wright, we saw a -- your sworn deposition testimony

  23    that Dave Kleiman helped you wipe the past.                           Do you recall

  24    that?

  25    A.   That's not what my testimony was.

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   1    Q.   And, Dr. Wright --

   2    A.   You're misstating it --

   3    Q.   Dr. Wright --

   4    A.   -- again.

   5    Q.   -- in addition to that, isn't it true that you did all you

   6    could to hide and suppress information concerning the

   7    development of Bitcoin itself?

   8    A.   No.   I actually approached the government multiple times.

   9    In March of 2009, I approached them.                      I filed a research and

  10    development grant for two of my companies in Australia in June

  11    2009, on the 30th.

  12         In August, a company that I set up with venture capital

  13    funding -- I don't know if you know what venture capital is,

  14    but it's -- we had round A funding where a venture capital

  15    party gave us money to build equipment we were doing and

  16    servers and software to do with systems I wanted to do with

  17    Bitcoin.

  18         That was from a company called Greyfog.                          The venture

  19    capitalists, of course, ordered all the software.                           The

  20    Australian Tax Office then had that filed.                            In 2010, we filed

  21    with the tax office.

  22         We did AusIndustry.        We did reports with KPMG.                    KPMG were

  23    our auditors.     We had a full audit team at partner level.

  24    Deloitte were partly auditing.                And Ernst & Young were our

  25    internal auditors, but we had two Big Four firms that audited

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   1    all the research and development.

   2         The auditors at KPMG knew who we were.                           The auditors at

   3    Ernst & Young knew who we were.                 The three branches of the tax

   4    office knew who we were.          AusIndustry knew who we were.

   5         I was filing for banking charter.                      You see, I wanted to

   6    make, I guess you would say, a global commercial banking

   7    system.    So -- where I could actually do things like having

   8    remittance from people in poor areas.                       Like imagine the

   9    corridor between South America and the cost right now.                           It's

  10    huge.    So imagine we could make it for a tenth of a cent for

  11    people to send back money across from South America to here.

  12    It will change everything.

  13         So I need a banking charter for that so I had to go to the

  14    AUSTRAC people in Australia.              They knew.              You can't file a

  15    banking charter and be secret.                So, I mean, how is that secret?

  16    If you can tell me how any of that is secret, then I'll admit

  17    it's secret.

  18               MR. FREEDMAN:      Ms. Vela, please bring up P439.                     Let's

  19    go to Page 1 so we can show the jury that we are looking at the

  20    book Dr. Wright published, Craig Wright, "Satoshi's Vision:

  21    The Art of Bitcoin," and please bring us now to Page 30.

  22               Ms. Vela, can you go to the third paragraph from the

  23    bottom and can you highlight the sentence that starts:                           "I did

  24    all I could to hide and suppress information concerning the

  25    development of Bitcoin."

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   1    BY MR. FREEDMAN:

   2    Q.   Do you see that, Dr. Wright?

   3    A.   I see that.

   4               MR. FREEDMAN:      Ms. Vela, can you zoom out, please?

   5               Go to the next paragraph -- sorry, Ms. Vela.                        Hold on

   6    one second.

   7    BY MR. FREEDMAN:

   8    Q.   Dr. Wright, isn't it true that you also did everything you

   9    could to muddy the waters around the creation of Bitcoin?

  10    A.   No.   But I tried to make sure that no one found me.

  11               MR. FREEDMAN:      Ms. Vela, can you go to the next page,

  12    please.    This time, third paragraph from the -- thank you.

  13    BY MR. FREEDMAN:

  14    Q.   "I did all I could to muddy the waters.                          I did all I could

  15    to stay private."

  16         Do you see that, Dr. Wright?

  17    A.   I see, again, you're confounding the difference between

  18    private information shared with governments under restricted

  19    covenants and the difference to being in the media.                          I did not

  20    want to be in the media.          I did not want to be on TV.                  There's

  21    a big difference.

  22               MR. FREEDMAN:      Thank you, Ms. Vela.                    Can you take that

  23    down, please.

  24    BY MR. FREEDMAN:

  25    Q.   Dr. Wright, I'd like to leave that topic for now on the

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   1    emails between you and Dave Kleiman, and move into the amount

   2    of Bitcoin that the Plaintiffs allege you and Dave Kleiman

   3    mined, okay?

   4    A.   That's okay by me.

   5    Q.   First of all, Dr. Wright, do you recall Mr. O'Hagan's

   6    testimony that you told him that the Satoshi horde is around

   7    one million Bitcoin?

   8    A.   I know what he said, yes.

   9    Q.   And, Dr. Wright, we've seen that you told the ATO that you

  10    and Dave mined Bitcoin into trusts, correct?

  11    A.   No, that again is not correct.

  12    Q.   Dr. Wright, those trusts contained approximately

  13    1.1 million Bitcoin in them, did they not?

  14    A.   One trust had -- well, the trust had companies and the

  15    companies had Bitcoin.        So I'm going to -- I'm sorry if I'm

  16    being pedantic, but the trust didn't own Bitcoin.                        The company

  17    did.

  18               MR. FREEDMAN:      Ms. Vela, can you please bring up P172.

  19               I believe this is in evidence.                       Is this in evidence?

  20               Ms. Vela, can you publish to the jury, please?

  21    BY MR. FREEDMAN:

  22    Q.   Dr. Wright, we're looking at the Australian Tax Office

  23    transcript from your August 11th, 2014 meeting.

  24               MR. FREEDMAN:      Ms. Vela, can you take us to Page 10,

  25    please.

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   1    BY MR. FREEDMAN:

   2    Q.    On line 17, Dr. Wright --

   3               MR. FREEDMAN:      Can we zoom in please, Ms. Vela.

   4    BY MR. FREEDMAN:

   5    Q.    You say:   "At the start of this, we had 1.1 million

   6    Bitcoin."

   7               MR. FREEDMAN:      Ms. Vela, can you highlight that, line

   8    17?

   9               Thank you.

  10    BY MR. FREEDMAN:

  11    Q.    Do you see that, Dr. Wright?                "At the start of this, we had

  12    1.1 million Bitcoin"?

  13    A.    I can see the line.

  14    Q.    Dr. Wright, just above that on line maybe 13 you say:               "By

  15    the time we started looking at actually capitalizing that and

  16    around Dave's death."

  17          Do you see that?

  18    A.    I can see that.

  19               MR. FREEDMAN:      Ms. Vela, can we scroll out a little

  20    bit and let's go to line 27.              Let's just do the whole from the

  21    first highlight all the way down to the bottom so we can read

  22    it.

  23               No.   No.   From the first highlight.

  24               Thank you.

  25

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   1    BY MR. FREEDMAN:

   2    Q.   Dr. Wright, you say:         "At the start of this we had

   3    1.1 million Bitcoin."       You're talking about Dave right above

   4    that.    Then there's a little bit of a back-and-forth between

   5    Mr. O'Mahoney of the ATO, yourself and your attorney, Andrew

   6    Sommer, and you -- at line 23, Mr. Sommer says:                       "But did Coin

   7    Ex have 1.1 million Bitcoin?"

   8         And Mr. O'Mahoney says:            "No."          Mr. Sommer says:   "Right.

   9    Greg -- Greg, you need to be precise with your answers about --

  10    is Greg asking about Coin X.?

  11         And then you respond:          "No.        The trust had available

  12    Bitcoin."

  13         Do you see that?

  14    A.   I can see the text, yes.

  15    Q.   So, Dr. Wright, when you say:                  "At the start of this, we

  16    had 1.1 million Bitcoin," you're talking about the trust you

  17    had with Dave Kleiman; isn't that correct?

  18    A.   No.   Actually, what you're forgetting is that we had a

  19    forensic exercise and accountants come in and they discredited

  20    the ATO documents.      It turned out, and we demonstrated this

  21    with forensic accountants, that the tax office had actually

  22    fraudulently changed documents.

  23         There was actually an investigation, and the tax office was

  24    shown to have altered emails, altered files, and put in false

  25    testimony.    They wanted to bankrupt me, first of all.                    They

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   1    wanted to kill my companies.              They wanted to destroy Bitcoin.

   2    So this document is a false document.

   3    Q.   That's quite a claim, Dr. Wright.

   4    A.   No, it's actually not.           It's actually public knowledge.

   5    Q.   If you would let me finish my question.

   6         That's quite a claim, Dr. Wright.                      Is it your testimony

   7    today that the Australian Taxation Office forged documents

   8    because they were out to get you?

   9    A.   No.   My testimony is what was found was there was a

  10    security vulnerability reported by the tax office.                            The tax

  11    office noted that one of their servers was breached.                            The tax

  12    office said:     "It couldn't have been us."                          And there was a

  13    breach in the tax office servers, so someone must have done it.

  14         My belief, whether it was someone in the tax office, was

  15    very simply justified by a claim by the tax office going:                               "Oh,

  16    well, it's this third party probably broke in, not us."

  17         So my testimony is very simple.                    I've got the report too.

  18    You would have received it.

  19    Q.   Dr. Wright, I am going -- I am going to ask you to prove

  20    that this, in fact, happened.               Because at closing, I will ask

  21    the jury if they saw that proof.                  You will not prove this

  22    happened, Dr. Wright; isn't that true?

  23               MS. MCGOVERN:      Objection, Your Honor.

  24               THE COURT:    The objection is sustained as worded.

  25               Rephrase.

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   1               THE WITNESS:      I am going to --

   2               THE COURT:    There's no question pending.

   3               MS. MCGOVERN:       Objection.               There's no question

   4    pending.

   5               MR. FREEDMAN:       There's no question pending,

   6    Dr. Wright.

   7    BY MR. FREEDMAN:

   8    Q.   Dr. Wright, later in this interview with the Australian Tax

   9    Office, you said the same thing, that the trusts had

  10    1.1 million Bitcoin in them, did you not?

  11    A.   Did not.

  12               MR. FREEDMAN:       Ms. Vela, can you please bring us to

  13    Page 18 -- Page 19 of the PDF.                 And can you please -- thank

  14    you.

  15    BY MR. FREEDMAN:

  16    Q.   Mr. O'Mahoney of the Australian Taxation Office:

  17    "Dr. Wright, How many Bitcoin were there?

  18         "Wright:    That I had a loan of or --

  19         "Mr. O'Mahoney:     No.       That were part of this pot.

  20         "Wright:    The entire pot?

  21         "O'Mahoney:    Yes.

  22         "Wright:    1.1 million."

  23         Do you see that Dr. Wright?

  24    A.   I can see this line, yes.

  25               MR. FREEDMAN:       Ms. Vela, can you bring us to the --

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   1    can you zoom out for a moment and can you bring us to the

   2    previous page.

   3               And can you zoom in right there.

   4    BY MR. FREEDMAN:

   5    Q.   And here, Dr. Wright, on line 31 Mr. O'Mahoney asks you:

   6    Where did that pot of Bitcoin sit?

   7         Do you see that?

   8    A.   I can see the line.

   9    Q.   And you say:    "In the Seychelles."

  10         Do you see that?

  11    A.   I can see the line.

  12    Q.   So, Dr. Wright --

  13               MR. FREEDMAN:      Ms. Vela, can you put that next to the

  14    line -- the page we were just looking at, the next.                     Page?   And

  15    the line 15.     And can you highlight:                   "The entire pot."

  16               Yeah.   Thank you.

  17    BY MR. FREEDMAN:

  18    Q.   So, Dr. Wright, here you say the pot is 1.1 million Bitcoin

  19    and on the left you said that pot sat in the Seychelles, right.

  20    A.   No.

  21    Q.   Okay.   And, Dr. Wright --

  22               MR. FREEDMAN:      Ms. Vela, you can take that down.

  23    BY MR. FREEDMAN:

  24    Q.   So the Seychelles trust, Dr. Wright, had 1.1 million

  25    Bitcoin in it; isn't that correct?

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   1    A.   No.

   2    Q.   Dr. Wright, isn't that the same Seychelles trust that you

   3    said contained assets from Dave Kleiman?

   4    A.   No.

   5    Q.   Well, let's look at what you told the Australian government

   6    the following week.

   7               MR. FREEDMAN:      Ms. Vela, please bring up P173.

   8    BY MR. FREEDMAN:

   9    Q.   This is the next week, Dr. Wright.

  10               MR. FREEDMAN:      Can we publish this?

  11               Thank you.

  12    BY MR. FREEDMAN:

  13    Q.   This is Monday, 18th of August, 2014.                            Again, an Australian

  14    Taxation Office interview.

  15               MR. FREEDMAN:      And, Ms. Vela, can you please bring us

  16    to Page 6 and 7.     Let's put them side by side, please.

  17               And in Page 6, Ms. Vela, can we please highlight where

  18    it says:    "Was it your decision to set it up in the

  19    jurisdiction of the Seychelles?"

  20               Yes, Dr. Wright answers.

  21               And then, Ms. Vela, on the next page as we're

  22    continuing down the interview can we -- yeah.                            Thank you.

  23    Found it faster than me.

  24    BY MR. FREEDMAN:

  25    Q.   So, on the left-hand side, Dr. Wright, you tell the

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   1    Australian Tax Office in response to:                       "Was it your decision to

   2    set up in the jurisdiction of the Seychelles" -- you say:

   3    "Yes."

   4         And then, Dr. Wright, on the right-hand side Mr. O'Mahoney

   5    says:    "So how did it come to be?                 Are all the assets of the

   6    trust -- were they originally sourced from you?"                         And you say:

   7    "And Dave."

   8         And he asks you:     "And Dave?"               And you say:        "Yes."

   9         Do you see that exchange, Dr. Wright?

  10    A.   I see the text that you're presenting, yes.

  11    Q.   So you told the Australian government that the Seychelles

  12    trust had 1.1 million Bitcoin and that the trust assets came

  13    from Dave Kleiman, didn't you?

  14    A.   No.

  15               MR. FREEDMAN:      Ms. Vela, you can take that down.

  16    BY MR. FREEDMAN:

  17    Q.   Dr. Wright, you're aware that in this case the Plaintiffs

  18    are seeking half of the Satoshi 1.1 million, correct?

  19    A.   Well, it seems to be all over the place.                         But at times,

  20    yes.

  21    Q.   It's about 550,000 Bitcoin, correct?

  22    A.   No.

  23    Q.   Dr. Wright, haven't you, yourself, admitted -- putting

  24    aside our claim -- haven't you, yourself, admitted that at a

  25    minimum, 300,000 Bitcoin in the trust belonged to Dave's

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   1    estate?

   2               MS. MCGOVERN:      Objection.               Objection.      Foundation.

   3               THE COURT:    Overruled.

   4               THE WITNESS:     No.

   5               MR. FREEDMAN:      Ms. Vela, can you please bring up P129.

   6               Can you zoom in there down to -- no, no, down to the

   7    Ira.

   8               Thank you.

   9               THE COURT:    All right.             P29 -- 129 is not in evidence.

  10               MR. FREEDMAN:      Not yet, nope.

  11    BY MR. FREEDMAN:

  12    Q.   Dr. Wright, do you recognize this as an email between

  13    yourself and Mr. Kleiman?

  14    A.   I do.

  15    Q.   And in this email, Mr. Kleiman is asking you about Bitcoin

  16    and trusts.     Do you see that?

  17    A.   I do.

  18               MR. FREEDMAN:      Your Honor, Plaintiffs offer P129 into

  19    evidence.

  20               MS. MCGOVERN:      No objection.

  21               THE COURT:    Admitted into evidence.

  22         (Plaintiff's Exhibit 129 received into evidence.)

  23               MR. FREEDMAN:      Can we publish, please?

  24    BY MR. FREEDMAN:

  25    Q.   Dr. Wright, this is March 2nd, 2014.                         Do you see that?

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   1    A.   Yes.

   2    Q.   It's less than a month after you first contact the Kleimans

   3    to let them know about Dave Kleiman's part in history, correct?

   4    A.   Yes.

   5    Q.   And, Dr. Wright, Ira Kleiman writes you an email.                        He says:

   6    "Just to clarify on thoughts from previous email.                         One of the

   7    email exchanges between Dave and you, he mentioned that you had

   8    1 million Bitcoins in the trust."

   9         You see that?

  10    A.   I see it.

  11    Q.   "And since you said he has 300,000 as his part, I was

  12    figuring the other 700,000 is yours; is that correct?"

  13         Dr. Wright, let's look at your response.                         You respond that

  14    same day -- or it's Australia, so it's the day before, but it's

  15    the same day and you say:           "Around that minus what was needed

  16    for the company's use."

  17         Do you see that, Dr. Wright?

  18    A.   That's the day after.

  19    Q.   Dr. Wright, do you see the email where you respond to Ira's

  20    questions that you have 700,000, Dave has 300,000 and you

  21    conceded -- you say:      "Around that"?

  22    A.   I did not concede.

  23    Q.   Dr. Wright, this email also confirms that the trust's

  24    1.1 million Bitcoin was sourced from you and Dave, does it not?

  25    A.   No, it does not.

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   1    Q.   Dr. Wright, isn't it true that in this litigation you were

   2    ordered to produce a list of the Bitcoin you claimed you mined

   3    before December 31st, 2013?

   4    A.   If I had them and I could get them, I would get them.

   5    Q.   Were you ordered to produce a list of the Bitcoin you mined

   6    before December 31st, 2013?

   7    A.   Technically, a list of what I mined, not my company, is a

   8    list of the first 50 Bitcoin, so that's all that is.

   9    Q.   Did you not understand my question?

  10    A.   I did.

  11    Q.   I asked you, Dr. Wright, did you -- were you ordered to

  12    produce a list of the Bitcoin you mined before December 31st,

  13    2013?

  14    A.   I do not remember the exact words of the order.

  15                MR. FREEDMAN:     Ms. Vela, to the witness and counsel,

  16    can you please bring up Docket Entry 212.

  17    BY MR. FREEDMAN:

  18    Q.   Dr. Wright, please review the Court's order on the screen

  19    and let me know if this refreshes your recollection on what you

  20    were ordered to do.

  21    A.   I do.

  22    Q.   Can you now testify that you were ordered in this

  23    litigation to produce a list of your Bitcoin that you mined

  24    before December 31st, 2013?

  25    A.   Yes.

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   1    Q.   You were, weren't you?

   2    A.   Yes.

   3    Q.   And you eventually produced such a list that you claimed

   4    were your Bitcoin; isn't that correct, Dr. Wright?

   5    A.   That is not correct.

   6                MR. FREEDMAN:     Ms. Vela, can you please put up P554

   7    for just the witness and counsel.

   8    BY MR. FREEDMAN:

   9    Q.   Do you recognize this exhibit, Dr. Wright?

  10    A.   It looks like a file that I forwarded.

  11    Q.   Dr. Wright, is this the list you provided in response to

  12    the Court's order?

  13    A.   I responded with everything I received.                          The original list

  14    that I gave of only the first 15 addresses is the -- basically

  15    what I mined as me, so I've done both.

  16         Blocks 1 to 15 are the addresses that Craig Wright mined as

  17    Craig Wright.     In full, in completion, the end.                       On top of

  18    that, I've sent other files, as well.

  19    Q.   Dr. Wright, is this the list you provided to satisfy the

  20    Court's order that you provide a list of your Bitcoin --

  21                MS. MCGOVERN:     Objection to the characterization of

  22    the production, Your Honor.

  23                THE COURT:   Overruled.

  24    BY MR. FREEDMAN:

  25    Q.   Is this the list that you provided to satisfy the Court's

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   1    order that you identify the Bitcoin you mined before December

   2    31st, 2013?

   3    A.   No.   The list of the first 15 addresses is the list of

   4    Bitcoin I mined as Craig Wright, the Defendant.                          This is

   5    another list that I was given.                I'm not a trustee.

   6    Q.   So you -- sorry.     Please finish.

   7    A.   So I've given every file I've received.                          I've given every

   8    computer for staff members at the time.                         I've given computers

   9    for my accountants at the time.                 I have not checked them.             I

  10    have not validated them.          I have not verified them.                  I get

  11    something, I hand it to my lawyers to give into the case.                            That

  12    is my duty.     I take my duty seriously.

  13               MR. FREEDMAN:      Ms. Vela, take this down please and for

  14    just the witness and counsel, can you please bring up Docket

  15    Entry -- oh, P446.

  16    BY MR. FREEDMAN:

  17    Q.   Dr. Wright, do you recognize the notice of compliance

  18    that's on the screen?

  19    A.   I do.

  20               MR. FREEDMAN:      Your Honor, Plaintiffs offer P446 into

  21    evidence.

  22               MS. MCGOVERN:      Objection, Your Honor.

  23               THE COURT:    And the basis?

  24               MS. MCGOVERN:      Hearsay, Your Honor.                    It's a filing by

  25    counsel and it's a pleading in the Court and it's hearsay.

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   1                THE COURT:   Overruled.              It will be admitted into

   2    evidence.

   3         (Plaintiffs' Exhibit 446 received into evidence.)

   4    BY MR. FREEDMAN:

   5    Q.   Dr. Wright, this is a filing --

   6                MR. FREEDMAN:      Can you please publish to the jury.

   7                THE WITNESS:     Sorry.          What was that?

   8    BY MR. FREEDMAN:

   9    Q.   We're going to publish the notice of compliance to the

  10    jury, Dr. Wright.

  11    A.   Uh-huh.

  12    Q.   Dr. Wright, this document has been filed in this

  13    litigation.     Do you see the Bates stamp -- the ECF stamp across

  14    the top meaning it was received by the Court's e-filing system?

  15    A.   I do.

  16    Q.   And it's Ira Kleiman as personal representative of the

  17    estate of Dave Kleiman?

  18    A.   Yes.

  19    Q.   And W&K Info Defense Research, LLC?

  20    A.   I do.

  21    Q.   Versus Craig Wright?

  22    A.   I do.

  23    Q.   "Craig Wright's notice of compliance with the Court's

  24    January 10th, 2020 order."

  25         Do you see that?

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   1    A.   I do.

   2    Q.   "Dr. Wright files this notice of compliance with this

   3    Court's order dated January 10th, 2020."

   4         Do you see that, Dr. Wright?

   5    A.   I do.

   6    Q.   "Specifically, Dr. Wright notifies the Court that a third

   7    party has provided the necessary information and key slices to

   8    unlock the encrypted file.            And Dr. Wright has produced a list

   9    of his Bitcoin holdings as ordered by the Magistrate Judge to

  10    Plaintiffs today."

  11         Do you see that, Dr. Wright?

  12    A.   I do.

  13               MR. FREEDMAN:      Ms. Vela, can you --

  14    BY MR. FREEDMAN:

  15    Q.   And, Dr. Wright, do you see where it says on the bottom:

  16    "Rivero Mestre"?

  17    A.   I do.

  18    Q.   Those are your lawyers at this table?

  19    A.   They are.

  20               MR. FREEDMAN:      Can you go to the next page, please.

  21    BY MR. FREEDMAN:

  22    Q.   Signed by Mr. Rivero himself and Ms. McGovern, right?

  23               MS. MCGOVERN:      Objection, Your Honor.                  This is

  24    unnecessary with respect to --

  25               THE COURT:    Sustained.

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   1               MR. FREEDMAN:      Ms. Vela, can you take it down.

   2    Ms. Vela, can you put back up P554.

   3    BY MR. FREEDMAN:

   4    Q.   Dr. Wright, does this help refresh your recollection that,

   5    in fact, this is the list of Bitcoin you produced in response

   6    to the Court's order?

   7    A.   That contains the list of the first 15 addresses which are

   8    the list of Bitcoin I mined.              Lines number 2 to 16 are it.

   9    Q.   What's the rest of the list for, Dr. Wright?

  10    A.   Company assets.

  11    Q.   Whose company, Dr. Wright?

  12    A.   It's owned by my wife.

  13               MR. FREEDMAN:      Your Honor, Plaintiffs would offer P554

  14    into evidence.

  15               MS. MCGOVERN:      No objection, Your Honor.

  16               THE COURT:    Admitted into evidence.

  17         (Plaintiffs' Exhibit 554 received into evidence.)

  18    BY MR. FREEDMAN:

  19    Q.   Dr. Wright, we have your list of 1,600 -- sorry -- 16,404

  20    public addresses.

  21               MR. FREEDMAN:      Ms. Vela, can you bring us to Page 208.

  22               Can you zoom in on the left-hand side so we can see

  23    the number of rows with the public addresses on the left-hand

  24    side, please.

  25

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   1    BY MR. FREEDMAN:

   2    Q.    And you see 16,405 is filled because the first line says it

   3    is the key of what everything is, the public address, and the

   4    row number?

   5    A.    That's not a public address.

   6    Q.    Dr. Wright, do you see it says:                   "16,405"?

   7    A.    I do.

   8    Q.    So it is --

   9               MR. FREEDMAN:      Ms. Vela, can you zoom back out and go

  10    to page 1 again.     And can you zoom in on Column D which are the

  11    public addresses.

  12    BY MR. FREEDMAN:

  13    Q.    Are those public addresses, Dr. Wright?

  14    A.    I would have to verify, but they appear to be.                  They're in

  15    standard Bitcoin Number 1 format.

  16    Q.    Dr. Wright, each and every one of these Bitcoin addresses

  17    at the time you produced this list had 50 Bitcoin in it,

  18    correct?

  19    A.    I couldn't tell you.

  20    Q.    Dr. Wright, what is one thousand -- sorry -- 16,404 times

  21    50?

  22               MS. MCGOVERN:      Objection, Your Honor.

  23    BY MR. FREEDMAN:

  24    Q.    It's not a test, Dr. Wright.                It's --

  25               THE COURT:    Sustained.

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   1    BY MR. FREEDMAN:

   2    Q.   It's 820,200, correct?

   3    A.   Yes.

   4                MS. MCGOVERN:     Same objection, Your Honor.

   5                THE COURT:   Sustained.

   6    BY MR. FREEDMAN:

   7    Q.   Dr. Wright, you claim you mined the Bitcoin on this list by

   8    yourself without Dave; isn't that correct?

   9    A.   No, I did not.

  10    Q.   You did not claim it or you did not mine it by yourself?

  11    A.   I've not claimed that I mined Bitcoin myself.                           I started a

  12    company in Australia called Information Defense.                            That was

  13    formed in January of 2009.

  14         I hired Hector as my IT person.                    Hector Malbburang.         He's

  15    from the Philippines.       I had John Chesher as my accountant.                        We

  16    were running computers in three different data centers.                            I

  17    can't remember.     Chris -- I'm sorry.                   I forgot his last name.

  18    John Cable was another person.                And I ran a number of machines

  19    across those locations.

  20         So, the companies owned the machines.                            The companies owned

  21    the premise.     The companies owned the Internet connections.

  22    The companies paid the electricity.                     Therefore, as I was hiring

  23    an individual to run those computers for me, I didn't mine

  24    them.    So no, I did not mine.             I mined Blocks 1, 2, 3, 4,

  25    and -- I'll just do an ellipsis, dot, dot, dot -- 15 and 16.

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   1               MR. FREEDMAN:      Ms. Vela, can you please play clip

   2    number 97 from Dr. Wright's deposition of March 18th.

   3         (Video played.)

   4    BY MR. FREEDMAN:

   5    Q.   "By myself," Dr. Wright, correct?

   6    A.   Yes, but does that mean that I'm the only person in my

   7    company?    No.   I had -- I owned 73 percent of the company.                         73

   8    percent means I'm not the sole shareholder.                           There were other

   9    investors.

  10         I admit that I had control.                I admit that one of those

  11    shareholders was my mother.             My mother had shares in my company

  12    because -- I don't know about people here, but quite often

  13    parents like to invest in their kids.                       I'm very thankful for my

  14    mother doing that.

  15         So, technically, I ran it.               I controlled it.            I told my

  16    staff what to do.      I had staff.             They did it.           And I say I did

  17    my company's work.      I'm not going to take full control over

  18    everything my staff did.          They deserve credit, too.

  19    Q.   Dr. Wright, isn't it true that through a number of

  20    convoluted means, you controlled all the bearer shares in

  21    Wright International Investments?

  22    A.   There was no convoluted means.                    I own the one hundred

  23    percent in a trust.      Convoluted, he says -- is I had a family

  24    trust.    I set up a family trust right at the beginning.                        That's

  25    part of what annoyed the tax office because I set up this

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   1    thing, and it made money.           And I have set up a tax-effective

   2    structure.    I'm looking at paying tax now.                          I'm trying to

   3    negotiate with the government how I do that.                           Am I going to

   4    just liquidate everything?            No.       Convoluted, no.

   5         Craig Wright sets up a trust in 1998, changes the name of

   6    the trust in 2011.      That trust owns Wright International

   7    Investment.     The Australian companies mine into the foreign

   8    company.    I think that's simple.

   9               MR. FREEDMAN:      Counsel, I'm going to the testimony of

  10    Dr. Wright at a court hearing that occurred on June 28th, 2019.

  11    I'm at Page 157, lines 18 through 22.

  12               MS. MCGOVERN:      Can I have the citation one more time?

  13               MR. FREEDMAN:      It's the June 28th, 2019 court hearing,

  14    Page 157, lines 18 through 22.

  15               MS. MCGOVERN:      One second, please.                     152?

  16               MR. FREEDMAN:      158 -- 157.               Lines 18 through 22.

  17               MS. MCGOVERN:      157.        Okay.         One second, please.

  18               Okay.   No objection.

  19    BY MR. FREEDMAN:

  20    Q.   Dr. Wright, do you remember appearing for a court hearing

  21    on June 28th, 2019 when you were put under oath?

  22    A.   I remember basically, yes.

  23    Q.   And at that hearing, I asked you the following questions

  24    and you gave the following answers:

  25         "Question:    Dr. Wright, who owned Wright International

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   1    Investments?

   2         "Answer:    It was actually held by bearer shares at that

   3    stage and managed by Denis and his group.

   4         "Question:    And who held the bearer shares?

   5         "Answer:    Through a number of convoluted means, I

   6    controlled them."

   7         Dr. Wright, you said:          "Convoluted means," not me; isn't

   8    that right?

   9    A.   Again, you're taking my testimony and twisting it.                           The

  10    control of the company and how I set up the thing was still by

  11    the trust.    Denis and the companies were the trust.

  12         All I did was made sure that -- as you wanted me to say,

  13    it's convoluted because no one seems to understand that trust,

  14    foreign entities, ownership.              I think it's really simple.

  15         Everyone runs around going:                "It's convoluted."            My lawyers

  16    say:   "It's complex."      My accountants say:                       "It's complex."

  17    It's not.    I'm the controller in the past.                          My wife is now.

  18    That's simple.     I don't think that's difficult.                        I mean, yes,

  19    we have corporate people appointed.                     Yes, we have all these

  20    other companies to run things.                My wife's the trustee now.                She

  21    sits on top and runs it.          I was the trustee before.                   I sit on

  22    top and run it.     Yes, I have people hired.                         Not hard.

  23    Q.   Dr. Wright, it's your testimony now that the -- well,

  24    strike that.

  25         Dr. Wright, the Bitcoin that we looked at, the 820 --

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   1    820,200 Bitcoin, that list, when was that list -- when is the

   2    last date that the Bitcoin on that list were mined?

   3    A.   That was August 2010.          But I think it was actually and 50.

   4    I think you missed 50.

   5    Q.   And, Dr. Wright, the -- you say it's 820,250?

   6    A.   I think so.

   7    Q.   Okay.   And, Dr. Wright, you said you mined some Bitcoin,

   8    the first 16 blocks on your own.                  That was in 2009?

   9    A.   Yes.

  10    Q.   January 2009?

  11    A.   Yes.

  12    Q.   And it's your testimony here today, Dr. Wright, that the

  13    Bitcoin you mined that are on that list were mined for Wright

  14    International Investments, correct?

  15    A.   That were mined by Information Defense PTY, Limited

  16    Australia.    They were done under a contract to the foreign

  17    entity.

  18         The reason for this is that I have -- well, basically a lot

  19    of overseas money in the past because I helped set up casinos.

  20    My background is in gaming.             I set up Lasseters Casino which

  21    was the first Internet casino that was licensed.                      Not illegal

  22    ones.    All government licensed.               The government got their tax,

  23    et cetera.

  24         I helped with other things like Playboy gaming.                    That

  25    always annoyed my wife.         I helped with a number of other things

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   1    that -- so early IPO days of Internet, I helped -- that's how I

   2    know Calvin and others in the industry.                         I helped develop the

   3    legal gaming industry outside of America.

   4         I held -- so, basically going back into it, the Australian

   5    entity needed to be funded without tax legally, so I structured

   6    it so the overseas entity could capitalize the Australian one

   7    and using -- because I used to be -- worked for an accounting

   8    firm as an auditor, we structured the same sort of thing as

   9    Google and others do where the money comes in and then the

  10    rights go back out so that it's structured that way.                        So I set

  11    up a tax structure that allowed the assets to be held overseas.

  12    Q.   Dr. Wright, you know it's Plaintiffs' contention in this

  13    lawsuit that it was Satoshi Nakamoto that did that mining,

  14    correct?

  15    A.   Well, I know you're saying that, yes.

  16               MR. FREEDMAN:      Ms. Vela, can you please bring up Joint

  17    Exhibit 120.

  18               Your Honor, Plaintiffs move Joint Exhibit 120 into

  19    evidence.

  20               MS. MCGOVERN:      No objection.

  21               THE COURT:    Admitted into evidence.

  22         (Joint Exhibit 120 received into evidence.)

  23               MR. FREEDMAN:      Publish that to the jury, please.

  24    BY MR. FREEDMAN:

  25    Q.   Dr. Wright, this is another message from your Slack channel

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   1    on ICU MetaNet, correct?

   2    A.   Correct.

   3               MR. FREEDMAN:      Ms. Vela, can you highlight that last

   4    sentence -- the last paragraph.

   5    BY MR. FREEDMAN:

   6    Q.   "My life goal is to increase the value of the Bitcoin I

   7    mined as Satoshi in 2009/2010 to be as great as possible.                    This

   8    will take decades," and:          "Bot, a beneficiary and I set it up

   9    so that the 825,000 Bitcoin," right, "will be used for a

  10    purpose."

  11         Do you that see that, Dr. Wright?

  12    A.   I very much do.

  13               MR. FREEDMAN:      Ms. Vela, can you take that down,

  14    please.

  15    BY MR. FREEDMAN:

  16    Q.   Dr. Wright, you mined the Bitcoin in 2009, 2010 as Satoshi,

  17    did you not?

  18    A.   That's a simplified version.                 I was the CEO of the company.

  19    So Satoshi ran Information Defense.                     Satoshi was the CEO of

  20    Wright International Investments.                   So, technically the CEO of

  21    the company.

  22         If you look at Elan Musk, he sits there going:                   "I'm

  23    Tesla."    Well, just like he does:                 "I'm Tesla," I did a:    "I'm

  24    my company."     I probably should have actually said:                 "And my

  25    staff."    I didn't.    Just like Elan doesn't run around doing it.

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   1    I mean, I'm sorry.      I do mean that they are.                      I mean, I can't

   2    do these things without the people who work for me.                          So I'm

   3    sorry I didn't mention them.

   4               MR. FREEDMAN:      Your Honor, I'm about to start another

   5    module that will take a little bit of time.                           I know we're a

   6    little early.     I can keep going if the Court wants, but now

   7    would be a good time for a break.

   8               THE COURT:    Ladies and Gentlemen, how are we doing?

   9    Is this a good time for a break?                  Yes.

  10               All right.    Let's go ahead and take a 20-minute

  11    recess.

  12          (Jury not present, 3:14 p.m.)

  13               THE COURT:    All right.             We're on a 20-minute recess.

  14               MR. FREEDMAN:      Your Honor, when we get back, I didn't

  15    want to ask in front of the jury because I know you want to use

  16    their time, but can we have two minutes to discuss the document

  17    you sustained the objection on before the jury gets pulled back

  18    in?    It's an important document for our case.

  19               THE COURT:    See you back in 17 minutes.

  20               MR. FREEDMAN:      Thank you, Your Honor.

  21               MS. MCGOVERN:      Your Honor, could we just ask what

  22    document it is so we can --

  23               MR. FREEDMAN:      It's the Bitmessage one.

  24               MS. MCGOVERN:      Okay.

  25          (Recess from 3:15 p.m. to 3:29 p.m.)

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   1               THE COURT:    All right.             Go ahead and have a seat.

   2    Back on the record.

   3               What did you want to address, Mr. Freedman?

   4               MR. FREEDMAN:      Your Honor, I was trying to get in P613

   5    and the Court sustained an objection.                       I just wanted an

   6    opportunity to understand what the issue was.

   7               THE COURT:    You didn't lay the proper foundation, sir.

   8               MR. FREEDMAN:      So, Your Honor, P051 which is already

   9    in evidence, is an example of these Bitmessages that we've --

  10    the Court let into evidence yesterday.

  11               MS. MCGOVERN:      I'm sorry.               Which number, Mr. Freedman?

  12               MR. FREEDMAN:      P051.

  13               MS. MCGOVERN:      Was that with respect to Jonathan

  14    Warren's deposition?

  15               MR. FREEDMAN:      Yes.

  16               THE COURT:    Wasn't that through Mr. Warren's

  17    deposition?

  18               MR. FREEDMAN:      It was through Mr. Warren, Your Honor.

  19    But the Bitmessages in question were produced to us by

  20    Dr. Wright and they purport to be messages by Dr. Wright to

  21    Dave Kleiman and from Dave Kleiman to Dr. Wright.

  22               In order to use Bitmessage, Your Honor, you have a

  23    public address and you have a private key.                            In order to send a

  24    message, you've got to use that private key each time.

  25               In discovery, the private key to the address labeled

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   1    "Dave Kleiman" in these productions was produced to us by

   2    Dr. Wright.     He's now denying he knows what it was, but that

   3    goes to weight, not admissibility.                     There's no other way to get

   4    it in.

   5               He acknowledged that it is a public -- it is a private

   6    key.    It is public addresses to Bitmessage.                         It's the ones that

   7    match Dave Kleiman and Craig Wright.                      I'm not sure how else to

   8    lay a foundation for the document he produced.

   9               THE COURT:    So, Ms. McGovern, was it, in fact,

  10    produced by the Defendant and represented that these were

  11    Bitmessages of the Defendant?

  12               MS. MCGOVERN:      Your Honor, this was a document that

  13    has our Bates label on it.            The representation that's just been

  14    made by Mr. Freedman -- if he could point me to the

  15    representation where we said what it is, I have absolutely no

  16    basis to say that we said that or would have said that in

  17    connection with producing documents.

  18               But, again, I appreciate Mr. Freedman's, you know,

  19    desire to testify about, you know, what he thinks happened

  20    here.    But the reality is Dr. Wright was asked foundational

  21    questions.    They were not established.                      And the objection was

  22    sustained.    And there's no -- there's been nothing added to the

  23    record that would merit a reconsideration of that ruling.

  24               MR. FREEDMAN:      Your Honor, I'm happy to try this again

  25    with Dr. Wright, but I want to clarify my statement because it

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   1    seems Ms. McGovern misunderstood.

   2               The Bitmessages that were put forward appear to be --

   3    were produced by the Defendant and appear to be communications

   4    by and between the decedent, Dave Kleiman, and the Defendant,

   5    Dr. Wright.

   6               The production file that contains the passwords to use

   7    these accounts, including to use the account of Dave Kleiman,

   8    was produced by the Defendant without any representation.                         It

   9    was located by the Plaintiffs' team and then realized what, in

  10    fact, it was.

  11               And what that, in fact, means is that whomever had

  12    access to that information that's on that Exhibit P613 can send

  13    every message that appears on --

  14               THE COURT:    All right.             But there's many documents

  15    that reflect DEF.      But the question, Mr. Freedman, is:                     When

  16    was it produced?     Was it part of a request for a certain item?

  17    Did the Defendant at any time -- and I'm not just speaking of

  18    the Defendant, Dr. Wright.            I'm talking about his agents, the

  19    attorneys.    Did the attorneys at any time represent that those

  20    are the Defendant's Bitmessages?                  When were they produced?

  21               I mean, you haven't laid the foundation through this

  22    witness.    If, as officers of the Court, this was represented at

  23    some time that these are his Bitmessages, and all of a sudden

  24    he's saying on the stand they are not, then I agree with you

  25    that they should be properly introduced.                          But I'm not hearing

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   1    that.

   2               MS. MCGOVERN:      Your Honor, if I could just make a

   3    statement with respect to that, Your Honor, it's this:                         You

   4    know, I'm always reluctant when representations are made on my

   5    behalf.    And I just want to say if Mr. Freedman would like to

   6    show me the representation that he's now saying I made with

   7    respect to this document that was produced in this case -- and

   8    there were many, many documents -- I would very much like to

   9    see that representation.

  10               I don't want to be held to maybe making inconsistent

  11    statements.     But, again, what -- everything that's just been

  12    stated by Mr. Freedman was not established with this witness in

  13    front of the jury.

  14               MR. FREEDMAN:      Your Honor, to be clear, I never said

  15    Ms. McGovern represented it.

  16               THE COURT:    But they're all Bates stamped.                     They are

  17    numbered.    Was it in a response to a particular request for

  18    production?     I mean, if you can establish that to the Court,

  19    fine.    Otherwise, you haven't laid the proper foundation

  20    through this witness.

  21               MR. FREEDMAN:      Your Honor, the requests for production

  22    were done via keyword searches because of the volume of

  23    documents, so it hit on the "Dave Kleiman" keyword search.

  24    That's why it was produced in discovery.                          I can't point the

  25    Court to a specific request for production.

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   1               And I want to be clear.                The Bitmessages are in

   2    evidence.    That's not what I'm asking about.                        The document I'm

   3    talking about is literally a list of passwords to use the

   4    Bitmessages that are already in evidence.

   5               THE COURT:    You can try to lay the foundation, but at

   6    this point the objection is sustained.

   7               MR. FREEDMAN:      Okay.         Thank you, Your Honor.

   8               THE COURT:    All right.

   9               MR. RIVERO:    Your Honor, I have one housekeeping

  10    matter.

  11               THE COURT:    Mr. Rivero?

  12               MR. RIVERO:    No, just one housekeeping matter.                      On

  13    Exhibit 359 -- and I want to defend my crack paralegal, Sarah

  14    Gonzalez -- we went back to the day four p.m. rough draft and

  15    it had been -- I have it here, Judge.                       I moved the admission of

  16    359.   Mr. Brenner said:        "No objection, Your Honor."

  17               THE COURT:    But that was Defendant's 359.

  18               MR. RIVERO:    That's Defendant's 359.                      Have I got it

  19    backwards, Judge?

  20               MR. BRENNER:     The mistake was -- Judge, we all thought

  21    Mr. Freedman said:      "P359."         He was saying:                "D359."

  22               THE COURT:    Oh, I thought he said:                       "P."

  23               MR. BRENNER:     We all did.

  24               THE COURT:    Okay.

  25               MR. RIVERO:    Oh, I'm sorry, Judge.                       I thought he said

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   1    "D."    Yeah, okay.

   2               THE COURT:    All right.             So he was attempting to get in

   3    D359 which is already in evidence?

   4               MR. BRENNER:     And I think P359 is not, nor has it been

   5    introduced.

   6               MR. RIVERO:    I thought I'd clarify the record.

   7               And thank you, Mr. Brenner.                    I appreciate it.

   8               MR. BRENNER:     I think we all heard the same thing,

   9    Judge.

  10               MR. RIVERO:    Judge, I will defend Ms. Gonzalez, who is

  11    being very careful about this.

  12               THE COURT:    All right.             Let's go ahead and bring in

  13    the jury.

  14         (Before the Jury, 3:36 p.m.)

  15               THE COURT:    All right.             Welcome back, Ladies and

  16    Gentlemen.    Please be seated and we'll continue with the

  17    questioning.

  18               MR. FREEDMAN:      Ms. Vela, could you please bring up

  19    P051.    This is already in evidence.

  20               And can you zoom in on that?

  21    BY MR. FREEDMAN:

  22    Q.   Dr. Wright, do you recognize this as Bitmessage -- as the

  23    Bitmessage software printout of the Bitmessage software?

  24    A.   It's too blurry.     No, I can't.

  25    Q.   Do you see it says:        "Craig S. Wright" on the left side?

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   1    In the first column on the left-hand side it says:                      "Craig S.

   2    Wright"?

   3    A.   Yes, but I can't see the keys.

   4    Q.   We're going to get down there, Dr. Wright.

   5         Do you see where it says:               "Dave Kleiman" on the right side

   6    as the "from"?

   7    A.   Yes, but that's not part of a Bitmessage thing.                     You'd have

   8    to actually drill in.        So I can't say that's Craig Wright or

   9    Dave Kleiman.     Sorry.

  10    Q.   So, Dr. Wright, this is -- this purports to be on paper a

  11    message that's sent from Dave Kleiman to Wright.                       Do you see

  12    that?

  13    A.   No, it doesn't.     Bitmessage doesn't have the names of

  14    people in it.     So, no, it doesn't.

  15    Q.   And, Dr. Wright, the subject of the message says:                     "Re:

  16    scripted money, scripted money, scripted money, insignia, the

  17    trust and loan," apparently coming from Dave Kleiman.

  18         Do you see that?

  19    A.   I see subject lines but that doesn't say from Dave Kleiman

  20    actually.    There's no attribution to a person in Bitmessage.

  21    So, no, I cannot say it's Dave Kleiman.

  22    Q.   It says:    "Dave Kleiman appendix, Dave Kleiman Tulip Trust,

  23    Dave Kleiman Tulips, Dave Kleiman 1933, Dave Kleiman, the trust

  24    process."

  25         Do you see that, Dr. Wright?

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   1    A.   I can see the document.

   2    Q.   And there are on the right-hand column the time in which

   3    these messages were purportedly received?                             You see it says:

   4    "Received"?

   5    A.   I can see a time there, yes.

   6    Q.   And you heard from Jonathan Warren, creator of this

   7    program, some of these messages at the bottom were received

   8    before the program was even created.                      Do you recall that?

   9    A.   I recall that he said that it didn't come out till then.

  10    But if you look at the Wiki, you'll see that the Wiki was on

  11    the 1st of October, which is still public.                            You go to the

  12    Wayback Machine, you find that the launch of product publicly

  13    was on the 1st of October, so he must have got that confused.

  14         The domain registration was in middle of April of that

  15    year.    I guess he got that confused too.                        He may have forgotten

  16    that he actually registered the domain in April.                            He may have

  17    forgotten that he did it on there.

  18         He seems to have forgotten that Atheros, the account that

  19    he used that he wants to distance himself from, was actually

  20    chased down for Silk Road use.                But, unfortunately, if it's

  21    released on the 1st of October and the record's on the

  22    Internet, you can't be arguing that it's not.

  23               MR. FREEDMAN:      Ms. Vela --

  24    BY MR. FREEDMAN:

  25    Q.   Do you see, Dr. Wright, before we move forward -- do you

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   1    see that this line is highlighted:                     "Craig S. Wright, Dave

   2    Kleiman 1933, Sunday, 11th of November, 2012, 4:22 a.m."?

   3    That's the selected message, right?

   4    A.   I can see the highlight.

   5               MR. FREEDMAN:      Ms. Vela, can you zoom in on the actual

   6    text of the purported message from Dave Kleiman.

   7    BY MR. FREEDMAN:

   8    Q.   "Sir, I will transfer the smaller amounts into the 1933

   9    address before I return it to you.                     Makes it simpler.   Then it

  10    and the one paper wallet is all we need to secure back to you.

  11    I will move" -- there's a Bitcoin address and another Bitcoin

  12    address -- "into 1933 shortly but you should see it come in

  13    later this week.     I have been a little under the weather of

  14    late so forgive any delay.            This will add the last four --

  15    "five thousand plus and we can move the small change into this

  16    soon after and get the amounts up to the agreed total.

  17    Regards, Dave."

  18         Do you see that, Dr. Wright?

  19    A.   I need glasses.     I can make out a couple words, but no.

  20    Sorry, I can't.

  21    Q.   Is that the sum and substance of a message Dave Kleiman

  22    ever sent you through Bitmessage?

  23    A.   No.   The Bitmessages that I sent between Dave and myself

  24    were set up using his publicly known and own email addresses on

  25    list server PGPs that are provably sent to him.

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   1         That PGP was put at one stage on security focus under his

   2    email address many years before he died, and that was signed in

   3    some of the messages.       So the ones with -- if there's not PGPs

   4    signed within this, then they're not his.

   5    Q.   So is it your testimony in this litigation that every

   6    Bitmessage that purports to be from Dave Kleiman to Craig

   7    Wright that does not have a PGP key is a forgery?

   8    A.   I'm purporting that this is not even a Bitmessage.                        This is

   9    a picture.

  10    Q.   And, Dr. Wright, isn't it true that to send a Bitmessage

  11    you need a private key?

  12    A.   No, not necessarily.         There are a few different formats.

  13    Both of the ECDSA and the RSA version of the key require a key.

  14    But there is actually a way of doing it through a hash

  15    signature.    So, there is a way of having a non-signed

  16    Bitmessage.     So not all of the formats; two of them are.

  17    Q.   But it is possible to send a Bitmessage.                         If you have the

  18    private key to the public address in Bitmessage, you can then

  19    send a Bitmessage from that address, correct?

  20    A.   With a private key, you can send a Bitmessage, yes.

  21    Q.   And isn't it true that whomever has the private key to the

  22    Bitmessage would be able to send that message?                         Correct?

  23    A.   Yes.

  24                MR. FREEDMAN:     Ms. Vela, can you please bring up P613

  25    to only counsel and the witness, please.

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   1    BY MR. FREEDMAN:

   2    Q.   Dr. Wright, at the top of this it says --

   3               MS. MCGOVERN:      Objection, Your Honor.                  You sustained

   4    the objection to this document.

   5               THE COURT:    163.       All right.              Let's continue.

   6    BY MR. FREEDMAN:

   7    Q.   Dr. Wright, at the top of this, do you see it says:

   8    "Bitmessage settings"?

   9    A.   I can see that.

  10    Q.   And then at the bottom of this, it bears the name of

  11    somebody we're talking about in this litigation, correct?

  12    A.   No, that's not correct.            His name's there but it's a label.

  13    So it's just a text field that anyone can put anything in.                       It

  14    doesn't represent a name.

  15    Q.   And it's associated -- that name, that label, is associated

  16    with the Bitmessage address that is listed right on top of it

  17    in brackets, correct?

  18    A.   That's in the settings for that one, yes.

  19    Q.   And then do you see two up from the bottom there's a line

  20    that says:    "Private encryption key"?                     Do you see that?

  21    A.   I do.

  22    Q.   And above that, it says:             "Private signing key."           Do you

  23    see that?

  24    A.   I do.

  25    Q.   And so whomever has these keys that are listed in this

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   1    document would then be able to control the Bitmessage that

   2    bears the label of that individual, correct?

   3    A.   Well, no, sir.      That's actually technically correct --

   4    incorrect.     The label can be anything.                      You could send it,

   5    change it, send it, change it.                 It's like in your email where

   6    you can put down what your name is.                      Your email address might

   7    be the same, but you could call yourself Bob or Robert or --

   8    and you can change your name in the field.                             And you could put

   9    your name down as Bill Gates and have -- well, the same email

  10    address but call yourself Bill Gates, so no.

  11                MR. FREEDMAN:      One second, Your Honor.

  12    BY MR. FREEDMAN:

  13    Q.   Dr. Wright, is it not true that you did communicate with

  14    Dave Kleiman via Bitmessage?

  15    A.   It is true, but none of the Bitmessages I communicated to

  16    Dave Kleiman are here.

  17    Q.   And then, Dr. Wright, do you recognize the Bates label at

  18    the bottom of this document?

  19    A.   Yes.    My lawyers put in the computers of --

  20                MS. MCGOVERN:      Dr. Wright, please.

  21                I'd like to object to any communications that might

  22    run into the privilege between attorney-client, Your Honor.

  23                THE COURT:    Certainly with regard to any communication

  24    between Dr. Wright and his attorneys.

  25                You may continue, sir.

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   1               THE WITNESS:     Yes.        I submitted files from computers

   2    from 17 countries that existed over four continents, involving

   3    multiple staff, and I don't know which particular computer this

   4    comes from.

   5    BY MR. FREEDMAN:

   6    Q.   Dr. Wright, in order to submit documents through your

   7    lawyers to us in discovery, you had to have control over those

   8    machines to some extent, correct?

   9               MS. MCGOVERN:      Objection, Your Honor.                      Calls for a

  10    legal conclusion.

  11               THE COURT:    Overruled.

  12               THE WITNESS:     No.

  13    BY MR. FREEDMAN:

  14    Q.   You gathered documents from various computers across the

  15    world, correct?

  16    A.   No.

  17    Q.   You had documents gathered from various computers across

  18    the world, correct?

  19    A.   No, I asked other people to give files, including ones that

  20    had been sealed, to the lawyers.                  So other people, without

  21    going through me.      None of it touched me.                         Went directly to my

  22    lawyers.

  23    Q.   So, someone that you sent a request for assistance to to

  24    send you files eventually produced this document at your

  25    request, correct?

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   1    A.   I don't know.     I sent the computers to the lawyers.                   That's

   2    the end.    Don't know.

   3                MR. FREEDMAN:     And, Your Honor, if I could have one

   4    moment.

   5         (Pause in proceedings.)

   6                MR. FREEDMAN:     And, Ms. Vela, can you bring us to the

   7    next page.    And one more page over.

   8    BY MR. FREEDMAN:

   9    Q.   And, Dr. Wright, in the middle of this page is another

  10    label of another individual at issue in this litigation.                       You

  11    see that name, Dr. Wright?

  12    A.   I see that you can type in any name you want at any

  13    location at any time and change it.                     In fact, you can update --

  14    so I could send -- like, if you're using Bitmessage, you could

  15    change it as you go.      You could send one and then change it and

  16    change it and change it and change it.                        So, you could make it

  17    A, and then B, and then C, and then D, back to A, and then B.

  18         And the funny thing is when you change it, everything will

  19    display one way and then it will display the other way.                       And

  20    then it will display the next one, and the next one, and back

  21    and forth all day long.         And it has no meaning whatsoever

  22    because this doesn't represent the actual person.

  23    Q.   And, Dr. Wright, do you see above there there's a

  24    Bitmessage public address?

  25    A.   Yes.   It's not mine.

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   1    Q.   And, Dr. Wright, do you see underneath that it says

   2    "private signing key and private encryption key"?

   3    A.   Yes.   They are different from my ones.

   4    Q.   And, Dr. Wright, anyone who has the private encryption key

   5    and the private signing key for these that are listed on this

   6    document would be able to control the Bitmessage address that's

   7    above the label with your name on it, correct?

   8    A.   Yes, but that's not mine.

   9                MR. FREEDMAN:     Okay.         At this point, Plaintiffs would

  10    offer P613 into evidence.

  11                MS. MCGOVERN:     Objection, Your Honor.                  The witness has

  12    testified that he doesn't recognize the document and the only

  13    basis --

  14                THE COURT:   The objection is sustained.

  15    BY MR. FREEDMAN:

  16    Q.   Dr. Wright, let's talk about the Tulip Trusts a little

  17    more.    Okay?

  18    A.   (No verbal response.)

  19    Q.   That's the trust, Dr. Wright, that you claim currently

  20    controls all of your Bitcoin, correct?

  21    A.   No, it controls the company.

  22    Q.   Which control your Bitcoin?

  23    A.   The companies own assets.              There's two main companies that

  24    own Bitcoin.     There's some smaller amounts in other companies,

  25    but they're insignificant.

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   1    Q.   Trust control companies and companies own Bitcoin, correct?

   2    A.   Yes.

   3    Q.   Okay.   And in this case, it's Tulip Trust owns companies

   4    which owns the Bitcoin at issue, correct?

   5    A.   Yes.

   6    Q.   In fact, Dr. Wright, as we saw, the Tulip Trust is the

   7    trust that Dave funded with Bitcoin, is it not?

   8    A.   No, Dave never had anything to do with Tulip Trust.                    The

   9    Tulip Trust was first in a court case in 2004 in Australia and

  10    has been basically, well, mine since it was set up from 1998

  11    until I handed over control to my wife sort of a few years ago

  12    before this case started, and it's still in her control.

  13    Q.   And, Dr. Wright, we have seen already the transcript of the

  14    Australian Tax Office where you told them that you and Dave

  15    funded -- are the source of the assets of the Tulip Trust, have

  16    we not?

  17                MS. MCGOVERN:      Objection.               Misstates the record.

  18                THE COURT:   The basis?

  19                MS. MCGOVERN:      It mischaracterizes the testimony, Your

  20    Honor.

  21                THE COURT:   Overruled.

  22                THE WITNESS:     No.       As I said, and as you will find out

  23    before this case is over, that there are forensic documents

  24    validating what I said.          The ATO was compromised.              The forensic

  25    evidence did prove to that being done in 2005 or earlier.

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   1               And yes, that will be put forth.                           So, no, none of

   2    those things have anything to do with the ATO being accurate.

   3    There were lots of falsified documents and lots came from the

   4    ATO.   And, no, I will not at any point say that they had

   5    anything to do with the ATO because they are not.

   6               MR. FREEDMAN:      Ms. Vela, could you please bring up

   7    P607 that I believe is in evidence.

   8               But can we just make sure it is before we publish?

   9               It's in evidence.          Please publish.

  10               Ms. Vela, can you bring us to Page 49.

  11               THE COURT:    607 is in evidence.

  12               MR. FREEDMAN:      And can you zoom in on Paragraph 271.

  13    BY MR. FREEDMAN:

  14    Q.   Dr. Wright has also stated two lines up from the bottom

  15    that the trust -- well, do you see it says:                            "Tulip Trust"

  16    right in the second line?

  17         Mr. Kleiman -- I told you we were going to talk about this,

  18    Dr. Wright, so I'm bringing us back here.                             "Dr. Wright and

  19    Mr. Kleiman's Tulip Trust document."                      I told you we'd talk

  20    about that, remember?

  21    A.   You said it, yeah.

  22    Q.   "Claimed that Dr. Wright contributed 1.1 million Bitcoin to

  23    the Tulip Trust.     But Dr. Wright has also stated that the trust

  24    Bitcoin came from both him and Mr. Kleiman."

  25         Do you see that?

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   1    A.   I can see that, yes.

   2    Q.   And we also saw that the ATO found that Ms. Nguyen, a

   3    trustee of the Tulip Trust, has stated that 650,000 Bitcoin of

   4    the trust came from you.

   5                MR. FREEDMAN:     Ms. Vela, can we go down to the next

   6    page.

   7    BY MR. FREEDMAN:

   8    Q.   And 350,000 from Mr. Kleiman.                  Do you see that?

   9    A.   I can see the document.

  10    Q.   And, Dr. Wright, in this action --

  11                MR. FREEDMAN:     Ms. Vela, you can take that down.

  12    Thank you.

  13    BY MR. FREEDMAN:

  14    Q.   You've produced documents that purport to describe the

  15    terms of Tulip Trust, have you not?

  16    A.   In this case, you mean?

  17    Q.   Yeah.

  18    A.   Yes.

  19    Q.   And, Dr. Wright, you've sworn that these documents are

  20    authentic, haven't you?

  21    A.   They are authentic, so yes.

  22                MR. FREEDMAN:     Ms. Vela, can you please bring up P822

  23    for just the witness and opposing -- and counsel.

  24    BY MR. FREEDMAN:

  25    Q.   Dr. Wright, do you recognize this as your sworn declaration

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   1    you submitted in this Court?

   2    A.   I do.

   3    Q.   And do you see it talks about the Tulip Trust?

   4    A.   No.    It talks about Tulip Trust I and Tulip Trust II.

   5    These are the structures that I had around Tulip Trust and The

   6    Trust.

   7         As I had noted, I also set up something that I called The

   8    Trust, and I set up another thing that I called the Tulip

   9    Trust.     I had been officially banned from all of my companies

  10    from ever naming anything ever again.

  11         But the nature of this -- and I've now got a patent on

  12    it -- was to set up an algorithmic system that allowed multiple

  13    parties such as directors to be able to vote and do digital

  14    signing for companies without having to -- if there are five

  15    people, for instance, three people could vote and you wouldn't

  16    need to have anyone know who voted or not.                            And the company

  17    could take actions like a secret vote.

  18         So, I set up that algorithmic structure.                          I ran it and

  19    tested it on my own things, and part of what we were talking

  20    about here is trying to explain the difference between the

  21    holding of key shares and the actual trust.                           They're different.

  22    Q.   Dr. Wright, do you see the document says the words:                          "Tulip

  23    Trust" on it?

  24    A.   It says:    "Tulip Trust I" and it says:                         "Tulip Trust II."

  25    Yes, I see that.

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   1    Q.   So, it says the words "Tulip Trust"?

   2    A.   The word Tulip Trust taken out of context as just Tulip

   3    Trust would be wrong.       That would be like saying my name says:

   4    "Craig Steven."     My name is Craig Steven Wright.                    If you put

   5    Craig Steven, you get the person my mother named me after.                        She

   6    liked this actor called Craig Stevens.                        I don't know why.   I

   7    mean, he's okay.     He's old now.

   8                MR. FREEDMAN:     Your Honor, Plaintiffs offer P822 into

   9    evidence.

  10                MS. MCGOVERN:     No objection.

  11                THE COURT:   Admitted into evidence.

  12         (Plaintiffs' Exhibit 822 received into evidence.)

  13    BY MR. FREEDMAN:

  14    Q.   Dr. Wright --

  15                MR. FREEDMAN:     Can you please publish to the jury.

  16    BY MR. FREEDMAN:

  17    Q.   Dr. Wright, we're looking at something entitled

  18    "Declaration of Dr. Craig S. Wright" submitted in this

  19    litigation.     You see the court ECF stamp across the top?

  20    A.   I do.    I recognize it.

  21    Q.   You see the case caption on the left side?

  22    A.   Yes.

  23    Q.   It's called "Declaration of Dr. Craig S. Wright."                      And it

  24    begins:     "I, Craig S. Wright, declare under penalty of perjury

  25    under the laws of United States of America that the following

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   1    is true and correct"?

   2    A.   Yes.

   3                MR. FREEDMAN:     Ms. Vela, can you bring us to the last

   4    page of the document so we can see Dr. Wright's signature.

   5    BY MR. FREEDMAN:

   6    Q.   It's your signature, Dr. Wright?

   7    A.   It is.

   8    Q.   Signed on May 13th, 2019?

   9    A.   It is.

  10    Q.   And again:    "I declare that the foregoing is true and

  11    correct under penalty of perjury and in accordance with the

  12    laws of United States of America"?

  13    A.   I do.

  14                MR. FREEDMAN:     Ms. Vela, can you bring us back to the

  15    first page.     And can you call out Paragraph 4 for us.

  16    BY MR. FREEDMAN:

  17    Q.   "I attach to this declaration the trust document dated June

  18    24th, 2011 which is referenced in Paragraph 5 of my May 8th,

  19    2019 declaration.      This document is an authentic copy."

  20         Do you see that?

  21    A.   Yes.

  22    Q.   Trust document dated June 24th, 2011.                            You swear it's

  23    authentic, correct?

  24    A.   Yes.

  25    Q.   All right.    Let's take a look at the document dated June

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   1    24th, 2011 that you attached.

   2               MR. FREEDMAN:      Ms. Vela, can you please bring up P035.

   3    BY MR. FREEDMAN:

   4    Q.   And do you see this is an email from -- purports to be an

   5    email from you to Dave Kleiman -- from Dave Kleiman to you?

   6    A.   Yes, I do.

   7    Q.   And it says:    Tulip Trust?

   8    A.   Mentions .PDF, dot -- et cetera, yes.

   9    Q.   No I, no II, just Tulip Trust, right?

  10               MS. MCGOVERN:      Objection, Your Honor.                   The document

  11    speaks for itself.

  12               THE COURT:    Overruled.             I'll allow it to be pointed

  13    out.

  14               THE WITNESS:     There are files attached.

  15    BY MR. FREEDMAN:

  16    Q.   No.   No.   Dr. Wright, what I said was the attachment name

  17    does not contain a I or a II.               It just says:             "Tulip Trust,"

  18    right?

  19    A.   But that's a different thing all together.                        So trying to

  20    explain this in the document was a different thing than the

  21    other.

  22    Q.   Sorry, Dr. Wright.       Maybe you didn't understand what I

  23    asked.     All I said is:     Is there a I or II in that attachment?

  24               MS. MCGOVERN:      Same objection, Your Honor.

  25               THE COURT:    Overruled.             I'll allow it.

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   1               THE WITNESS:     No.

   2    BY MR. FREEDMAN:

   3    Q.   Thank you.

   4               MR. FREEDMAN:      Your Honor, Plaintiffs' offer P035 into

   5    evidence.

   6               MS. MCGOVERN:      No objection, Your Honor.

   7               THE COURT:    Admitted into evidence.

   8         (Plaintiffs' Exhibit 035 received into evidence.)

   9               MR. FREEDMAN:      Can we please publish to the jury.

  10    BY MR. FREEDMAN:

  11    Q.   Dr. Wright, this purports to be an email from Dave Kleiman

  12    to you on Friday, June 24th, 2011.                     Do you see that?

  13    A.   I do.

  14    Q.   Purports to attach various attachments that are entitled

  15    "Tulip Trust."     Do you see that?

  16    A.   I do.

  17    Q.   And the body purports to say:                  "Craig, I think you are mad

  18    and this is risky but I believe in what we are trying to do."

  19         Do you see that?

  20    A.   I do.

  21               MR. FREEDMAN:      Ms. Vela, can you put that on the

  22    left-hand side, and let's bring up P822.

  23    BY MR. FREEDMAN:

  24    Q.   Again, this is your sworn declaration, Dr. Wright.                    "I

  25    attach" -- I'm at Paragraph 5 now.                     "I attach to this

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   1    declaration the trust document dated October 23rd, 2012 which

   2    is referenced in Paragraph 5 of my May 8th, 2019 declaration as

   3    Tulip Trust I.     This document is an authentic copy."

   4         Do you see that?

   5    A.   Yes, it's a copy.

   6               MR. FREEDMAN:      Ms. Vela, can you please put down the

   7    one on the left-hand side and let's bring up what Dr. Wright

   8    swore was an authentic copy of the October 23rd, 2012 trust

   9    document, which is P036.

  10               That cannot go to the jury yet.                        It's not yet in

  11    evidence.    So why don't we take everything down and we'll just

  12    bring up P036.

  13               No, P036.

  14         (Pause in proceedings.)

  15    BY MR. FREEDMAN:

  16    Q.   Okay.   Dr. Wright, do you see this is a "Deed of Trust"

  17    dated October 23rd, 2012 that also contains the words Tulip

  18    Trust on it?

  19    A.   Yes, I do.

  20               MR. FREEDMAN:      Your Honor, Plaintiffs offer P036 into

  21    evidence.

  22               MS. MCGOVERN:      No objection, Your Honor.

  23               THE COURT:    Admitted into evidence.

  24         (Plaintiffs' Exhibit 036 received into evidence.)

  25

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   1               MR. FREEDMAN:      Can we publish this to the jury,

   2    please?

   3               Can we zoom out?         Zoom out.

   4    BY MR. FREEDMAN:

   5    Q.   This is the document you swore was authentic in your

   6    May declaration, correct, Dr. Wright?

   7    A.   I believe that's the same document.                        I can't see the

   8    attachment, but this is a trust document from the trust, yes.

   9               MR. FREEDMAN:      Okay.         Ms. Vela, can you put that down

  10    and let's go back to the first document Dr. Wright swore was

  11    authentic, which is P035.

  12    BY MR. FREEDMAN:

  13    Q.   So, Dr. Wright, we looked at this cover attachment from

  14    this supposed email from Dave Kleiman saying:                         "I think you're

  15    mad and this is risky."         Let's take a look at the attachments.

  16    Okay?

  17         And, Dr. Wright, it starts off as a letter:                       It says:   "To

  18    Whom it May Concern," with a cc to Dr. Craig Wright.

  19         It starts off -- it says:              "It is agreed that" --

  20               MR. FREEDMAN:      Ms. Vela, can you highlight the

  21    sentence under that.

  22    BY MR. FREEDMAN:

  23    Q.   "I, Dave Kleiman, shall become the trustee for the transfer

  24    of the Satoshi I have received from Craig Wright."

  25         Do you see that?

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   1    A.   I do.

   2    Q.   Satoshi is another way of referring to Bitcoin, right?

   3    A.   Yes.    It's like cents versus dollars, yes.

   4    Q.   And then underneath it says:                 "I acknowledge."            And in the

   5    paragraph right underneath that it says:                          "I, Dave Kleiman,

   6    have received 1,100,111 Bitcoin from Craig Wright"?

   7                THE COURT:   Mr. Freedman, if I may ask, is this

   8    Exhibit 36 or is this another exhibit, sir?

   9                MR. FREEDMAN:     It is Exhibit 35, Your Honor.

  10                THE COURT:   All right.             Then it is in evidence.             It

  11    may be published.

  12                MR. FREEDMAN:     I'm sorry.               Was it on the screen for

  13    the jury this time or --

  14                THE COURT:   I do not believe that it was, but it is

  15    now.

  16                MR. FREEDMAN:     It was not?

  17                THE COURT:   It is on the screen, Ladies and Gentlemen?

  18                All right.   Thank you.

  19                MR. FREEDMAN:     Okay.         Let's go back just to the first

  20    page, Ms. Vela, so we can reorient ourselves.

  21    BY MR. FREEDMAN:

  22    Q.   This is the email from Dave Kleiman we looked at earlier

  23    that you swore was authentic.               Dave Kleiman to you dated 24th

  24    of June, 2011.     It's the email you swore:                          "Craig Wright, I

  25    think you are mad and this is risky but I believe in what we

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   1    are trying to do," correct?

   2    A.   No, that is not correct.

   3    Q.   All right.    Let's move to the next page and let's see the

   4    attachment to this email that you swore was authentic in May.

   5    Purports to be the attachment that you attached to your email

   6    and it appears to be a letter from David Kleiman, correct?

   7    A.   That's what it appears to be cc'd as.                             What I did say,

   8    though, I said it was a copy.                I did not say it was an original

   9    or anything.     I said:     "Yes.         It appears to be a copy."

  10    Q.   Dr. Wright, this letter then says:                        I, Dave Kleiman, shall

  11    become the trustee for the transfer of the Satoshi I have

  12    received from Craig Wright."

  13         Do you see that?

  14    A.   I do.

  15    Q.   Then it purports to say:              "I acknowledge I, Dave Kleiman,

  16    have received 1,100,111 Bitcoin from Craig Wright of 51

  17    Cowangarra Road, Bagnoo, New South Wales, Australia."

  18         Do you see that?

  19    A.   I do.

  20    Q.   And then two lines underneath that, it says:                            "All Bitcoin

  21    will be returned to Dr. Wright on January 1st, 2020."

  22         Do you see that?

  23    A.   I do.

  24    Q.   So, if this document is to be believed, Dr. Wright, Dave

  25    Kleiman has no right to the 1.1 million Bitcoin that you mined.

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   1    It's all yours.     He's just the trustee and he's returning it

   2    all to you on January 1st, 2020, correct?

   3    A.   Yes.    I wrote this document in 2011 and the company is the

   4    owner.

   5                MR. FREEDMAN:     Ms. Vela, can you put the attachment to

   6    the email down.

   7                Let's go back to the first page which is the actual

   8    cover email itself.

   9                Can you zoom in on that email.

  10    BY MR. FREEDMAN:

  11    Q.   Dr. Wright, you see this email is dated Friday, June 24th,

  12    2011?

  13    A.   I do.

  14    Q.   Isn't it true, Dr. Wright, that you forged this document?

  15    A.   No, it is not.

  16    Q.   Isn't it true that this document is a fake?

  17    A.   I don't know if this is the original or not, but this

  18    document and all that are in it were given to the tax office in

  19    2012.

  20         I was before a court proceeding with the tax office who had

  21    attempted to bankrupt me.           And Dave and I constructed the trust

  22    so that all the Bitcoin and assets were taken out of my

  23    control.     I basically -- Dave saved my ass if I got bankrupted

  24    because Bitcoin would have been -- everything I worked for my

  25    whole life would have been owned by the Australian government.

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   1         So in 2011, what Dave helped me do was act as a front, a

   2    sham as this tax office called it, to sit there and say that he

   3    ran all my companies in my trust.

   4               MR. FREEDMAN:      Ms. Vela, can you put the email on the

   5    left-hand side of the screen.

   6    BY MR. FREEDMAN:

   7    Q.   Dr. Wright, I'm going to --

   8               MR. FREEDMAN:      And, no, Ms. Vela.                      I'm going to have

   9    to ask you to pull that down because we've got to get another

  10    document in evidence.

  11               Can you bring up P518 just for Dr. Wright and counsel.

  12    BY MR. FREEDMAN:

  13    Q.   Dr. Wright, do you recognize this as an email purporting to

  14    be from Dave Kleiman to yourself?

  15    A.   No.   The date's wrong.          It's been altered.

  16               MR. FREEDMAN:      And, Your Honor, we're offering P518

  17    into evidence.

  18               THE COURT:    Any objection?

  19               MS. MCGOVERN:      Objection, Your Honor.                     This is a

  20    document that Plaintiffs are challenging as inauthentic and the

  21    witness has just stated that he can't identify it because it

  22    has the wrong date.

  23               THE COURT:    It's noted.              It goes to its weight.

  24               Overruled.    It will be admitted into evidence.

  25         (Plaintiffs' Exhibit 518 received into evidence.)

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   1               MR. FREEDMAN:      Ms. Vela, can you take down P518.

   2    Let's put back up the document Dr. Wright swore was authentic.

   3    That's P035.

   4               Can you highlight the date June 24th, 2011 for us,

   5    please, and move it to the left side of the screen.

   6    BY MR. FREEDMAN:

   7    Q.   Dr. Wright, I'm going to ask you again:                          Is this document a

   8    forgery?

   9    A.   Again, I did not swear it was authentic.                         I said it was a

  10    copy.

  11               MS. MCGOVERN:      Objection, Your Honor.                    Asked and

  12    answered.

  13               THE COURT:    Overruled.

  14               MR. FREEDMAN:      Ms. Vela, can you please bring up P518.

  15    Zoom in to the text, please, Ms. Vela, for the jury.

  16    BY MR. FREEDMAN:

  17    Q.   Dr. Wright, this email that you produced in discovery to us

  18    is almost identical to the document you swore was authentic

  19    with one change.

  20               MR. FREEDMAN:      Ms. Vela, can you highlight the date on

  21    this email that purports to come from Dave Kleiman over a year

  22    after he died.     Friday, 17th of October, 2014.

  23    BY MR. FREEDMAN:

  24    Q.   Do you see that, Dr. Wright?

  25    A.   I see the date.

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   1    Q.   Dr. Wright, you're aware the metadata of these documents

   2    will also demonstrate you forged this document, aren't you?

   3               MS. MCGOVERN:      Objection, Your Honor.                  Predicate,

   4    foundation.

   5               THE COURT:    Sustained.

   6    BY MR. FREEDMAN:

   7    Q.   Dr. Wright, if this email is a forgery, then you forged an

   8    email to make it look like Dave agreed that the full

   9    1.1 million belonged to you, didn't you?

  10               MS. MCGOVERN:      Objection, Your Honor.                  Calls for

  11    speculation.     Foundation.

  12               THE COURT:    I'll allow it.                 Overruled.

  13               THE WITNESS:     Number one, as I stated, this was

  14    submitted to the Australian government in 2012.                       Dave was

  15    actually alive.

  16               Number two, the document was not actually made into

  17    the trust document and it didn't help me.

  18               Number three, the transfer was from the companies and

  19    the company.     So none of the above.

  20    BY MR. FREEDMAN:

  21    Q.   One last time, Dr. Wright:               Did you forge this document?

  22               MS. MCGOVERN:      Objection.               Asked and answered.

  23               THE COURT:    Sustained.

  24    BY MR. FREEDMAN:

  25    Q.   All right.    We'll let Dr. Edman testify to this document

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   1    later.

   2                MR. FREEDMAN:     Ms. Vela --

   3                MS. MCGOVERN:     Objection, Your Honor.                    Improper

   4    transition.

   5                THE COURT:   Sustained.

   6                MR. FREEDMAN:     Ms. Vela, can you bring these documents

   7    down and let's bring up P036.               The second document Dr. Wright

   8    swore was authentic.

   9                MS. MCGOVERN:     Objection, Your Honor.                    Move to strike

  10    these statements by counsel as though they're record evidence.

  11    There's not a question pending.                 It's inappropriate.

  12                THE COURT:   Sustained.

  13    BY MR. FREEDMAN:

  14    Q.   Dr. Wright, did you swear this document was authentic?

  15    A.   No.    I said it was a copy of the trust document.

  16    Q.   Swore it was an authentic copy, Dr. Wright?

  17    A.   An authentic copy is an authentic copy.                          If I copy the file

  18    50 times, if I print it 50 times, if I make it to a new

  19    print -- to a PDF today with today's metadata, it is an

  20    authentic copy.

  21    Q.   Did you swear it was an authentic copy?                          Yes or no?

  22    A.   Yes.

  23    Q.   Dr. Wright, this purports to be a deed of trust.                         Do you

  24    see on the top it says:         "Deed of Trust"?

  25    A.   It is what it says.

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   1    Q.   Purports to be a deed of trust between Wright International

   2    Investments.

   3                MR. FREEDMAN:     Ms. Vela, can you highlight that for us

   4    and zoom in on the relevant portion.

   5    BY MR. FREEDMAN:

   6    Q.   IBC 064409?

   7    A.   Yes.

   8    Q.   IBC is International Business Company?

   9    A.   Yes.

  10                MR. FREEDMAN:     Ms. Vela, can you zoom in on -- oh, can

  11    we please publish that to the jury, please.                           It's in evidence.

  12                THE COURT:   It's in evidence.

  13    BY MR. FREEDMAN:

  14    Q.   Dr. Wright, this purports to be a deed of trust between

  15    Wright International Investments, IBC number 064409, and Tulip

  16    Trading, IBC number 093344.             Do you see that?

  17    A.   I do.

  18    Q.   Purports to be dated 23rd of October, 2012.                         Do you see

  19    that?

  20    A.   That's when it was.

  21    Q.   In fact, Dr. Wright, not only did you swear this was an

  22    authentic copy, you also swore this document was executed in

  23    October of 2012, did you not?

  24    A.   It would have been that day.                 It -- well, it's my birthday

  25    so that's I think why we did it.

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   1               MR. FREEDMAN:      Ms. Vela, let's move this document off

   2    to the side and can we please bring up Joint Exhibit 14.

   3               Which if it's not in evidence, Your Honor, Plaintiffs

   4    would like to move it into evidence.

   5               MS. MCGOVERN:      No objection, Your Honor.

   6               THE COURT:    Without objection, 14 is admitted into

   7    evidence.

   8         (Joint Exhibit 14 received into evidence.)

   9    BY MR. FREEDMAN:

  10    Q.   Can we go -- do you see where it says:                           "Tulip Trust,"

  11    Dr. Wright?

  12    A.   Where am I looking?        Sorry.

  13    Q.   Bold.   Halfway down the page.

  14               MR. FREEDMAN:      Ms. Vela, can you highlight Tulip Trust

  15    for Dr. Wright between Paragraphs 3 and 4.

  16    BY MR. FREEDMAN:

  17    Q.   Do you see that?

  18    A.   I do.

  19    Q.   This is another sworn declaration by you, Dr. Wright, under

  20    penalty of perjury?

  21    A.   Yes, it is.

  22               MR. FREEDMAN:      Ms. Vela, can you go to the next page

  23    for us?

  24               And in Paragraph 5, Ms. Vela, can you call that out

  25    for us?

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   1    BY MR. FREEDMAN:

   2    Q.   October, 2012, a formal trust document was executed.                        Do

   3    you see that?

   4    A.   Yes.

   5                MR. FREEDMAN:     All right.               Ms. Vela, can you put down

   6    Joint Exhibit 14.

   7    BY MR. FREEDMAN:

   8    Q.   Swore it was an authentic copy.                    Swore it was executed in

   9    October, correct?

  10    A.   Yes.

  11    Q.   The parties of this document, Dr. Wright, are Wright

  12    International Investments and Tulip Trading.                          You see it says

  13    the parties at the top?

  14    A.   Yes.

  15                MR. FREEDMAN:     Ms. Vela, can you go to the next page

  16    for me?

  17    BY MR. FREEDMAN:

  18    Q.   And here it says that -- in Paragraph 1, that the parties

  19    are the beneficial owners of trust.

  20                MR. FREEDMAN:     Can you highlight and can you call out

  21    Paragraph 1 for us, Ms. Vela.

  22    BY MR. FREEDMAN:

  23    Q.   "That we will act as the holder and as nominee agent and

  24    trustee for the parties who are at all times the beneficial

  25    owners."

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   1         Do you see that?

   2    A.   The parties who are the beneficial -- it doesn't say:                        "The

   3    parties are the beneficial owners."                     It says:      "The parties who

   4    are at all times."      So ...

   5    Q.   The parties are the beneficial owners?

   6    A.   No, that's not what it says.                 "The parties who are the

   7    beneficial owners."      That doesn't mean the parties.                     So that's

   8    actually, again, two different things.

   9               MR. FREEDMAN:      Ms. Vela, can you minimize that for us,

  10    move it to the left side and bring up Joint Exhibit 14 again?

  11               Can you go with me to paragraph 13.                        Can you highlight

  12    Paragraph 13 for us and bring it out.

  13    BY MR. FREEDMAN:

  14    Q.   The beneficiaries of Tulip Trust I are Wright International

  15    Investments, LTD and Tulip Trading.                     Do you see that,

  16    Dr. Wright?

  17    A.   I do.

  18    Q.   So they are the beneficiaries of this trust, are they not,

  19    Dr. Wright?

  20    A.   Yes, but the comment on the other one wasn't what you said.

  21               MR. FREEDMAN:      All right.               Ms. Vela, can you put down

  22    Joint Exhibit 14 for us, please.

  23    BY MR. FREEDMAN:

  24    Q.   Dr. Wright, right below number --

  25               MR. FREEDMAN:      Can you highlight -- Ms. Vela, can you

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   1    zoom in on the -- yeah, the bottom half of that document,

   2    please.

   3    BY MR. FREEDMAN:

   4    Q.   Dr. Wright, this trust document that you swore was

   5    authentic says:     "Its assets to be settled in this joint

   6    agreement and deed between the parties include."

   7         Do you see that?

   8    A.   Yes, but if you scan up to the top of the document, you

   9    will see what you're trying to misconstrue as the trust, the

  10    cryptographic algorithmic thing that I detailed before.                        So you

  11    are taking this out of context.

  12    Q.   Dr. Wright, do you see that under the assets that are

  13    supposed to be in this trust you write in 3B:                         "This includes

  14    the 1,100,111 Bitcoin under that former arrangement in the

  15    attached conditions."

  16         Do you see that?

  17    A.   Again, no.    I believe if you zoom out on this, you will see

  18    mention of DAC.digital or basically an algorithmic company

  19    called The Trust.      It will be listed above if you zoom out.

  20         What you're doing is you're conflating The Trust with the

  21    trust as in Tulip Trust.          The Trust is the DAC distributed

  22    autonomous corporation that I set up in the trust.

  23    Q.   Dr. Wright, Paragraph 3 says:                  "All Bitcoin and ledger

  24    assets are going to go into this joint agreement transferred

  25    into Tulip Trading by Mr. David Kleiman on June 2011 following

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   1    transfer to Mr. Kleiman from Dr. Wright on June 2011."

   2    A.   Uh-huh.

   3    Q.   On the 9th.    So, this document is saying you sent Bitcoin

   4    to Dave Kleiman.     Dave Kleiman is then putting them into Tulip

   5    Trading and now it's going into this trust, correct?

   6    A.   Into the algorithmic system, yes.

   7    Q.   So, Dr. Wright, this is yet another document purporting to

   8    show that Dave Kleiman has no right to the 1.1 million Bitcoin

   9    in the Tulip Trust, correct?

  10               MS. MCGOVERN:      Objection.               Mischaracterizes the

  11    evidence.

  12               THE COURT:    Sustained.

  13               Rephrase.

  14    BY MR. FREEDMAN:

  15    Q.   Dr. Wright, this is another document showing that you, your

  16    companies, Tulip Trading and Wright International Investments,

  17    are the sole beneficiaries of 1.1 million Bitcoin in the trust,

  18    correct?

  19    A.   This 1.1 million was actually spent.                         The Tulip Trading

  20    Bitcoin was purchased from a Russian exchange in 2011.                         The

  21    records are all available.            It's all in the blockchain.               So

  22    that Bitcoin there in Tulip Trading isn't the Wright

  23    International Trading -- sorry -- Wright International, Limited

  24    Bitcoin.    It is another group of Bitcoin.

  25         So very simply, you keep confounding the Bitcoin in one

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   1    company with the Bitcoin in another company.                          And you keep

   2    saying "mined," but this is not mined by me.                          This is purchased

   3    by me.

   4         Tulip Trading, Limited transferred control so that we could

   5    spend it.    This was not outside my control.                         This was not ones

   6    I couldn't spend.

   7    Q.   Let's just summarize this for a moment, Dr. Wright.                         Dave

   8    Kleiman dies in 2013, correct?

   9    A.   Yes.

  10    Q.   We saw you swore the Tulip Trust document was executed in

  11    2012, correct?

  12    A.   Yes.

  13    Q.   And, in fact, it's dated from 2012, correct?

  14    A.   Yes.

  15    Q.   And now we've seen that this Tulip Trust was created by

  16    Tulip Trading and Wright International Investments, correct?

  17    A.   Again, what you're confounding is the bit you're hiding and

  18    not showing, which is The Trust.                  You will find in this

  19    document, if you actually zoomed out and showed the full

  20    document rather than not letting me see it, that it involves

  21    The Trust, a DAC.      A DAC being a distributed autonomous

  22    corporation.

  23         That is now a big thing with Ethereum and all these other

  24    crypto, like how do we make a company that can operate

  25    autonomously.     So that's actually in here.

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   1               MR. FREEDMAN:      Ms. Vela, zoom out for Dr. Wright.

   2    BY MR. FREEDMAN:

   3    Q.   What am I hiding, Dr. Wright?

   4    A.   If you go up to line 2 -- line 3.                      Please highlight them

   5    and expand.     "We will undertake to agree and act in the process

   6    known as The Trust."      I said that multiple times.

   7         Being a DAC distributed autonomous corporation, formed

   8    using a split-key cryptographic process, which I said that the

   9    SSIs have voting power through the DAC and the software-based

  10    provisions formulated and the distribution of keys will be

  11    held.

  12         The entire thing that I've been saying I set up inside my

  13    trust, a DAC, a distributed autonomous corporation.                      The first

  14    one in human history.       That's it.

  15    Q.   Dr. Wright, I'm not quibbling with you about the form of

  16    the trust --

  17               MS. MCGOVERN:      I can't hear the question.

  18    BY MR. FREEDMAN:

  19    Q.   I said I'm not disputing with you the form of the trust.

  20    I'm talking about what you put into the trust.

  21    A.   No, you are, because you are confounding --

  22    Q.   Dr. Wright, there's no question pending.

  23               MR. FREEDMAN:      Ms. Vela, can you please go down to the

  24    highlighted question.       The highlighted part of this document.

  25

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   1    BY MR. FREEDMAN:

   2    Q.   Dr. Wright, this document says:                    "The assets to be settled

   3    in this joint agreement and deed between the parties include

   4    the 1,100,111 Bitcoin held under a former arrangement and the

   5    attached conditions"; isn't that true?

   6               MS. MCGOVERN:      Objection, Your Honor.                  The document

   7    speaks for itself and it's argumentative.

   8               THE COURT:    Sustained.

   9    BY MR. FREEDMAN:

  10    Q.   Dr. Wright, I want to go through these things in order so

  11    it's easy to follow.      Dave Kleiman dies in 2013, correct?

  12    A.   Correct.

  13    Q.   This document was executed in 2012, correct?

  14    A.   Executed and issued as copied to the Australian government.

  15    Same month.

  16               MR. FREEDMAN:      Ms. Vela, can you bring us to Page 1?

  17    BY MR. FREEDMAN:

  18    Q.   It was formed between Wright International Investments and

  19    Tulip Trading, IBC number 093344 on 23rd October 2012, correct?

  20    A.   Correct.

  21    Q.   Dr. Wright, isn't it true that you had no connection

  22    whatsoever to Tulip Trading until two years after this trust

  23    document was executed?

  24    A.   No.   Actually, the company was audited and was part of a

  25    court case.     It went into '12, '13 and then '14.                    So, you're

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   1    going to bring up the fact that some of my staff tried to get

   2    me in trouble with the tax office again.                          And you're going to

   3    ignore the fact that it's mentioned earlier again.                         So no.

   4    Q.    Dr. Wright, isn't that because you bought Tulip Trading II

   5    years after this trust document was allegedly executed?

   6               MS. MCGOVERN:      Objection, Your Honor.                   Lack of

   7    predicate.

   8               THE COURT:    Overruled.

   9               THE WITNESS:     No.

  10    BY MR. FREEDMAN:

  11    Q.    And, Dr. Wright, isn't it true that you purposely looked

  12    for and bought an aged shelf company so that in 2014 you could

  13    make it look like you had entered into a trust agreement in

  14    2012, the year before Dave Kleiman died?

  15    A.    Seeing as though I already had an aged company called

  16    Wright International Investments, that would be really silly.

  17    No.

  18               MR. FREEDMAN:      Ms. Vela, can you please put this down

  19    for a moment and bring up P522 for just counsel and the

  20    witness.

  21    Q.    Dr. Wright, do you recognize this as an email exchange

  22    between Denis Mayaka and yourself?

  23    A.    I recognize it as a known compromised email that happened,

  24    yes.

  25               MR. FREEDMAN:      Ms. Vela, can you go to Page 3, please.

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   1    BY MR. FREEDMAN:

   2    Q.   Do you see the name Tulip Trading, Limited, Dr. Wright?

   3    A.   I do.

   4               MR. FREEDMAN:      Your Honor, Plaintiffs offer P522 into

   5    evidence.

   6               MS. MCGOVERN:      No objection, Your Honor.

   7               THE COURT:    Admitted into evidence.

   8         (Plaintiffs' Exhibit 522 received into evidence.)

   9               MR. FREEDMAN:      Can we publish to the jury.

  10               And go with the last page.                   That's the first email,

  11    last page, Page 3.

  12    BY MR. FREEDMAN:

  13    Q.   Dr. Wright, the very first email in this chain comes from

  14    somebody named Denis -- Denis Mayaka?

  15               MR. FREEDMAN:      No.       No.       Ms. Vela, please zoom back

  16    out.   Zoom into the bottom half, please.

  17    BY MR. FREEDMAN:

  18    Q.   Dr. Wright, Denis Mayaka, do you see his signature at the

  19    bottom?

  20    A.   That's not his email.

  21    Q.   Do you see:    "Denis Mayaka" at the bottom?

  22    A.   I see:   "Denis Mayaka" against a thing that isn't Denis's

  23    email, yes.

  24    Q.   And, Dr. Wright, the title of the email is:                      Aged Shelf

  25    Company," correct?

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   1    A.   Yes.

   2    Q.   "Dear Craig:    We trust you are well.                       We received your

   3    message requesting an aged shelf company."

   4         Do you see that?

   5    A.   I do.

   6    Q.   This is -- this email comes from Denis Mayaka on October

   7    16th, 2014.     Do you see that?

   8    A.   No, because it's not his email.                    So if it's not his email,

   9    it doesn't come from him.           Anyone can type someone's name.

  10    Q.   I understand you contend it's not his email.                             You'll have

  11    an opportunity to try to prove that later.                            Okay?   Right now,

  12    I'd like you to focus on my questions.

  13         "We received your message requesting an aged shelf

  14    company."

  15         Do you see that?

  16    A.   I see that line.

  17    Q.   "Please find attached list of our shelf companies."

  18         Do you see that?

  19    A.   I do.

  20    Q.   "Kindly let us know which company you would like to take."

  21         Do you see that?

  22    A.   I do.

  23    Q.   Additionally, once you identify the company, please fill

  24    out the attached form and email it back to us.                           Do you see

  25    that?

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   1    A.   I also do.

   2               MR. FREEDMAN:      Ms. Vela, can you please just scroll up

   3    to the next message.

   4    BY MR. FREEDMAN:

   5    Q.   Dr. Wright, you respond back that same day.                          You say you

   6    want Tulip Trading, Limited.              This is October 16th, 2014.               Do

   7    you see that?

   8    A.   I see the line but, no, I didn't respond.

   9    Q.   And the formation date for the aged shelf company since

  10    it's aged, Dr. Wright, is July 21st, 2011.                            Do you see that?

  11    A.   I see the subject.

  12    Q.   And the IBC number for Tulip Trading, Dr. Wright, we've

  13    seen that number before, is 093344, right?

  14    A.   I see that number, yes.

  15    Q.   Same number on the trust document you swore is authentic,

  16    right?

  17    A.   The same trust document that went to the Australian Tax

  18    Office in 2012, yes.

  19    Q.   Are you saying you submitted a forged document to them too?

  20               MS. MCGOVERN:      Objection, Your Honor.                     Misstates the

  21    testimony.

  22               THE COURT:    Sustained.

  23               MR. FREEDMAN:      Ms. Vela, can you scroll up to the next

  24    email in the chain.      Little higher.

  25

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   1    BY MR. FREEDMAN:

   2    Q.   And, Dr. Wright, Denis Mayaka responded still that same

   3    day.   He says:    "Dear Craig:           One-off fees of US dollars,

   4    $1,850.    Annual fees from second year onwards $600.                         Does that

   5    work for you?"

   6         Do you see that?

   7    A.   I can see that that would be an extreme discount.

   8    Everything to do with Dennis's companies cost a lot more than

   9    that, so that's wrong.

  10    Q.   You're right, Dr. Wright.              You do end up paying a lot more

  11    than that.    Let's see what happens.

  12               MS. MCGOVERN:      Objection, Your Honor.                    These

  13    statements are not statements and they're gratuitous and

  14    inappropriate.

  15               THE COURT:    Overruled at this point.                      Let's continue.

  16    BY MR. FREEDMAN:

  17    Q.   Dr. Wright, you next respond.                  You say:          "Yes.   Please

  18    reserve it.     How do I pay?"

  19         Do you see that?

  20    A.   I see the line.

  21               MR. FREEDMAN:      Can you scroll up again, Ms. Vela.

  22    BY MR. FREEDMAN:

  23    Q.   Mr. Mayaka responds back.              He says:            "Dear Craig, thanks.

  24    The company has been reserved for you.                        Please fill out the

  25    attached form and email a signed copy.                        I've attached our bank

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   1    account details for your reference.                     Kindly email us SWIFT

   2    payment details once available.                 I'm available on Skype,

   3    telephone call to complete the form together if you need my

   4    help.    Please see my contact details on my email signature

   5    below.    I look forward to hearing from you.                         Regards, Denis."

   6         Do you see that.

   7    A.   I can see it.

   8                MR. FREEDMAN:     Ms. Vela, can you scroll up again,

   9    please.

  10    BY MR. FREEDMAN:

  11    Q.   You respond back.      We're now on October 17th, 2014.

  12    "Sorry.     I cannot see the bank details listed.                       Also please

  13    confirm three years at $600 plus $1,850 for a total of $3,650."

  14         Do you see that?

  15    A.   Yes.    I see this would have been a real discount on a shelf

  16    company.

  17                MR. FREEDMAN:     Keep going up please, Ms. Vela.

  18    BY MR. FREEDMAN:

  19    Q.   October 17th, 2014 Denis Mayaka responds:                         "Dear Craig,

  20    please find attached invoice and bank details.                          Please email us

  21    SWIFT details once available.               Best regards, Denis."

  22                MR. FREEDMAN:     Can you go up again, Ms. Vela, please.

  23    BY MR. FREEDMAN:

  24    Q.   Top email now, Dr. Wright, October 17th, 2014.                         You respond

  25    back to Denis Mayaka:       "Hello.           Due to the limits on the

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   1    account for new international transfers, this will be completed

   2    in parts.     It is too late to have the bank increase the limit

   3    before Monday.     Sorry.     Payment one is attached, US dollars

   4    $1,650.     Payment two is scheduled for midnight tonight, US

   5    $1,500.     Payment three is scheduled for midnight tomorrow, US

   6    dollars $1500.     Invoice two will process on Monday.                      Regards,

   7    Craig."

   8         Do you see that, Dr. Wright?

   9    A.   I do.

  10    Q.   Arranging for payment with Denis Mayaka, right?

  11    A.   Wrong.

  12    Q.   Dr. Wright, I'm going to switch us to another version of

  13    this email chain that contains some of the attachments that we

  14    were just referencing before.

  15                MR. FREEDMAN:     Ms. Vela, can you bring up P523 just to

  16    counsel and the witness.

  17    BY MR. FREEDMAN:

  18    Q.   You see it's called, subject, "Payment"?                         You're listed as

  19    the organizer?

  20    A.   Yes.    I don't recognize this.                Sorry.

  21                MR. FREEDMAN:     Ms. Vela, can you zoom out, please, and

  22    go to the next page.

  23    BY MR. FREEDMAN:

  24    Q.   You see this is the same email we've -- an email between

  25    you and Denis again talking about shareholders?

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   1    A.   Also don't recognize it.

   2                MR. FREEDMAN:     Okay.         Ms. Vela, can you go to the next

   3    page, please.

   4                See an invoice here.            Ms. Vela, can you highlight the

   5    company details for the invoice.

   6    BY MR. FREEDMAN:

   7    Q.   You see that?     You recognize that name, Tulip Trading,

   8    Limited?

   9    A.   Yes, and I notice that it's a different amount to the one

  10    that was before.     It doesn't -- it's not the nominee of $600.

  11    It is not a share so this is a different document.

  12                MR. FREEDMAN:     Ms. Vela, can you go to the next page

  13    please.

  14    BY MR. FREEDMAN:

  15    Q.   You see again this email chain that we were looking at

  16    before?     Denis Mayaka telling you he's going to send you an

  17    invoice and bank account details?                   We looked at this email

  18    already.     Do you see that, Dr. Wright?

  19    A.   Yes.    I see two different amounts.                     In the last one, it was

  20    $2,000 for shareholder services and this one it's $3,650, and

  21    it's completely different.            Yes.

  22    Q.   One for shareholder services, one for buying the company,

  23    Dr. Wright.

  24                MR. FREEDMAN:     Ms. Vela, can you bring us to the next

  25    page.

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   1               And the next page?

   2    BY MR. FREEDMAN:

   3    Q.   There we go, Dr. Wright, $3,650.                     Do you see that?

   4    A.   I do.   I don't recognize this document.

   5               MR. FREEDMAN:      All right.               At this point, Your Honor,

   6    Plaintiffs offer P523 in evidence.

   7               MS. MCGOVERN:      Object, Your Honor.                     Authentication.

   8    The witness has not identified the document.

   9               THE COURT:    Overruled.             I'll allow it.           Admitted into

  10    evidence.

  11         (Plaintiffs' Exhibit 523 received into evidence.)

  12               MR. FREEDMAN:      Ms. Vela, can you bring us to Page 9.

  13    BY MR. FREEDMAN:

  14    Q.   Here, Dr. Wright, you'll see the emails we just looked at

  15    between you and Denis Mayaka.

  16               MR. FREEDMAN:      Ms. Vela, can you zoom in to the top

  17    half of the emails.

  18    BY MR. FREEDMAN:

  19    Q.   Again, we've seen these emails, Dr. Wright.                         Company's been

  20    reserved for you, he gives you the price, he tells you the

  21    SWIFT details.     You tell him:            "I'm going to pay on a

  22    schedule," right?

  23    A.   No, I don't pay on schedules.                  My international transfer

  24    rate back then was $250,000 on a new client.                          And 20 million

  25    without authorization.        I've got a Black credit card.                    My

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   1    theoretical limit is 150 million, so I don't make

   2    thousand-dollar payments.           Sorry.

   3    Q.   Let's just look at what the documents say.                       Okay?   Please,

   4    Dr. Wright.

   5               MR. FREEDMAN:      If we go to Page 12, Ms. Vela.

   6    BY MR. FREEDMAN:

   7    Q.   Dr. Wright, do you see this is a transfer receipt?                       Top

   8    left corner.

   9    A.   I do.   I see that's what it purports to be.

  10               MR. FREEDMAN:      Ms. Vela, can you zoom out a little

  11    bit, please.

  12               No.   Zoom out.

  13               There we go.

  14    BY MR. FREEDMAN:

  15    Q.   Okay.   It's from Commonwealth Bank, Dr. Wright.                     Do you see

  16    that in the top left corner?

  17    A.   I see that there's a logo there, yes.

  18    Q.   Transfer receipt, the date is 17th of October, 2014.                       Do

  19    you see that?

  20    A.   I see the date.

  21    Q.   US dollars, $1,650, sent to Abacus Seychelles, Limited.                         Do

  22    you see that?

  23    A.   I see that.

  24    Q.   There's a receipt number.              Do you see that?

  25    A.   I do.

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   1    Q.   You're transferring to Abacus Seychelles, Limited.                         Do you

   2    see that?

   3    A.   Technically, their New York address there, and they're not

   4    in New York.     So that's erroneous.

   5    Q.   And "My Transfer Details," Dr. Wright, at the bottom, do

   6    you see where it says:        "Transfer from DeMorgan"?

   7    A.   No, it says:    "DeMorgan" -- "DeMorgan Expenses," and that's

   8    wrong.

   9    Q.   And it says you sent $1,650 US dollars.                          Do you see that?

  10    A.   No, it doesn't say that I sent that.

  11               MR. FREEDMAN:      Ms. Vela, can you highlight the top

  12    line in transfer details.

  13    BY MR. FREEDMAN:

  14    Q.   That literally says you sent $1,650 US dollars.

  15    A.   It doesn't say that I sent it.                    The line reads:       "You

  16    sent," but it doesn't say from me.

  17    Q.   Okay.   And do you see in the additional details it says:

  18    "Reason for transfer, message for recipient Invoice 393888?"

  19               MR. FREEDMAN:      Ms. Vela, can you highlight -- can you

  20    bring that up for us so we can see it easily.

  21    BY MR. FREEDMAN:

  22    Q.   Do you see that, Dr. Wright?

  23    A.   I do.

  24    Q.   This is your payment transfer, is it not?

  25    A.   No, it is not.

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   1               MR. FREEDMAN:      All right.               Ms. Vela, can you please

   2    bring up the Invoice 393888 which is on Page 6 of this PDF.

   3               Ms. Vela, can you highlight invoice number 393888

   4    right above the line on the left-hand side.

   5    BY MR. FREEDMAN:

   6    Q.   And, Dr. Wright, there's your invoice for $3,650 perfectly

   7    matching the amount, correct?

   8    A.   No.   Because that's -- you can't match something that's not

   9    the other document.      The other document isn't a payment from --

  10    transferred from my bank account.                   My bank account required two

  11    of three signatories who were directors.                          None of that's

  12    listed.    That's not a Commonwealth Bank transfer statement.                       It

  13    might be a piece of paper but it's not a transfer statement.

  14    So, no, that doesn't match.

  15    Q.   You'll have an opportunity to prove that when your lawyers

  16    talk to you, Dr. Wright.          For now, let's focus on the

  17    documents.    Okay?

  18    A.   Well, you want me to match things -- and you're saying --

  19    but they're not.

  20    Q.   Dr. Wright, the invoice is issued by Abacus Seychelles.

  21    Top right corner's got their logo.                     Do you see that?

  22    A.   I don't know if that's their logo.

  23    Q.   "Company details, Tulip Trading, Limited."

  24         Do you see that?

  25    A.   I do.

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   1    Q.   "Date -- "Invoice date, October 17th, 2014."                           Do you see

   2    that?

   3    A.   Yes, I do.

   4    Q.   Purchase of Seychelles 2011 shelf company.                           Do you see

   5    that?

   6    A.   I do.

   7    Q.   So, Dr. Wright, you purchased Tulip Trading on

   8    October 17th, 2014, did you not?

   9    A.   No.   And nor could I.         As I said, the corporate accounts

  10    for DeMorgan were run by the CFO and had to be signed off as a

  11    separate process.      All of the accounts went through on two

  12    monthly payments, one on the 15th, one on the 30th, unless it

  13    was like a 28th.

  14         They were put through by Ali Lodi who was the accountant,

  15    and then signed off by John Chesher on the first thing.                            Once

  16    they went through there, it had to be then cosigned by either

  17    Ramona, my wife, myself, or Ellen Granger, who was the audit

  18    head committee.     The person who would sign it on the document

  19    would be listed and the cosigner would be listed.

  20         We -- that wouldn't be shared because we all had biometric

  21    thumbprint things that recorded our name.                             So, all of our

  22    transaction things were recorded and had the little one-time

  23    tokeny things.     So I can categorically say that is not a

  24    transfer from our documents or our company.                            Sorry.

  25    Q.   Dr. Wright, you purchased Tulip Trading on October 17th,

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   1    2014, two years after you claim it created the Tulip Trust to

   2    hold the 1.1 million Bitcoin you now claim Dave has no right

   3    to; isn't that correct?

   4    A.   Multiple questions again.              One, Tulip Trading was put into

   5    evidence in a court case in Australia in 2012.

   6         Two, the purchase of Bitcoin was made to Tulip Trading from

   7    a Russian exchange in 2011.             It wasn't mined.              That was

   8    documented.

   9         Three, the purchase that you're talking about here would be

  10    after the already-existing company had been part of the audits

  11    that you're talking about and, thus, if they're already part of

  12    a tax audit, what you're saying, that I've been in a tax audit

  13    for a year using this company that now this document comes up.

  14    So ...

  15    Q.   One more thing, Dr. Wright.                We've seen that date, October

  16    17th, 2014, before, haven't we?

  17    A.   I've seen October 17th in many correspondences in my life,

  18    yes.

  19               MR. FREEDMAN:      Ms. Vela, can you put the purchase of

  20    Tulip Trading on the left-hand side on October 17th, 2014.                       And

  21    can you please bring up P518 which is the draft forgery of Dave

  22    Kleiman's email.

  23               MS. MCGOVERN:      Objection, Your Honor.

  24    Mischaracterizes the record.

  25               MR. FREEDMAN:      They're both in evidence.

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   1               THE COURT:    All right.             The objection is sustained.

   2    If you'll identify it.

   3               MR. FREEDMAN:      P518.

   4               THE COURT:    518.

   5               MR. FREEDMAN:      It's in evidence.

   6               THE COURT:    Yeah, 518 is in evidence, the email.

   7    There are other parts of 518 but that is in evidence.

   8               MR. FREEDMAN:      Ms. Vela, can you highlight the date

   9    for me.

  10    BY MR. FREEDMAN:

  11    Q.   Dr. Wright, October 17th, 2014 is the same date that

  12    appears in the draft email you forge from Dave Kleiman to make

  13    it look like he agreed to the trust in 2011; isn't that

  14    correct?

  15    A.   Not at all.    And very simply, if no transfer went through,

  16    then everything stays in Wright International.                        So all you're

  17    doing is saying no transfer went from Wright International into

  18    Tulip Trading.

  19         So, my company into my company.                    And your argument is I

  20    defrauded someone by leaving it in one of my companies or

  21    moving it to one of my companies from one of my companies.                       Not

  22    to Dave, my company.

  23    Q.   October 17th, 2014 was a pretty busy day for you,

  24    Dr. Wright, was it not?

  25    A.   No.   Actually, it wasn't.

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   1    Q.   Truth is, Dr. Wright, you forged both versions of the Tulip

   2    Trust we just looked at in order to make it seem like Dave

   3    Kleiman signed off on you owning the full 1.1 million Bitcoin

   4    that you both mined in partnership as Satoshi Nakamoto; isn't

   5    that correct?

   6               MS. MCGOVERN:      Objection, Your Honor.                      Asked and

   7    answered multiple times.

   8               THE COURT:    Overruled.

   9               THE WITNESS:     Again, this is Tulip Trading.                       Tulip

  10    Trading listed as purchasing Bitcoin in 2011.                            I purchased them

  11    from a Russian exchange.          They were dodgy, I know.                    But

  12    everyone was dodgy in 2011 to do with the Bitcoin world.                               I

  13    used Liberty Reserve funds from my gaming operations.                            I know

  14    your government doesn't like gambling.

  15               I'm not American.          I transferred that money that I

  16    owned in Costa Rica and Panama and other places.                            And yes, I

  17    know your government doesn't like poker.                          I do.    I transferred

  18    that to pay for things and that was then put into my company

  19    from my company.

  20               So the simple answer here is the Bitcoin you're trying

  21    to say are mined have nothing to do with Bitcoin I mined in

  22    2009.

  23               The simple thing is you're trying to say one million

  24    Bitcoin, Satoshi, everyone knows.                   Wrong.            There were one

  25    million Bitcoin or so, a little bit less, and plus remainders

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   1    that I mined and there were one million that I bought and

   2    there's extra on top of that.               So, you're wrong, wrong, and

   3    incorrect.

   4    BY MR. FREEDMAN:

   5    Q.    Dr. Wright, Tulip Trading could not have signed a trust

   6    deed in 2012 as relates to your Bitcoin because you didn't own

   7    it until 2014, correct?

   8    A.    Absolutely wrong still.

   9               MR. FREEDMAN:      Thank you, Ms. Vela.                    You can take

  10    those down.

  11    BY MR. FREEDMAN:

  12    Q.    Dr. Wright, isn't it true that after Dave's death you took

  13    actual control over all 1.1 million Bitcoin?

  14    A.    Again, you're talking about the Bitcoin that I purchased --

  15    if you're doing that one at that stage, that I purchased using

  16    my money from my companies in 2011 and that I put into

  17    basically a thing to make sure the government couldn't touch

  18    it.    The reason I did this was very simple.                         My lawyer at the

  19    time, Andrew Sommer, alerted me, saying that with the court

  20    case I had been fighting since 2009, the tax office had issued

  21    bankruptcy proceedings.         Bankruptcy proceedings that would have

  22    effectively put an administrator over my estate, meaning that

  23    the court case I later won would have been closed.

  24          The dirty tactics that the damn government in Australia did

  25    was to try and close my company -- stop my court case before I

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   1    won it.    The way they wanted to stop my court case was

   2    basically to screw me over by bankrupting me, which they didn't

   3    get to do.    I won.    And basically I had Dave help me ensure

   4    that nothing was in my control so that they couldn't bankrupt

   5    me.    That's the real story.

   6    Q.    Dr. Wright, within months of Dave's death, you told a

   7    prospective counter-party for a business transaction that your

   8    companies controlled a little over 1 million Bitcoin, did you

   9    not?

  10    A.    At one stage, they controlled over one million Bitcoin.

  11    That was again talking about Tulip Trading.                           We did not discuss

  12    anything to do with the 800-something thousand in Wright.                          We

  13    didn't discuss any other rights we owned.

  14          We talked about one thing for one company and that was

  15    discussed before Dave died, as well as when people asked on

  16    that particular area afterwards.

  17               MR. FREEDMAN:      Ms. Vela, can you please bring up P091

  18    for the witness and counsel.

  19    BY MR. FREEDMAN:

  20    Q.    Dr. Wright, do you recognize this as an email between

  21    yourself and Roger Manu describing the amount of Bitcoin you

  22    controlled?

  23    A.    Again, no.   We're talking about the Bitcoin in a particular

  24    company.

  25               MR. FREEDMAN:      Plaintiffs offer P091 into evidence,

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   1    Your Honor.

   2               THE COURT:    Any objection?

   3               MS. MCGOVERN:      No objection, Your Honor.

   4               THE COURT:    Admitted into evidence.

   5         (Plaintiffs' Exhibit 091 received into evidence.)

   6               MR. FREEDMAN:      Can we publish to the jury, please?

   7    BY MR. FREEDMAN:

   8    Q.   Dr. Wright, we're looking at an email from yourself to

   9    Roger Manu, a company called Rubik.                     The date is September

  10    23rd, 2013.     We're about five months after Dave dies, correct?

  11    A.   It's about that time frame, yes.

  12               MR. FREEDMAN:      Ms. Vela, can you highlight:                   "We

  13    control what is all up a little over 1 million Bitcoin."

  14               THE WITNESS:     Is that a question?

  15               MR. FREEDMAN:      Just waiting for the highlight,

  16    Dr. Wright.

  17    BY MR. FREEDMAN:

  18    Q.   Do you see that, Dr. Wright?

  19    A.   I see that, yes.

  20    Q.   In fact, Dr. Wright --

  21               MR. FREEDMAN:      Thank you, Ms. Vela.                    You can take that

  22    down.

  23    BY MR. FREEDMAN:

  24    Q.   In fact, Dr. Wright, you told the Australian government

  25    that you obtained Dave's Bitcoin after he died, did you not?

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   1    A.   No, I did not.

   2               MR. FREEDMAN:      Ms. Vela, can you please bring up P633

   3    for just the witness and opposing counsel?

   4               I don't know if this is in evidence.                       Is P633 in

   5    evidence?    P633.

   6    BY MR. FREEDMAN:

   7    Q.   In the meantime, Dr. Wright, do you see it's an email from

   8    yourself to Michael Hardy at the Australian Tax Office with a

   9    cc to your wife?     In it, you discuss Bitcoin addresses and Dave

  10    Kleiman himself.     Do you see that?

  11    A.   It's a cc to Jamie Wilson and my wife.

  12    Q.   Do you see that, Dr. Wright?

  13    A.   I see that it is, yes.

  14               MR. FREEDMAN:      Plaintiffs' offer P633 into evidence,

  15    Your Honor.

  16               MS. MCGOVERN:      No objection, Your Honor.

  17               THE COURT:    Admitted into evidence.

  18         (Plaintiffs Exhibit 633 received into evidence.)

  19    BY MR. FREEDMAN:

  20    Q.   Dr. Wright, do you see a list of Bitcoin addresses?

  21    A.   I do.

  22    Q.   You see the total down there, 416,000, then the bunch of

  23    other totals below that?

  24    A.   I do.

  25               MR. FREEDMAN:      Ms. Vela, can you please highlight the

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   1    portion of the email where Dr. Wright tells the Australian Tax

   2    Office:    "The addresses are in my control now as a matter of

   3    fate and other circumstances.               David Reese and David Kleiman

   4    have both been essential parts of this project."

   5    BY MR. FREEDMAN:

   6    Q.   Do you see that?

   7    A.   I do.

   8    Q.   Dr. Wright, when you said:               "These addresses are now in my

   9    control as a matter of fate and other circumstances," you meant

  10    because Dave died, did you not?

  11    A.   No, I did not.

  12               MR. FREEDMAN:      Ms. Vela, can you please play clip 44

  13    from Dr. Wright's March 18th, 2020 deposition.

  14         (Video played.)

  15    BY MR. FREEDMAN:

  16    Q.   Dr. Wright --

  17               MR. FREEDMAN:      Ms. Vela, can you please bring up P633

  18    again?

  19               This is in evidence.             Thank you.

  20               And highlight:       "These addresses are in my control now

  21    as a matter of fate and other circumstances.                          David Reese and

  22    Dave Kleiman were both essential parts of this project.                         Dave

  23    Kleiman was my best friend."

  24               Thank you, Ms. Vela.

  25

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   1    BY MR. FREEDMAN:

   2    Q.   Dr. Wright, you conveyed to the ATO that you picked up

   3    Bitcoin ownership from Dave Kleiman, did you not?

   4    A.   No.   Actually I came nowhere close to doing anything like

   5    that.

   6               MR. FREEDMAN:      Ms. Vela, can you please bring up P127.

   7    And can we go to Page 31?

   8               I believe P127 is in evidence.

   9               MS. MCGOVERN:      It is.

  10               MR. FREEDMAN:      Can we publish to the jury, please.

  11               And, Ms. Vela, can you zoom in on 1 through 15 or so.

  12               Okay.   That works.

  13    BY MR. FREEDMAN:

  14    Q.   Dr. Wright, this is Mr. Dolevski from the Australian

  15    Taxation Office talking.          He says:             "We thought" --

  16               MR. FREEDMAN:      Ms. Vela, can you highlight from there.

  17    BY MR. FREEDMAN:

  18    Q.   "We thought" --

  19               MR. FREEDMAN:      Three lines up from the bottom.

  20    BY MR. FREEDMAN:

  21    Q.   "We thought, yes, you have picked up some Bitcoin ownership

  22    from the deceased director.             So we are trying to, you know, get

  23    the picture and connect all the dots."

  24         Do you see that?

  25    A.   I see another document that you're purporting to be a

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   1    document from the ATO that isn't.                   Yes.        And, no, he didn't say

   2    that.

   3               MR. FREEDMAN:      Thank you, Ms. Vela.                    You can put that

   4    down.

   5    BY MR. FREEDMAN:

   6    Q.   Dr. Wright, after you assumed control of Dave Kleiman's

   7    share of the Bitcoin and forged trust documents, you took other

   8    steps to protect the assets you took; isn't that correct?

   9               MS. MCGOVERN:      Objection, Your Honor.

  10    Mischaracterizes the evidence in the record.

  11               THE COURT:    Sustained.

  12    BY MR. FREEDMAN:

  13    Q.   Dr. Wright, you took other steps to protect assets.                        Is

  14    that not correct?

  15    A.   I've taken steps to protect my family's assets all through

  16    my life right back from the 90s protecting my mother's assets,

  17    protecting my sister's assets, so yes, I protect my family's

  18    assets.

  19    Q.   And you purposely made sure they weren't a trustee of these

  20    trusts because then people could force you to move coins and

  21    could seize assets from you; isn't that correct?

  22    A.   That is incorrect in so many ways.

  23               MR. FREEDMAN:      Your Honor, we're seeking to impeach

  24    Dr. Wright with an exhibit that again is an impeachment-only

  25    exhibit and it's a video.

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   1               MS. MCGOVERN:      Citation?

   2               MR. FREEDMAN:      It's a video.                 It's an impeachment

   3    exhibit.

   4               MS. MCGOVERN:      Can we see if it's proper impeachment,

   5    Mr. Freedman?     Hasn't been proper impeachment along the way.

   6               MR. FREEDMAN:      The Court's rules don't require --

   7               MS. MCGOVERN:      We would --

   8               MR. FREEDMAN:      The Court's rules don't require listing

   9    of impeachment exhibits.

  10               MS. MCGOVERN:      If, in fact --

  11               THE COURT:    All right.             In fairness, why don't you

  12    provide Ms. McGovern the page and line before you play it to

  13    the jury.

  14               MR. FREEDMAN:      It's a YouTube video, Your Honor.

  15               THE COURT:    All right.             Do you have the number?

  16               MR. FREEDMAN:      It's a YouTube video.

  17               THE COURT:    And Ms. McGovern hasn't seen it?

  18               MR. FREEDMAN:      It's an impeachment exhibit.                The Court

  19    doesn't require disclosure of those exhibits, Your Honor.

  20               MS. MCGOVERN:      That's a position that's different

  21    than --

  22               THE COURT:    Do you have a date for her, so at least

  23    she --

  24               MR. FREEDMAN:      It's January 23rd, 2020, a

  25    Cointelegraph Interview with Dr. Craig Wright.

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   1               MS. MCGOVERN:      Your Honor, it's -- we would like to

   2    have an opportunity to look at this impeachment, particularly

   3    because we may have other objections.                       I thought this was a

   4    deposition clip so it's a completely different issue, Your

   5    Honor.    We could have time to take a look at it and bring that

   6    up tomorrow morning.

   7               THE COURT:    I agree.           I agree.            We're not going to

   8    conclude tonight so let's move to another topic and you can

   9    review that this evening.

  10               MR. FREEDMAN:      Your Honor, I can show Ms. McGovern the

  11    exact script text of what we're going to play.

  12               THE COURT:    All right.

  13               MS. MCGOVERN:      I'd like to see the YouTube video, Your

  14    Honor, for purposes of prejudice and others.                          Just looking at

  15    the text is not sufficient, Your Honor.                         I'd like an

  16    opportunity to review.

  17               THE COURT:    If it's Dr. Wright on the video, then I

  18    think it is the text that is important.

  19               MS. MCGOVERN:      I'm just saying we haven't seen it so

  20    to the extent --

  21               THE COURT:    I understand.

  22               MS. MCGOVERN:      -- if it's over-inclusive.

  23         (Pause in proceedings.)

  24               MS. MCGOVERN:      Your Honor, this is out of context.                     We

  25    object to the use of it.          It's unduly prejudicial.                 It's being

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   1    used for a purpose we don't believe is proper, Your Honor.

   2    We'd like an opportunity to address this with the Court.

   3                 THE COURT:   All right.              For purposes of the Rule of

   4    Completeness, if it is being taken out of context, I am going

   5    to give Ms. McGovern an opportunity to review it and let's move

   6    on.    You certainly will have the opportunity tomorrow.

   7    BY MR. FREEDMAN:

   8    Q.    Dr. Wright, you have claimed now to have more money than

   9    the country of Rwanda; is that not true?

  10                 MS. MCGOVERN:      Objection, Your Honor.                  Unduly

  11    prejudicial.     Relevance.

  12                 THE COURT:   Overruled.              You may answer the question.

  13                 THE WITNESS:     I was sitting in a group of African

  14    countries trying to help them actually create digital money for

  15    their people.     And I got angry when a whole lot of people from

  16    EOS and other things basically did a whole pump-and-dump scam

  17    on them.     And those people in those countries ended up losing

  18    money.    So yes, when I was angry, I actually said that.

  19    BY MR. FREEDMAN:

  20    Q.    And do you have more country -- you have more money than

  21    the country of Rwanda, correct?

  22    A.    Yes.

  23    Q.    And, Dr. Wright, you claim to be a multi-billionaire now;

  24    is that not correct?

  25                 MS. MCGOVERN:      Objection, Your Honor.                  Relevance.

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   1               THE COURT:    Sustained.

   2               MR. FREEDMAN:      Your Honor, can we approach for a

   3    moment?

   4               MS. MCGOVERN:      Your Honor, can we take this up --

   5               THE COURT:    Why don't we take it up in five minutes

   6    when we're going to adjourn for the day.

   7               MS. MCGOVERN:      Thank you.

   8               MR. FREEDMAN:      Then I have no more questions for

   9    today, Your Honor.

  10               THE COURT:    There isn't another area that you could

  11    move to, or have you concluded your direct examination with the

  12    exception of the video and this issue?

  13               MR. FREEDMAN:      I could move forward, Your Honor, and

  14    I'm happy to, but I would stop in the middle of a section.                           If

  15    you want me to go forward, I will.

  16               THE COURT:    We have five minutes.                        Could we just start

  17    and ...

  18    BY MR. FREEDMAN:

  19    Q.   Okay.   Dr. Wright, you were in touch with Robert MacGregor

  20    in early 2016?

  21    A.   At different points, yes.

  22    Q.   And Robert MacGregor wanted you to come out as Satoshi; is

  23    that correct?

  24    A.   He wanted to script a media outing, yes.

  25    Q.   Did Robert MacGregor want you to come out as Satoshi

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   1    Nakamoto?

   2    A.   I can't speak for Robert MacGregor.

   3               MR. FREEDMAN:      Ms. Vela, can you please play clip 992

   4    of Dr. Wright's deposition from March 16th, 2020?

   5         (Video played.)

   6    BY MR. FREEDMAN:

   7    Q.   Dr. Wright, specifically, Robert MacGregor hired PR

   8    consultants to help coordinate press events to facilitate you

   9    coming out as Satoshi Nakamoto; am I correct?

  10               MS. MCGOVERN:      Objection.               Foundation.     Lack of

  11    predicate, Your Honor.

  12               THE COURT:    Overruled.

  13               THE WITNESS:     I don't actually know.                    I know I got

  14    really angry with Robert MacGregor.                     I know he did a whole lot

  15    of things I didn't like.          I know there were PR people hired.                       I

  16    know that media things were done.                   I do not know all of the

  17    details.

  18               I know that a lot of people scripted my life at the

  19    time and I know that while I was in different countries

  20    doing -- like working, people planned things I didn't want

  21    because I allowed things to get out of control.

  22               MR. FREEDMAN:      Ms. Vela, can you play please clip

  23    number 93 from Dr. Wright's deposition.

  24         (Video played.)

  25

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   1    BY MR. FREEDMAN:

   2    Q.   Dr. Wright, Robert MacGregor wanted this media plan so he

   3    could quickly sell off nChain, correct?

   4               MS. MCGOVERN:      Objection.

   5               THE COURT:    The basis?

   6               MS. MCGOVERN:      Predicate, Your Honor.                      Lack of

   7    foundation.     There's nothing in the record.

   8               THE COURT:    Overruled.             If the witness knows.

   9               THE WITNESS:     As I said, I don't know whether it was

  10    really Robert MacGregor.          Robert MacGregor and I rub the wrong

  11    way is what -- I mean, he makes me particularly angry.                              We

  12    don't get on at all.      He -- he's worse than you in those

  13    depositions with me.

  14               I really -- I'm trying to say it without sounding

  15    Australian and swearing.          Let's just say I really don't like

  16    MacGregor and I probably blamed him more than he should be

  17    blamed.

  18    BY MR. FREEDMAN:

  19    Q.   Did he want a media plan to sell off nChain?

  20    A.   I actually don't know.           I don't know if it was him or

  21    others behind him.

  22    Q.   All right.    Dr Wright, do you recall Nick Caley being one

  23    of the people being employed for The Outside Organisation of

  24    those PR events of you coming out as Satoshi Nakamoto?

  25    A.   That isn't an exact characterization.                            Nick was -- I don't

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   1    know how Nick was involved.             I don't know if it was actually

   2    working for them, or consulting or -- so I don't really know.

   3               MR. FREEDMAN:      Ms. Vela, can you please bring up P630

   4    for just the witness and counsel.

   5    BY MR. FREEDMAN:

   6    Q.   Dr. Wright, you see this is an email from yourself

   7    commenting on an email from Victoria Brooks?

   8               MR. FREEDMAN:      And, Ms. Vela, can you bring us down to

   9    Page 4.

  10               THE WITNESS:     I don't actually see that it's from me.

  11    It says:    "NChain Craig," but that doesn't mean --

  12               MS. MCGOVERN:      Objection.               The exhibit is not in

  13    evidence at this point.

  14               MR. FREEDMAN:      It is not.

  15               MS. MCGOVERN:      Object to the use -- to the reference

  16    of the substantive nature of it until it is.

  17               THE COURT:    I don't think there was a question

  18    pending.    It was a gratuitous comment by the witness.

  19               MS. MCGOVERN:      I agree.            I agree.

  20               THE COURT:    All right.

  21               MR. FREEDMAN:      Ms. Vela, can you highlight the first

  22    name that appears after the word contacts.

  23               All the way down.          Thank you.

  24    BY MR. FREEDMAN:

  25    Q.   Dr. Wright, does that refresh your recollection that Nick

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   1    Caley was a media consultant with The Outside Organisation?

   2    A.    No, because nChain Craig isn't -- that's not my email.                        So

   3    there are other Craigs, but that's not mine.                          I don't recognize

   4    it.

   5               MR. FREEDMAN:      Okay.         Ms. Vela, can you please bring

   6    up P236.

   7    BY MR. FREEDMAN:

   8    Q.    And, Dr. Wright, do you recognize this as again another

   9    email between you and Victoria Brooks including Nick Caley from

  10    The Outside Organisation?

  11    A.    I don't.

  12    Q.    And you are discussing Satoshi in these emails.                       Do you see

  13    that?

  14    A.    I don't recognize this email.

  15               THE COURT:    This was withdrawn.                      Is this a Joint

  16    Exhibit?    It's showing on the Plaintiffs' list as being

  17    withdrawn.

  18               MR. FREEDMAN:      I'm just trying to refresh

  19    recollection, Your Honor.

  20               THE COURT:    You're not seeking --

  21               MR. FREEDMAN:      I'm not seeking to admit it.

  22               THE COURT:    All right.             Thank you.

  23               MR. FREEDMAN:      Actually, Your Honor, I'm trying to

  24    establish foundation for a further document down the line.                          So

  25    this -- trying to establish who Nick Caley is first.                         Trying to

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   1    refresh Dr. Wright's recollection as to who Nick Caley was and

   2    that's all this document will be used for.

   3               THE COURT:     All right.

   4    BY MR. FREEDMAN:

   5    Q.   Dr. Wright --

   6               MR. FREEDMAN:       Thank you, Ms. Vela.

   7    BY MR. FREEDMAN:

   8    Q.   Dr. Wright, do you recall that as part of these publicity

   9    efforts you were scheduled to meet with a variety of

  10    journalists?

  11    A.   I ended up meeting with a few journalists, yes.

  12               MR. FREEDMAN:       Ms. Vela, can you please bring up P359.

  13               And you know what, Ms. Vela?                      Can you take that down

  14    for a moment.

  15    BY MR. FREEDMAN:

  16    Q.   And do you recall that these media organizations were

  17    attempting to prepare you for various interviews?

  18    A.   No.   That's not how I would say it.

  19               THE COURT:     Let me know when it might be a good time

  20    for us to adjourn for the day.

  21               MR. FREEDMAN:       Whenever works for the Court, Your

  22    Honor.     Now is fine.

  23               THE COURT:     Then, Ladies and Gentlemen, as you can

  24    see, it is a few minutes after 5:00.                       We're going to adjourn

  25    for the evening.     Please remember you're not to discuss the

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   1    case with anyone, nor permit anyone to speak to you.

   2    Everything learned about the case is learned within this

   3    courtroom.    You're not to conduct any outside research.

   4               I will see you tomorrow morning.                           Please make your way

   5    into the building.      Be ready to come into the courtroom by

   6    10:00, so if you'll come into the building about 9:45, 9:50.

   7               Have a pleasant evening and I'll see you tomorrow

   8    morning.

   9         (Jury not present, 5:04 p.m.)

  10               THE COURT:    Dr. Wright, you can join your attorneys at

  11    counsel table.

  12               THE WITNESS:     Thank you, Your Honor.

  13               THE COURT:    And with regard to the YouTube video, why

  14    don't you show or at least provide the link for Ms. McGovern

  15    and we can address it if need be tomorrow morning.

  16               What other issues do we have?

  17               MS. MCGOVERN:      I've received it, Your Honor.                      Thank

  18    you very much.

  19               MR. FREEDMAN:      The only other issue, Your Honor, is

  20    that --

  21               THE COURT:    Go ahead and have a seat, please.

  22               Yes, Mr. Freedman, what other issues, sir?

  23               MR. FREEDMAN:      Your Honor, the only other issue is

  24    that this case involves a claim for punitive damages.                            In a

  25    claim for punitive damages, the net worth of the Defendant is

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   1    at issue.    And so Plaintiffs are seeking to introduce

   2    statements by the Defendant himself stating that he's a

   3    multi-billionaire and other comments to advise the jury of net

   4    worth for the punitive damages claim.                       So, Ms. McGovern

   5    objected on relevance.

   6               MS. MCGOVERN:      Yeah, Your Honor.                       We object to net

   7    worth, you know, testimony elicited at this juncture.                            There's

   8    been nothing in the record that has linked the Plaintiffs'

   9    claim to a single public address of Bitcoin.                            There's been

  10    nothing in this case that links a single identifiable piece of

  11    intellectual property to David Kleiman.                         And --

  12               THE COURT:    That's somewhat beside the point.                        And the

  13    argument is that there is a claim for punitive damages.                            So why

  14    would that not be relevant?

  15               MS. MCGOVERN:      Your Honor, we understand.                      But we

  16    believe that at this juncture, punitive damages net worth

  17    testimony in the absence of any evidence in the case with

  18    respect to the underlying claims is unduly prejudicial.                            It's

  19    going to lead the jury to believe that simply because

  20    Dr. Wright may have the rights to what is an enormous amount of

  21    Bitcoin, it is going to sway the jury and cause the jury to be

  22    sympathetic on the claims before them without first

  23    adjudicating whether, in fact, the claims exist.

  24               At this juncture, without the requisite predicate of

  25    the underlying intellectual property -- and there is not a

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   1    single piece of intellectual property that's been

   2    established -- without a single public address with Bitcoin.

   3               In fact, Your Honor, I'd like to raise, in light of

   4    the fact that we're addressing punitive damage testimony and

   5    evidence in this case at this juncture, we have been not

   6    advised if the confidential witness is even going to be

   7    testifying with respect to the particular public address that

   8    is not claimed to be owned by Dr. Wright, but is now -- somehow

   9    appears to be part of a public address with an enormous amount

  10    of Bitcoin that's going to become part of the Plaintiffs'

  11    claim.    It's convoluted, Your Honor.                    It's unduly prejudicial.

  12    It's premature.

  13               MR. FREEDMAN:      Your Honor, I would object strongly to

  14    the characterization that there's been no evidence that there

  15    was joint Bitcoin mining in this case and the creation of

  16    intellectual property.        Defendants will have an opportunity to

  17    move for directed verdict, and certainly this Court will not be

  18    persuaded by net worth testimony.                   And so if there really has

  19    been no evidence, the Court will ensure the case does not

  20    proceed further.

  21               At this point, there was no motion to bifurcate the

  22    trial to bifurcate punitives from compensatories.                     Punitive

  23    damages is a live claim in this action, and it is quite clear

  24    that net worth evidence is permissible and relevant to the

  25    claims at issue.

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   1               MS. MCGOVERN:      Your Honor, if I may be heard on a

   2    final point?

   3               THE COURT:    Ms. McGovern?

   4               MS. MCGOVERN:      And that is that the evidence that's

   5    being elicited with respect to net worth at this juncture is

   6    not to establish the necessity for punitive damages at this

   7    point.    It is to sway the jury on sympathy grounds.

   8               And in light of the fact that there is an enormous

   9    disparity, we have a deceased individual and we have a person

  10    who is alive and we have an alleged amount of Bitcoin.                     It is

  11    going to be prejudicial.          It is 403.              It's improper and it's

  12    also unnecessary, Your Honor.

  13               There is a procedure that can provide the Plaintiffs

  14    at the proper time with the evidence that they need when the

  15    jury is properly going to decide it.                      At this point, there's

  16    nothing that's going to happen here except an unfair bias

  17    against Dr. Wright.      And we've seen that with respect to the

  18    YouTube video and with respect to the comment regarding having

  19    more money than Rwanda.

  20               THE COURT:    But when you represent to the Court that

  21    there's a procedure that is necessary, that's what this trial

  22    is for.    The parties had a full opportunity during the course

  23    of discovery to file a motion with regard to bifurcating this

  24    issue.

  25               Certainly, the Court could have addressed the issue of

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   1    punitive damages.      And I look at both parties' proposed verdict

   2    forms, and it states specifically on the verdict form that has

   3    been submitted by both parties:                 "If you found in favor of the

   4    Estate of Dave Kleiman and/or W&K Info Defense Research, LLC

   5    for their conversion, fraud, or constructive fraud claims, then

   6    you must decide whether punitive damages are appropriate.                        And

   7    if so, evaluate the amount of punitive damages to award to the

   8    Estate of David Kleiman and/or W&K Info Defense Research."

   9               So, to the extent that evidence is properly presented

  10    with regard to punitive damages, I agree that net worth and

  11    assets that may be available is certainly admissible at the

  12    time of trial.

  13               And if there is no evidence, as you say, Ms. McGovern,

  14    then the Court will address that at close of either the

  15    Plaintiffs' case or the close of all the evidence.                        But at this

  16    point, I don't see why 403 would bar it when its relevance is

  17    certainly not a remote concept.                 It certainly outweighs any

  18    danger of unfair prejudice when it's a direct issue in this

  19    case, and the Court will be instructing the jury in that

  20    regard.

  21               MS. MCGOVERN:      Your Honor, if I may make a final point

  22    because I understand we obviously have a record to make as

  23    well, Your Honor.      So, for purposes of being able to fully make

  24    that record, I'd like to state the following:                         We understand

  25    that there are procedures and there is timing for things to be

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   1    done and that's been raised multiple times.                           So to the extent

   2    that we have missed that mark in certain points -- I don't

   3    believe that we have, but that doesn't mean that at a given

   4    juncture in a trial -- you can recognize that the circumstances

   5    of that trial, the evidence that's been elicited in the trial,

   6    don't require an evaluation of what is appropriate.

   7               At this point, Your Honor, we object to the

   8    elicitation of what Dr. Wright's net worth is for purposes of

   9    punitives when we haven't seen anything that shows the Bitcoin

  10    that Dave Kleiman is entitled to or intellectual property that

  11    Dave Kleiman contributed to that has an ascertainable value and

  12    damages that can be ascertainable.

  13               So, for purposes of eliciting that testimony now, we

  14    believe there's only one result that can happen.                          It's

  15    certainly not probative value for the Plaintiffs in terms of

  16    being able to establish damages at this point, Your Honor.

  17    It's for purposes of establishing the disparity and the

  18    sympathy with a deceased individual and a wealthy one.

  19               THE COURT:    But you have not presented to the Court

  20    any evidence or really by way of any case law or other support

  21    that would tell the Court that Mr. -- or Dr. Wright's net worth

  22    or the amount of Bitcoin that he may hold and the value of same

  23    would not be admissible in evidence.

  24               MS. MCGOVERN:      No, Your Honor.

  25               THE COURT:    I mean, there's no authority for that at

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   1    this point when punitive damages are a direct issue.                  I know

   2    you're making the argument, but there's no evidence.                  And

   3    that's an argument to be made at the close of the Plaintiffs'

   4    case.

   5               But that's somewhat separate and apart from whether

   6    the Plaintiff has the opportunity to present evidence of

   7    Dr. Wright's net worth and the amount of Bitcoin or other

   8    property he may hold.

   9               MS. MCGOVERN:      Your Honor, if I may, I think this is

  10    an unusual case.     In fact, we've seen with respect to the

  11    electronic devices, that they didn't even want to bring them

  12    because of the concern with respect to those devices.

  13               We've also had procedures to seal the courtroom for an

  14    individual, a non-party, because of the concern over Bitcoin.

  15    This is an unusual case.          The Bitcoin actually has an unusual

  16    value, and everybody's watching.

  17               So, to the extent that 403 applies to a non-party

  18    confidential witness, to the extent 403 applies to direct

  19    physical evidence that perhaps contains Bitcoin, but it's

  20    encrypted and we can't even show the jury, we think at a

  21    minimum, Your Honor, it applies to the Defendant whose evidence

  22    with respect to his net worth is not necessary at this

  23    juncture.

  24               So, to the extent, Your Honor, that I need to make a

  25    motion to bifurcate that evidence at this juncture to preserve

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   1    that right so that the evidence and the facts of this case are

   2    decided objectively without sympathy, I would ask the Court to

   3    consider that.

   4               THE COURT:    I set a deadline long ago for the parties.

   5               MS. MCGOVERN:      I understand.

   6               THE COURT:    I have addressed in over 700 filings in

   7    this case many motions that the parties have filed and the

   8    Court has addressed -- Judge Reinhart has addressed, I've

   9    addressed -- and the time for filing a motion to bifurcate that

  10    issue has long passed.

  11               So, if there's some case law that the Court should

  12    consider that would take this case out of the realm of cases

  13    where the Plaintiffs are seeking not only compensatory damages

  14    but punitive damages with regard to certain claims, you can

  15    provide that case law to the Court.

  16               MS. MCGOVERN:      Thank you, Your Honor.

  17               THE COURT:    But absent that, you certainly have the

  18    right to inquire.

  19               MS. MCGOVERN:      We very much appreciate the opportunity

  20    to do that.     And again, Your Honor, it really is -- it's not a

  21    goose/gander.     It's just level playing field.                      We've seen 403

  22    applied in other circumstances.                 I think 403 -- Rule 403 is

  23    directly in play here.        We'll see if we can provide Your Honor

  24    with case law that can perhaps, you know, shed light on that

  25    and, you know, essentially support what we're seeking here,

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   1    which, frankly, we don't think prejudices the Plaintiff.

   2               THE COURT:    Well, I mean, the only -- I would suggest

   3    that if there is an issue with regard to the amount of

   4    information or the type of information, then perhaps the

   5    parties can stipulate with regard to a certain amount of

   6    Bitcoin or value or net worth and that would certainly obviate

   7    the need to move forward with an extensive examination in that

   8    area, but I'll leave that to the attorneys.

   9               And with regard to any case law that would tell the

  10    Court that this case should be treated any differently with

  11    regard to the presentation of evidence related to punitive

  12    damages, I'm happy to consider it, as I was happy to consider

  13    the case law today.

  14               MS. MCGOVERN:      Thank you, Your Honor.                  And again,

  15    another point that needs to be made here, Your Honor, also, is

  16    simply we're talking about an individual and his family, right?

  17    Who is traveling here for purposes of defending this case.

  18               And to the extent that there's concern that others

  19    have raised with respect to that issue, certainly that same

  20    concern applies to Dr. Wright and his family.

  21               MR. FREEDMAN:      Your Honor, if I may, shortly.                 Two

  22    things.

  23               One, statements that we were about to introduce are

  24    very public statements by Dr. Wright that he is a billionaire.

  25               Two, Ms. McGovern's argument would mean that any

                                  Yvette Hernandez, Official Court Reporter
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                                           Miami, Florida 33128
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   1    billionaire would have a prejudicial argument to be made when

   2    punitive damages are in play because his net worth is

   3    astronomical.

   4               Third, Your Honor, the only thing I would say is I

   5    suspect we will finish the examination of Dr. Wright tomorrow.

   6    So, to the extent Ms. McGovern has case law, can she please

   7    present it tomorrow morning before we start?

   8               MS. MCGOVERN:      Of course, Your Honor.

   9               THE COURT:    All right.             And once again, you can come

  10    to an agreement and it can be by way of a stipulation so that

  11    you can avoid many of the questions that you might want to ask,

  12    but --

  13               MR. FREEDMAN:      We'd be happy to review a stipulation,

  14    Ms. McGovern.

  15               MS. MCGOVERN:      Perfect.            Thank you so much, Your

  16    Honor.

  17               THE COURT:    Okay.        Is there anything else that we need

  18    to address?

  19               I'm going to see parties shortly before 10:00 tomorrow

  20    morning.    All right?

  21               MR. FREEDMAN:      Thank you, Your Honor.

  22               THE COURT:    Anything further on behalf of the

  23    Plaintiffs?

  24               MR. FREEDMAN:      No, Your Honor.

  25               THE COURT:    On behalf of the Defendant?

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   1               MS. MCGOVERN:      No, Your Honor.

   2               THE COURT:    Okay.        Have a pleasant evening.        See you

   3    tomorrow morning.

   4         (Proceedings concluded at 5:16 p.m.)

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                                           Miami, Florida 33128
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   1    UNITED STATES OF AMERICA                  )

   2    ss:

   3    SOUTHERN DISTRICT OF FLORIDA              )

   4                             C E R T I F I C A T E

   5                I, Yvette Hernandez, Certified Shorthand Reporter in

   6    and for the United States District Court for the Southern

   7    District of Florida, do hereby certify that I was present at

   8    and reported in machine shorthand the proceedings had the 9th

   9    day of November, 2021, in the above-mentioned court; and that

  10    the foregoing transcript is a true, correct, and complete

  11    transcript of my stenographic notes.

  12                I further certify that this transcript contains pages

  13    1 - 247.

  14                IN WITNESS WHEREOF, I have hereunto set my hand at

  15    Miami, Florida this 18th day of November, 2021.

  16

  17                            /s/Yvette Hernandez
                                Yvette Hernandez, CSR, RPR, CLR, CRR, RMR
  18                            400 North Miami Avenue, 10-2
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  19                            (305) 523-5698
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